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         EXHIBIT A-23
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                                       Buy Crypto      EUR               Markets      Trade         Derivatives        Finance            NFT     New                              Log In      Register    Downloads   English    USD




                                                                           About Binance
                                  Beyond operating the world's leading cryptocurrency exchange, Binance spans an
                                                                 entire ecosystem.




                   2.0 bn
                  Average daily volume
                                                                                                      1,400,000+
                                                                                                             Transactions per second
                                                                                                                                                                                                          24/7
                                                                                                                                                                                                            Support




                                                                                                       Ecosystem
                                                                                                                         More




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                                                                                                                    Binance

                                                             ·                              Binance Exchange is the largest crypto                                                       ·
                                                                                           exchange by trade volume and one of the
                                                                                                     fastest in the world.
                                                                 ·                                                                                                                   ·
                                                                                                                       View   all




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BNB
BNB is the native asset on Binance Chain, a blockchain software
system developed by Binance and the community. BNB has
multiple forms of utility and powers the Binance Ecosystem as
its underlying gas.

More




Use. Trade. Store                BNB




Global Freedom
Our vision is to increase the freedom of money globally. We
believe that by spreading this freedom, we can significantly
improve lives around the world
Vision




                                                                                                                                         Building Infrastructure
                                                                                                                                         Our mission is to be the infrastructure services provider                         for   the
                                                                                                                                         blockchain ecosystem.
                                                                                                                                         Mission




Build the future                  of   technology

Build the future                                                         of
technology
What's the secret to Binance's success? The answer is obvious:
Our people. We are proud to have one of the most talented,
hardworking and passionate teams the world has to offer.
Interested in joining our team?
Check for openings




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                 PR@binance.com                                                                       Business@binance.com                                                               Tradedesk1@binance.com
                 Market@binance.com




                 Crypto Access                                                                        Banking & Vendor Inquiries
                 access@binance.com                                                                   Risk@binance.com




       About Us                         Products                                    Service                             Support                                 Learn                            Community
       About                            Exchange                                    Downloads                           Give Us Feedback                        Buy BNB
       Careers                          Academy                                     Desktop Application                 Support Center                          Buy BUSD
       Business Contacts                BCF                                         Buy Crypto                          Submit   a      request                 Buy Bitcoin
       Community                        Card                                        Fees                                API Documentation                       Buy Ethereum
       Binance Blog                     Labs                                        Institutional Services              Binance Verify                          Buy Litecoin
       Terms                            Launchpad                                   Referral                            Law Enforcement Requests                Buy Ripple
       Privacy                          Research                                    Affiliate                                                                   Buy Bitcoin Cash
       Announcements                    Trust Wallet                                BNB                                                                         Buy Dogecoin
       News                             NFT                                         OTC Trading                                                                 Buy DeFi
       Notices                          Featured.market                             Listing Application                                                         Buy SHIB
                                        Binance Pay                                 Trading Rules                                                               Buy Tradable Altcoins
                                                                                    P2P Merchant Application
                                                                                    Historical Market Data



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                               Buy Crypto        EUR     Markets     Trade           Derivatives          Finance             NFT      New                          Log In        Register   Downloads   English   USD



                 About Binance                                                    About         Careers            Press            Community




        Careers at Binance
        Join our quest to increase the
        Freedom of Money
             View Openings




        Our Values
        Binance Core Values guide our behavior, decisions, and action, enabling unified collaboration across our
        diverse, international teams.



                                                                                                                              Collaboration
                                                                                                                              We communicate openly.
                                                                                                                              We work as a team towards shared goals
                                                                                                                              to build the ecosystem together.




                                                                                                                              Hardcore
                                                                                                                              We are results driven. We get things
                                                                                                                              done.
                                                                                                                              We are passionate and work hard.
           User-Focused                                                                                                       When we fail, we learn fast, and pick
           We protect our users by putting our users' needs               first   and delivering                              ourselves up.
           quality service.




           Freedom                                                                                                            Integrity
           We execute responsibly and                                                                                         We are accountable for our actions.
           autonomously.                                                                                                      When we make mistakes, we fix them.
           We empower those around us.                                                                                        We always act ethically. We never punch
           Our team is diverse and we challenge                                                                               down.
           the status quo.




        50+
        Nationalities
                                                                                                2000+    Employees
                                                                                                                                                                                                 20+Locations




        Choose Your Team
        Select    a   team most relevant                  to   your interests and experience                                          to   view job openings.


                        Business Development                                                Communications                                                              Customer Support



                        Data & Research                                                     Editorial & Video                                                           Engineering



                        Finance & Administration                                            Legal & Compliance                                                          Marketing



                        Operations, Strategy &                                              Product & Design                                                            Quantitative Strategy
                        Project Management



                        Security & IT Helpdesk                                              HR                                                                          Internships




                      Work With Us


                                                                                                                                              Thrive with Binance
                                                                                                                                              What's our secret to success? Our people.
                                                                                                                                              Be united by a commom DNA of talented,
                                                                                                                                              hardworking and passionate individuals in                              a
                                                                                                                                              world renowned team.




        Why Work Here
        We are proud          to        offer competitive benefits that enable healthy and                                                    fulfilling      careers        at   Binance




          Competitive salary                                                   Remote work for many roles                                              Learning and development programs
          Option to be paid        in   crypto                                 Company sponsored holidays                                              Free language classes
          Health insurance                                                     Team building activities                                                Relocation support
          Flexible working hours                                               And other various perks and benefits                                    International transfers mid-career




        How We Hire
        On average 2~4 week interview process with                                          4    interviews.




        01
        Application Review

                                                        02
                                                        Interviews

                                                                                                                  03
                                                                                                                  Offer

                                                                                                                                                                      04
                                                                                                                                                                      Onboarding




                                                       Exchange the World With Us
                                                                                                   See   all   opportunities




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Business Contacts               BCF                                Buy Crypto                                  Submit   a   request              Buy Bitcoin
Community                       Card                               Fees                                        API Documentation                 Buy Ethereum
Binance Blog                    Labs                               Institutional Services                      Binance Verify                    Buy Litecoin
Terms                           Launchpad                          Referral                                    Law Enforcement Requests          Buy Ripple
Privacy                         Research                           Affiliate                                                                     Buy Bitcoin Cash
Announcements                   Trust Wallet                       BNB                                                                           Buy Dogecoin
News                            NFT                                OTC Trading                                                                   Buy DeFi
Notices                         Featured.market                    Listing Application                                                           Buy SHIB
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                                                                   P2P Merchant Application
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                  Average daily volume
                                                                                                      1,400,000+
                                                                                                             Transactions per second
                                                                                                                                                                                                          24/7
                                                                                                                                                                                                            Support




                                                                                                       Ecosystem
                                                                                                                         More




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                                                                                                                  Launchpad

                                                             ·                             Binance Launchpad is the exclusive token                                                      ·
                                                                                           launch platform for entrepreneurs to bring
                                                                                           the most transformative crypto projects to
                                                                 ·                                                       life.
                                                                                                                                                                                     ·
                                                                                                                       View   all



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                 Market@binance.com




                 Crypto Access                                                                        Banking & Vendor Inquiries
                 access@binance.com                                                                   Risk@binance.com




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       Business Contacts                BCF                                         Buy Crypto                          Submit   a      request                 Buy Bitcoin
       Community                        Card                                        Fees                                API Documentation                       Buy Ethereum
       Binance Blog                     Labs                                        Institutional Services              Binance Verify                          Buy Litecoin
       Terms                            Launchpad                                   Referral                            Law Enforcement Requests                Buy Ripple
       Privacy                          Research                                    Affiliate                                                                   Buy Bitcoin Cash
       Announcements                    Trust Wallet                                BNB                                                                         Buy Dogecoin
       News                             NFT                                         OTC Trading                                                                 Buy DeFi
       Notices                          Featured.market                             Listing Application                                                         Buy SHIB
                                        Binance Pay                                 Trading Rules                                                               Buy Tradable Altcoins
                                                                                    P2P Merchant Application
                                                                                    Historical Market Data



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                                Binance          is   more than an exchange. It's a community! Join the discussion on
                                                              Telegram in your language or region.




            Telegram                  Facebook                   Twitter                     Reddit                    Weibo                LinkedIn                    Instagram                     VK




                                       Official Binance Telegram Channels
                                                                   Join the discussion and stay up to date with announcements!




   Exchange                                              English
                                                         https://t.me/BinanceExchange
                                                                                                                  Chinese
                                                                                                                  https://t.me/BinanceChinese
                                                                                                                                                                       Announcements
                                                                                                                                                                       https://t.me/binance_announcements



                                                         NFT
                                                         https://t.me/BinanceNFTs




   Academy                                               Announcements
                                                         https://t.me/BinanceAcademy
                                                                                                                  Discussion
                                                                                                                  https://t.me/BinanceAcademyChat




   Info                                                  English
                                                         https://t.me/Binance_Info_English
                                                                                                                  Research Announcements
                                                                                                                  https://t.me/BinanceResearch




                                       Multilingual Telegram Communities
                                                                 Binance       is   Global. Join the discussion       in   your language or region!



                                                                         |




Exchange
Baltics                                               Bangladesh                                                  Cameroun                                               Croatian
https://t.me/binance_baltics                          https://t.me/BinanceBangladeshi                             https://t.me/BinanceCameroun                           https://t.me/BinanceCroatian



Deutsch                                               English (Australia)                                         English (Namibia)                                      English (New Zealand)
https://t.me/BinanceGerman                            https://t.me/binanceaustralia                               https://t.me/BinanceNamibia                            https://t.me/BinanceNewZealand



English (Zambia)                                      Español                                                     Español (Argentina)                                    Español (España)
https://t.me/BinanceZambia                            https://t.me/BinanceSpanish                                 https://t.me/binanceargentinaoficial                   https://t.me/Binance_ESP



Filipino                                              Français                                                    Greek                                                  India
https://t.me/BinanceFilipino                          https://t.me/BinanceFrench                                  https://t.me/BinanceGreek                              https://t.me/BinanceIndian



Indonesian                                            Italiano                                                    Kenya                                                  Nederlands
https://t.me/Binance_Indonesian                       https://t.me/BinanceItalian                                 https://t.me/BinanceKenya                              https://t.me/BinanceDutch



Nigeria                                               Polski                                                      Portuguese (Brazil)                                    Portuguese (Portugal)
https://t.me/BinanceNigeria                           https://t.me/Binance_Polish                                 https://t.me/BinancePortuguese                         https://t.me/Binance_PT



Pусский                                               Română                                                      Seychelles                                             South Africa
https://t.me/BinanceRussian                           https://t.me/BinanceRomanian                                https://t.me/BinanceSeychelles                         https://t.me/BinanceSouthAfrica



Sri Lanka                                             Tanzania                                                    Tiếng Việt                                             Türkçe
https://t.me/binancesrilanka                          https://t.me/BinanceTanzania                                https://t.me/BinanceVietnamese                         https://t.me/BinanceTurkish



Uganda                                                Čeština/Slovenčina                                          Български                                              Монгол
https://t.me/BinanceUganda                            https://t.me/BinanceCzechoSlovakia                          https://t.me/BGBinance                                 https://t.me/BinanceMongolian



Українська                                            қазақ                                                       ‫עברית‬                                                  ‫العربية‬
https://t.me/BinanceUkrainian                         https://t.me/binance_kz                                     https://t.me/BinanceHebrew                             https://t.me/BinanceArabic



‫پاکستانی‬                                              नेपाली                                                      ຄົນລາວ                                                 မြန်မာ
http://t.me/binancepakistani                          https://t.me/BinanceNepali                                  https://t.me/BinanceLaotian                            https://t.me/BinanceBurmese



ប្រទេសកម្ពុជា                                         日本語
https://t.me/BinanceKhmer                             https://t.me/BinanceJapanese




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 Community                      Card                               Fees                                  API Documentation                 Buy Ethereum
 Binance Blog                   Labs                               Institutional Services                Binance Verify                    Buy Litecoin
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 Announcements                  Trust Wallet                       BNB                                                                     Buy Dogecoin
 News                           NFT                                OTC Trading                                                             Buy DeFi
 Notices                        Featured.market                    Listing Application                                                     Buy SHIB
                                Binance Pay                        Trading Rules                                                           Buy Tradable Altcoins
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Binance Blog
Stay up to date with the latest stories and commentary brought to you by Binance, the world's leading blockchain and crypto ecosystem.




                                                                                             ​Former DigitalX CEO Leigh
                                                                                             Travers Joins Binance
                                                                                             Australia               as Chief Executive
                                                                                             ​Former DigitalX CEO Leigh Travers Joins Binance Australia as Chief
                                                                                             Executive Officer
                                                                                             Officer
                                                                                             2021-08-30




    Leadership               Ecosystem               Community                     Markets                  Payment              Fiat              Earn             P2P             Charity




Binance Appoints Zane Wong as                                         Nils Andersen-Röed joins Binance from                                     What India Stands to Gain from
Director of KYC Compliance                                            Europol to further strengthen                                             Supporting the Blockchain and Crypto
We are continuing to further strengthen our compliance                investigations
                                                                      Binance has grown itsand
                                                                                            Audit audit   team team again
                                                                                                  and Investigations                            Industry
                                                                                                                                                Blockchain and crypto innovation are transforming the
capabilities, recently bringing on Zane Wong as Director of           with the hire of Nils Andersen-Röed from Europol where                    global economy for good. With a clearer regulatory
KYC Compliance.                                                       he was a specialist on the Dark Web team.                                 framework on the horizon, can India play a leading role   in
                                                                                                                                                this emerging market?
2021-09-24                                                            2021-09-16                                                                2021-09-13




Binance Welcomes Aron Akbiyikian,                                     ​Former DigitalX CEO Leigh Travers                                        Why It’s Time        to   Get Tough on Crypto
Our New Director of Audit and                                         Joins Binance Australia as Chief                                          Regulation
Investigations
Binance is pleased to welcome Aron Akbiyikian to the                  Executive
                                                                      ​Former DigitalX Officer
                                                                                        CEO Leigh Travers Joins Binance Australia               Make no mistake: crypto needs regulation. Here’s why
Audit and Investigations team, where he will help to                  as Chief Executive Officer                                                industry leaders must step up and work alongside
ensure that Binance and the larger crypto industry are   a                                                                                      policymakers and regulators to build the blockchain-
safer place for all users with a strong emphasis on                   2021-08-30                                                                powered financial ecosystem of the future.
removing the worst elements of the world from the
2021-08-31                                                                                                                                      2021-08-25
ecosystem.




Former Abu Dhabi Global Market CEO                                    Binance Hires Former US Federal Law                                       A Letter from Our CEO: Reflecting on
Richard Teng Joins Binance Singapore                                  Enforcement Investigator Greg                                             Progress and the Road Ahead
as ChiefSingapore,
​Binance    Executive
                   the leading fiat-to-crypto platform for            Monahan
                                                                      Binance,       as Global
                                                                               the world’s          Money Laundering
                                                                                            leading blockchain  ecosystem and                   Binance CEO CZ reflects on our progress over the last four
trading of cryptocurrencies in Singapore Dollars (SGD),               cryptocurrency
                                                                      Reporting       infrastructure provider, has today
                                                                                      Officer                                                   years, the current regulatory environment and our
today announced the appointment of Richard Teng, former               announced the appointment of Greg Monahan, former US                      approach for the road ahead.
CEO of Financial Services Regulatory Authority at Abu                 Treasury Criminal Investigator, who joins the organization
Dhabi  Global Market (ADGM), as Chief Executive Officer
2021-08-22                                                            as Global Money Laundering Reporting Officer (GMLRO).
                                                                      2021-08-17                                                                2021-07-14
(CEO).




A Letter from Our CEO: Celebrating Our                                A Letter from Our CEO: Customer                                           Welcoming our New Compliance and
4 Year Journey Together                                               Service Upgrades and Our Commitment                                       Regulatory Advisors: Two Former FATF
​Binance CEO CZ shares a letter to users from around the                  Ourpersonal
                                                                      to this
                                                                      In        Usersletter addressed to our community,                         Executives
                                                                                                                                                Former Financial Action Task Force (FATF) Executive
world on Binance’s 4th anniversary as he reflects on the              Binance CEO CZ addresses our ongoing efforts in meeting                   Secretary Rick McDonell and former Head of the Canadian
shared journey so far as well as the next steps for the               growing customer service requests and how we are                          delegation to the FATF Josée Nadeau will provide high-
company.                                                              scaling efforts to improve our user experience.                           level guidance on Binance’s global compliance and
2021-07-14                                                            2021-04-15                                                                regulatory
                                                                                                                                                2021-03-25 strategies.




Highlights from CZ’s Latest Clubhouse                                 Binance CEO ‘CZ’ Honored in 2020
AMAs                                                                  Bloomberg 50 List of Global Icons and
Binance CEO Changpeng Zhao (CZ) recently hosted AMA                   Innovators
                                                                      Bloomberg Businessweek named Binance CEO ‘CZ’
sessions on Clubhouse to address several topics about                 (Changpeng Zhao) to the 2020 Bloomberg 50, its annual
Binance, cryptocurrencies, blockchains, regulations and               list of innovators, entrepreneurs, and leaders who have
more. Here are some of his statements from the sessions.              changed the global business landscape over the past year.
2021-03-12                                                            2020-11-30




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Community                      Card                            Fees                                API Documentation               Buy Ethereum
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Terms                          Launchpad                       Referral                            Law Enforcement Requests        Buy Ripple
Privacy                        Research                        Affiliate                                                           Buy Bitcoin Cash
Announcements                  Trust Wallet                    BNB                                                                 Buy Dogecoin
News                           NFT                             OTC Trading                                                         Buy DeFi
Notices                        Featured.market                 Listing Application                                                 Buy SHIB
                               Binance Pay                     Trading Rules                                                       Buy Tradable Altcoins
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                                                               Historical Market Data



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                                                                                                                                               Binance Terms of Use
                                                                                                                                                                                                                                                                                                                      Last revised: 16 September, 2021

These Binance Terms of Use is entered into between you (hereinafter referred to as “you” or “your”) and Binance operators (as defined below). By accessing, downloading, using or clicking on
“I agree” to accept any Binance Services (as defined below) provided by Binance (as defined below), you agree that you have read, understood and accepted all of the terms and conditions
stipulated in these Terms of Use (hereinafter referred to as “these Terms”) as well as our Privacy Policy at www.binance.com/en/privacy In addition, when using some features of the Services,                                                                             .


you may be subject to specific additional terms and conditions applicable to those features.

Please read the terms carefully as they govern your use of Binance Services. THESE TERMS CONTAIN IMPORTANT PROVISIONS INCLUDING AN ARBITRATION PROVISION THAT REQUIRES
ALL CLAIMS TO BE RESOLVED BY WAY OF LEGALLY BINDING ARBITRATION .The terms of the arbitration provision are set forth in Article 10, “Resolving Disputes: Forum, Arbitration, Class
Action Waiver”, hereunder. As with any asset, the values of Digital Currencies (as defined below) may fluctuate significantly and there is a substantial risk of economic losses when purchasing,
selling, holding or investing in Digital Currencies and their derivatives. BY MAKING USE OF BINANCE SERVICES, YOU ACKNOWLEDGE AND AGREE THAT: (1) YOU ARE AWARE OF THE RISKS
ASSOCIATED WITH TRANSACTIONS OF DIGITAL CURRENCIES AND THEIR DERIVATIVES; (2) YOU SHALL ASSUME ALL RISKS RELATED TO THE USE OF BINANCE SERVICES AND
TRANSACTIONS OF DIGITAL CURRENCIES AND THEIR DERIVATIVES; AND (3) BINANCE SHALL NOT BE LIABLE FOR ANY SUCH RISKS OR ADVERSE OUTCOMES                                                                                                                                                                                           .




By accessing, using or attempting to use Binance Services                                                          in   any capacity, you acknowledge that you accept and agree to be bound by these Terms.                                                                                   If   you do not agree, do not access Binance
or utilize Binance services.




I.    Definitions
1. Binance refers to an ecosystem comprising Binance websites (whose domain names include but are not limited to https://www.binance.com/en ), mobile applications, clients, applets and
other applications that are developed to offer Binance Services, and includes independently-operated platforms, websites and clients within the ecosystem (e.g. Binance’s Open Platform,
Binance Launchpad, Binance Labs, Binance Charity, Binance DEX, Binance X, JEX, Trust Wallet, and fiat gateways). In case of any inconsistency between relevant terms of use of the above
platforms and the contents of these Terms, the respective applicable terms of such platforms shall prevail.

2. Binance Operators ：refer to all parties that run Binance, including but not limited to legal persons (including Binance UAB), unincorporated organizations and teams that provide Binance
Services and are responsible for such services. For convenience, unless otherwise stated, references to “Binance” and “we” in these Terms specifically mean Binance Operators. UNDER THESE
TERMS, BINANCE OPERATORS MAY CHANGE AS BINANCE’S BUSINESS ADJUSTS, IN WHICH CASE, THE CHANGED OPERATORS SHALL PERFORM THEIR OBLIGATIONS UNDER THESE
TERMS WITH YOU AND PROVIDE SERVICES TO YOU, AND SUCH CHANGE DOES NOT AFFECT YOUR RIGHTS AND INTERESTS UNDER THESE TERMS. ADDITIONALLY, THE SCOPE OF
BINANCE OPERATORS MAY BE EXPANDED DUE TO THE PROVISION OF NEW BINANCE SERVICES, IN WHICH CASE, IF YOU CONTINUE TO USE BINANCE SERVICES, IT IS DEEMED THAT
YOU HAVE AGREED TO JOINTLY EXECUTE THESE TERMS WITH THE NEWLY ADDED BINANCE OPERATORS. IN CASE OF A DISPUTE, YOU SHALL DETERMINE THE ENTITIES BY WHICH
THESE TERMS ARE PERFORMED WITH YOU AND THE COUNTERPARTIES OF THE DISPUTE, DEPENDING ON THE SPECIFIC SERVICES YOU USE AND THE PARTICULAR ACTIONS THAT
AFFECT YOUR RIGHTS OR INTERESTS                                      .




3. Binance Services refer to various services provided to you by Binance that are based on Internet and/or blockchain technologies and offered via Binance websites, mobile applications,
clients and other forms (including new ones enabled by future technological development). Binance Services include but are not limited to such Binance ecosystem components as Digital
Asset Trading Platforms, the financing sector, Binance Labs, Binance Academy, Binance Charity, Binance Info, Binance Launchpad, Binance Research, Binance Chain, Binance X, Binance Fiat
Gateway, existing services offered by Trust Wallet and novel services to be provided by Binance.

4. Binance Platform Rules refer to all rules, interpretations, announcements, statements, letters of consent and other contents that have been and will be subsequently released by Binance, as
well as all regulations, implementation rules, product process descriptions, and announcements published in the Help Center or within products or service processes.

5. Users refer to all individuals, institutions or organizations that access, download or use Binance or Binance Services and who meet the criteria and conditions stipulated by Binance.                                                                                                                                                                 If    there
exist other agreements for such entities as developers, distributors, market makers, and Digital Currencies exchanges, such agreements shall be followed.

6.Digital Currencies refer to encrypted or digital tokens or cryptocurrencies with                                                                               a   certain value that are based on blockchain and cryptography technologies and are issued and managed                                                                                          in a
decentralized form.

7.    Digital Assets refer to Digital Currencies, their derivatives or other types of digitalized assets with                                                                                               a   certain value.

8. Binance Accounts refer to the foundational virtual accounts, including main accounts and subaccounts, which are opened by Binance for Users to record on Binance their usage of Binance
Services, transactions, asset changes and basic information. Binance Accounts serve as the basis for Users to enjoy and exercise their rights on Binance.

9.    Crypto-to-crypto Trading refers to spot transactions                                                    in   which one digital currency                             is   exchanged for another digital currency.

10. Fiat Trading refers to spot transactions                                       in   which Digital Currencies are exchanged for fiat currencies or vice versa.

11. Collateral Accounts refer to special accounts opened by Users on Binance to deposit and withdraw collateral (such as margins) in accordance with these Terms (including the Binance
Contract Services Agreement and Binance Platform Rules), as required for contract transactions, leveraged trading and/or currency borrowing services.

12. Loan/Lending refers to Binance’s lending of Digital Currencies to Users at an interest collected in certain ways (in the form of Digital Currencies), including but not limited to the leveraged
trading and currency lending services currently offered, and other forms of loan/lending services to be launched by Binance.

II.     General Provisions
1.    About These Terms

a. Contractual Relationship

These Terms constitute                a   legal agreement and create                                     a    binding contract between you and Binance Operators.

b. Supplementary Terms

Due to the rapid development                        of Digital Currencies and Binance, these Terms between you and Binance Operators do not enumerate or cover all rights and obligations of each party, and do not
guarantee full alignment with                      needs arising from future development. Therefore, THE PRIVACY POLICY (（）), BINANCE PLATFORM RULES, AND ALL OTHER AGREEMENTS ENTERED INTO
SEPARATELY BETWEEN YOU                             AND BINANCE ARE DEEMED SUPPLEMENTARY TERMS THAT ARE AN INTEGRAL PART OF THESE TERMS AND SHALL HAVE THE SAME LEGAL EFFECT. YOUR
USE OF BINANCE SERVICES                            IS DEEMED YOUR ACCEPTANCE OF THE ABOVE SUPPLEMENTARY TERMS.

c.    Changes to These Terms

Binance reserves the right to change or modify these Terms in its discretion at any time. Binance will notify such changes by updating the terms on its website () and modifying the [Last
revised] date displayed on this page.。 ANY AND ALL MODIFICATIONS OR CHANGES TO THESE TERMS WILL BECOME EFFECTIVE UPON PUBLICATION ON THE WEBSITE OR RELEASE TO
USERS. THEREFORE, YOUR CONTINUED USE OF BINANCE SERVICES IS DEEMED YOUR ACCEPTANCE OF THE MODIFIED AGREEMENT AND RULES. IF YOU DO NOT AGREE TO ANY
CHANGES TO THESE TERMS, YOU MUST STOP USING BINANCE SERVICES IMMEDIATELY. YOU ARE RECOMMENDED TO FREQUENTLY REVIEW THESE TERMS TO ENSURE YOUR
UNDERSTANDING OF THE TERMS AND CONDITIONS THAT APPLY TO YOUR ACCESS TO AND USE OF BINANCE SERVICES.

d. Prohibition of Use

BY ACCESSING AND USING BINANCE SERVICES, YOU REPRESENT AND WARRANT THAT YOU HAVE NOT BEEN INCLUDED IN ANY TRADE EMBARGOES OR ECONOMIC SANCTIONS LIST
(SUCH AS THE UNITED NATIONS SECURITY COUNCIL SANCTIONS LIST), THE LIST OF SPECIALLY DESIGNATED NATIONALS MAINTAINED BY OFAC (THE OFFICE OF FOREIGN ASSETS
CONTROL OF THE U.S. DEPARTMENT OF THE TREASURY), OR THE DENIED PERSONS OR ENTITY LIST OF THE U.S. DEPARTMENT OF COMMERCE. BINANCE RESERVES THE RIGHT TO
CHOOSE MARKETS AND JURISDICTIONS TO CONDUCT BUSINESS, AND MAY RESTRICT OR REFUSE, IN ITS DISCRETION, THE PROVISION OF BINANCE SERVICES IN CERTAIN
COUNTRIES OR REGIONS.

2.    About Binance

As an important part of the Binance Ecosystem, Binance mainly serves as a global online platform for Digital Assets trading, and provides Users with a trading platform, financing services,
technical services and other Digital Assets-related services. As further detailed in Article 3 below, Users must register and open an account with Binance, and deposit Digital Assets into their
account prior to trading. Users may, subject to the restrictions set forth in these Terms, apply for the withdrawal of Digital Assets.

Although Binance has been committed to maintaining the accuracy of the information provided through Binance Services, Binance cannot and does not guarantee its accuracy, applicability,
reliability, integrity, performance or appropriateness, nor shall Binance be liable for any loss or damage that may be caused directly or indirectly by your use of these contents. The information
about Binance Services may change without notice, and the main purpose of providing such information is to help Users make independent decisions. Binance does not provide investment or
consulting advice of any kind, and is not responsible for the use or interpretation of information on Binance or any other communication medium. All Users of Binance Services must understand
the risks involved in Digital Assets trading, and are recommended to exercise prudence and trade responsibly within their own capabilities.

3.    Binance Account Registration and Requirements

a. Registration

All Users must apply for a Binance Account at (https://accounts.binance.com/en/register) before using Binance Services. When you register a Binance Account, you must provide your real
name, email address and password, and accept these Terms, the Privacy Policy, and other Binance Platform Rules. Binance may refuse, in its discretion, to open a Binance Account for you. You
agree to provide complete and accurate information when opening a Binance Account, and agree to timely update any information you provide to Binance to maintain the integrity and accuracy
of the information. Only one User can be registered at a time, but each individual User (including any User that is a business or legal entity) may maintain only one main account at any given
time. Institutional Users (including Users that are businesses and other legal entities) can open one or more subaccounts under the main account with the consent of Binance. For certain
Binance Services, you may be required to set up a special account independent from your Binance Account, based on the provisions of these Terms or the Supplementary Terms. The
registration, use, protection and management of such trading accounts are equally governed by the provisions of this article and article 6, unless otherwise stated in these Terms or the
Supplementary Terms.

b. Eligibility

By registering to use a Binance Account, you represent and warrant that (i) as an individual, you are at least 18 or are of legal age to form a binding contract under applicable laws; (ii) as an
individual, legal person, or other organization, you have full legal capacity and sufficient authorizations to enter into these Terms; (iii) you have not been previously suspended or removed from
using Binance Services; (iv) you do not currently have a Binance Account; (v) you are neither a United States user, a Malaysia user, a Singapore-based user, or an Ontario (Canada)-based user;
nor are you acting on behalf of a United States user, a Malaysia user, a Singapore-based user, or an Ontario (Canada)-based user. If you act as an employee or agent of a legal entity, and enter
into these Terms on their behalf, you represent and warrant that you have all the necessary rights and authorizations to bind such legal entity; (vi) your use of Binance Services will not violate
any and all laws and regulations applicable to you, including but not limited to regulations on anti-money laundering, anti-corruption, and counter-terrorist financing.

Please note that some products and services may not be available                                                                    in   certain jurisdictions or regions or to certain users. Binance reserves the right to change, modify or impose additional
restrictions at its discretion at any time.

Futures and Derivatives Products. USDⓈ-M Futures, Coin-M Futures, Margin, Binance Options, Vanilla Options and Leveraged Tokens (“Futures and Derivatives Products”) will not be available
to all users of the Netherlands, Germany, Italy, Australia and Hong Kong, and retail users of the United Kingdom.

Crypto Tokens. FLOW will not be available to users of Canada. Privacy tokens (XMR, ZEC, DASH, XVG, XZC, KMD, ZEN, PIVX and GRS) will not be available to users of Australia with PayID
associated with the Binance accounts.

c.    User Identity Verification

Your registration of an account with Binance will be deemed your agreement to provide required personal information for identity verification. Such information will be used to verify Users’
identity, identify traces of money laundering, terrorist financing, fraud and other financial crimes through Binance, or for other lawful purposes stated by Binance. We will collect, use and share
such information in accordance with our Privacy Policy. In addition to providing such information, you agree to allow us to keep a record of that information during the period for which your
account is active and within five (5) years after your account is closed, in compliance with global industry standards on data storage. You also authorize us to conduct necessary investigations
directly or through a third party to verify your identity or protect you and/or us from financial crimes, such as fraud. The information we require to verify your identity may include, but is not
limited to, your name, email address, contact information, phone number, username, government-issued ID, date of birth, and other information collected during account registration. When
providing the required information, you confirm it is true and accurate. AFTER REGISTRATION, YOU MUST ENSURE THAT THE INFORMATION IS TRUE, COMPLETE, AND TIMELY UPDATED
WHEN CHANGED. IF THERE ARE ANY GROUNDS FOR BELIEVING THAT ANY OF THE INFORMATION YOU PROVIDED IS INCORRECT, FALSE, OUTDATED OR INCOMPLETE, BINANCE
RESERVES THE RIGHT TO SEND YOU A NOTICE TO DEMAND CORRECTION, DIRECTLY DELETE THE RELEVANT INFORMATION, AND, AS THE CASE MAY BE, TERMINATE ALL OR PART OF
BINANCE SERVICES WE PROVIDE FOR YOU. IF WE ARE UNABLE TO REACH YOU WITH THE CONTACT INFORMATION YOU PROVIDED, YOU SHALL BE FULLY LIABLE FOR ANY LOSS OR
EXPENSE CAUSED TO BINANCE DURING YOUR USE OF BINANCE SERVICES. YOU HEREBY ACKNOWLEDGE AND AGREE THAT YOU HAVE THE OBLIGATION TO UPDATE ALL THE
INFORMATION IF THERE IS ANY CHANGE.BY REGISTERING AN ACCOUNT, YOU HEREBY AUTHORIZE BINANCE TO CONDUCT INVESTIGATIONS THAT BINANCE CONSIDERS
NECESSARY, EITHER DIRECTLY OR THROUGH A THIRD PARTY, TO VERIFY YOUR IDENTITY OR PROTECT YOU, OTHER USERS AND/OR BINANCE FROM FRAUD OR OTHER FINANCIAL
CRIMES, AND TO TAKE NECESSARY ACTIONS BASED ON THE RESULTS OF SUCH INVESTIGATIONS. YOU ALSO ACKNOWLEDGE AND AGREE THAT YOUR PERSONAL INFORMATION MAY
BE DISCLOSED TO CREDIT BUREAUS AND AGENCIES FOR FRAUD PREVENTION OR FINANCIAL CRIME PREVENTION, WHICH MAY RESPOND TO OUR INVESTIGATIONS IN FULL.

d. Account Usage Requirements

The Binance Account can only be used by the account registrant. Binance reserves the right to suspend, freeze or cancel the use of Binance Accounts by persons other than account registrant.
If you suspect or become aware of any unauthorized use of your username and password, you should notify Binance immediately. Binance assumes no liability for any loss or damage arising
from the use of Binance Account by you or any third party with or without your authorization.

e.    Account Security

Binance has been committed to maintaining the security of User entrusted funds, and has implemented industry standard protection for Binance Services. However, the actions of individual
Users may pose risks. You shall agree to treat your access credentials (such as username and password) as confidential information, and not to disclose such information to any third party. You
also agree to be solely responsible for taking the necessary security measures to protect your Binance Account and personal information.

You should be solely responsible for keeping safe of your Binance Account and password, and be responsible for all the transactions under your Binance Account. Binance assumes no liability
for any loss or consequences caused by authorized or unauthorized use of your account credentials, including but not limited to information disclosure, information release, consent or
submission of various rules and agreements by clicking on the website, online agreement renewal, etc.

By creating        a   Binance Account, you hereby agree that:

             you will notify Binance immediately                              if    you are aware of any unauthorized use of your Binance Account and password or any other violation of security rules;

             you will strictly abide by             all   mechanisms or procedures of Binance regarding security, authentication, trading, charging, and withdrawal; and

             you will take appropriate steps to logout from Binance at the end of each                                                                      visit.

f.   Personal Data

Your personal data will be properly protected and kept confidential, but Binance has the right to collect, process, use or disclose your personal data in accordance with the Terms (including the
Privacy Policy) or applicable laws. Depending on the products or services concerned, your personal data may be disclosed to the following third parties:

             your transaction counterparty;

             Binance Operators, and the shareholders, partners, investors, directors, supervisors, senior managers and employees of such entities;

             our joint ventures, alliance partners and business partners;

             our agents, contractors, suppliers, third-party service providers and professional advisers, including the parties who have been contracted to provide us with administrative, financial, res
             earch, operations, IT and other services, in such areas as telecommunications, information technology, payroll, information processing, training, market research, storage and archival;

             third-party business partners who provide goods and services or sponsor contests or other promotional activities, whether or not                                                                                                                              in   cooperation with us;

             insurance companies or insurance investigators and credit providers;

             credit bureaus, or any debt collection agencies or dispute resolution centers                                                                           in    the event of violation or dispute;

             business partners, investors, trustees or assignees (actual or expected) that promote business asset transactions (which can be broadened to include any merger, acquisition or asset sal
             e) of Binance Operators;

             professional consultants such as auditors and lawyers;

             relevant government regulatory agencies or law enforcement agencies to comply with laws or regulations formulated by government authorities;

             assignees of our rights and obligations;

             banks, credit card companies and their respective service providers;

             persons with your consent as determined by you or the applicable contract.
III.    Binance Services
Upon completion of the registration and identity verification for your Binance Account, you may use various Binance Services, including but not limited to, Crypto-to-crypto Trading, Fiat Trading,
contract trading, leveraged trading, Binance Savings services, staking, acquiring market-related data, research and other information released by Binance, participating in User activities held by
Binance, etc., in accordance with the provisions of these Terms (including Binance Platform Rules and other individual agreements). Binance has the right to:

             Provide, modify or terminate,                     in its     discretion, any Binance Services based on                                                      its   development plan; and

             Allow or prohibit some Users’ use of any Binance Services                                                         in   accordance with relevant Binance Platform Rules.
1.    Service Usage Guidelines
a. License

Provided that you constantly comply with the express terms and conditions stated in these Terms, Binance grants you a revocable, limited, royalty-free, non-exclusive, non-transferable, and
non-sublicensable license to access and use Binance Services through your computer or Internet compatible devices for your personal/internal purposes. You are prohibited to use Binance
Services for resale or commercial purposes, including transactions on behalf of other persons or entities. All the above actions are expressly prohibited and constitute a material violation of
these Terms. The content layout, format, function and access rights regarding Binance Services should be stipulated in the discretion of Binance. Binance reserves all rights not expressly
granted in these Terms. Therefore, you are hereby prohibited from using Binance Services in any way not expressly authorized by these Terms.

These Terms only grant a limited license to access and use Binance Services. Therefore, you hereby agree that when you use Binance Services, Binance does not transfer Binance Services or
the ownership or intellectual property rights of any Binance intellectual property to you or anyone else. All the text, graphics, user interfaces, visual interface, photos, sounds, process flow
diagrams, computer code (including html code), programs, software, products, information and documents, as well as the design, structure, selection, coordination, expression, look and feel,
and layout of any content included in the services or provided through Binance Services, are exclusively owned, controlled and/or licensed by Binance Operators or its members, parent
companies, licensors or affiliates.

Binance owns any feedback, suggestions, ideas, or other information or materials (hereinafter collectively referred to as “Feedback”) about Binance or Binance Services that you provide
through email, Binance Services, or other ways. You hereby transfer all rights, ownership and interests of the Feedback and all related intellectual property rights to Binance. You have no right
and hereby waive any request for acknowledgment or compensation based on any Feedback, or any modifications based on any Feedback.

b. Restriction

When you use Binance Services, you agree and undertake to comply with the following provisions:

             During the use of Binance Services,                              all       activities you carry out should comply with the requirements of applicable laws and regulations, these Terms, and various guidelines of Binance;

             Your use of Binance Services should not violate public interests, public morals, or the legitimate interests of others, including any actions that would interfere with, disrupt, negatively affe
             ct, or prohibit other Users from using Binance Services;

             You agree not to use the services for market manipulation (such as pump and dump schemes, wash trading, self-trading, front running, quote stuffing, and spoofing or layering, regardles
             s of whether prohibited by law);


             Without written consent from Binance, the following commercial uses of Binance data are prohibited:

             1) Trading services that make use of Binance quotes or market bulletin board information.

             2) Data feeding or streaming services that make use of any market data of Binance.

             3) Any other websites/apps/services that charge for or otherwise profit from (including through advertising or referral fees) market data obtained from Binance.

             Without prior written consent from Binance, you may not modify, replicate, duplicate, copy, download, store, further transmit, disseminate, transfer, disassemble, broadcast, publish, remo
             ve or alter any copyright statement or label, or license, sub-license, sell, mirror, design, rent, lease, private label, grant security interests in the properties or any part of the properties, or c
             reate their derivative works or otherwise take advantage of any part of the properties.

             You may not (i) use any deep linking, web crawlers, bots, spiders or other automatic devices, programs, scripts, algorithms or methods, or any similar or equivalent manual processes to a
             ccess, obtain, copy or monitor any part of the properties, or replicate or bypass the navigational structure or presentation of Binance Services in any way, in order to obtain or attempt to o
             btain any materials, documents or information in any manner not purposely provided through Binance Services; (ii) attempt to access any part or function of the properties without autho
             rization, or connect to Binance Services or any Binance servers or any other systems or networks of any Binance Services provided through the services by hacking, password mining or a
             ny other unlawful or prohibited means; (iii) probe, scan or test the vulnerabilities of Binance Services or any network connected to the properties, or violate any security or authentication
             measures on Binance Services or any network connected to Binance Services; (iv) reverse look-up, track or seek to track any information of any other Users or visitors of Binance Service
             s; (v) take any actions that imposes an unreasonable or disproportionately large load on the infrastructure of systems or networks of Binance Services or Binance, or the infrastructure of
             any systems or networks connected to Binance services; (vi) use any devices, software or routine programs to interfere with the normal operation of Binance Services or any transactions
             on Binance Services, or any other person’s use of Binance Services; (vii) forge headers, impersonate, or otherwise manipulate identification, to disguise your identity or the origin of any m
             essages or transmissions you send to Binance, or (viii) use Binance Services in an illegal way.
By accessing Binance Services, you agree that Binance has the right to investigate any violation of these Terms, unilaterally determine whether you have violated these Terms, and take actions
under relevant regulations without your consent or prior notice. Examples of such actions include, but are not limited to:

             Blocking and closing order requests;

             Freezing your account;

             Reporting the incident to the authorities;

             Publishing the alleged violations and actions that have been taken;

             Deleting any information you published that are found to be violations.
2.    Crypto-to-crypto Trading
Upon completion of the registration and identity verification for your Binance Account, you may conduct Crypto-to-crypto Trading on Binance                                                                                                                                        in   accordance with the provisions of these Terms
and Binance Platform Rules.

a. Orders

Upon sending an instruction of using Binance Services for Crypto-to-crypto Trading (an “Order”), your account will be immediately updated to reflect the open Orders, and your Orders will be
included in Binance’s order book to match other users’ Orders. If one of your Orders fully or partially matches another user’s Order, Binance will execute an exchange (a “Transaction”). Once
the Transaction is executed, your account will be updated to reflect that the Order has been fully executed and closed, or the Order has been partially executed. The Order will remain
uncompleted until it is fully executed or cancelled under paragraph (b) below. To conclude a Transaction, you authorize Binance to temporarily control the Digital Currencies involved in your
Transaction.

b. Cancellation

For Orders initiated through Binance Services, you may only cancel them before they have been matched with other Users’ Orders. Once your Order has been matched with another user’s
Order, you may not change, revoke or cancel Binance’s authorization to complete the Order. For any partially matched Order, you may cancel the unmatched part of the Order unless such
portion has been matched. Binance reserves the right to reject any cancellation request related to the Order you have submitted. If your account does not have sufficient amount of Digital
Currencies to execute an Order, Binance may cancel the entire Order, or execute part of the Order with the amount of Digital Currencies you have in your account (in each case, any Transaction
related fees payable to Binance are deducted as stated in paragraph (c) below).

c.    Fees

You agree to pay Binance the fees specified in www.binance.com/en/fee/schedule .Binance may, in its discretion, update the fees at any time. Any updated fees will apply to any sales or other
Transactions that occur following the effective date of the updated fees. You authorize Binance to deduct from your account any applicable fees that you owe under these Terms.

d. Other Types of Crypto-to-crypto Trading

In addition to the Crypto-to-crypto Trading that allows users to directly place orders as mentioned in paragraph (a) above, Binance may, in its discretion, provide technical and platform services
for other types of Crypto-to-crypto Trading under its separately formulated Binance Platform Rules, such as One Cancels the Other (OCO) and block trade.

3.    Fiat Trading
Prior to conducting Fiat Trading, in accordance with type of fiat trading, you shall separately read and agree User Agreements with various Binance partnered OTC platforms, and comply with
the Legal Statement, Privacy Policy, P2P User Transaction Policy ( en/support/faq/360041066751 ) and other specific Binance Platform Rules related to Fiat Trading as well as the business rules
of such partners, and open an account on such Binance OTC platforms, following the completion of the registration and identity verification for your Binance Account, if applicable. a. Fiat
Payments. If you choose to utilise the Fiat Trading, you agree that Binance UAB (registration number: 305595206) having its registered office at Didžioji g. 18, Vilnius, Lithuania shall be the main
Binance Operator responsible for the transaction (including for the purpose of refunds and cancellations). Binance UAB is the Binance Operator responsible for the transactions processed by
MasterCard. The activities of Binance UAB defined herein are governed by the laws of the Republic of Lithuania.

Separately, Binance Digital Limited (registration number: 12340481) having                                                                       its   registered office at Hub 26 Hunsworth Lane, Cleckheaton, England, BD19 4LN                                                                            is   also    a   channel which may be
made available to Users for withdrawal of fiat, not using MasterCard.

4.    Futures Trading
Unless otherwise specified by Binance, to conduct Futures Trading, you must conclude with Binance a separate Binance Futures Service Agreement ( en/support/faq/360033180732 ) and open                                                                                                                                                                                  a
special Collateral Account, following the completion of registration and identity verification for your Binance Account. You acknowledge and agree that:

a.You fully understand the high risks of Futures Trading, including but not limited to the risk of major fluctuations of Digital Assets                                                                                                                            in   Futures Trading, and the risk of exacerbated adverse
outcome when leverage is used;

b.You have sufficient investment knowledge and experience and the capacity to take risks arising from Futures Trading, and agree to independently assume                                                                                                                                                      all     the risks arising from the
investment of Futures Trading;

c.Before performing Futures Trading, you have read and understood all the contents of the Binance Futures Service Agreement and the relevant Binance Platform Rules, and have consulted
relevant professionals to make informed decisions on whether and how to complete Futures Trading according to their recommendations and your own reasonable judgment;

d.You agree and authorize Binance to take various reasonable measures in its discretion (including but not limited to forced liquidation and forced position reduction under specific
circumstances) in accordance with the Binance Futures Service Agreement and the relevant Binance Platform Rules to protect the legitimate interests of you, Binance and other Users.

5.    Options Trading
You acknowledge and agree that:

a.You fully understand the high risks of Options Trading, including but not limited to the risk of major fluctuations of Digital Assets                                                                                                                            in   Options Trading, and the risk of exacerbated adverse
outcome when leverage is used;

b.You have sufficient investment knowledge and experience and the capacity to take risks arising from Options Trading, and agree to independently assume                                                                                                                                                      all     the risks arising from the
investment of Options Trading;

c.Before performing Options Trading, you have read and understood all the relevant Binance Platform Rules, and have consulted relevant professionals to make informed decisions on whether
and how to complete Options Trading according to their recommendations and your own reasonable judgment;

d.You agree and authorize Binance to take various reasonable measures in its discretion (including but not limited to forced liquidation and forced position reduction under specific
circumstances) in accordance with the relevant Binance Platform Rules to protect the legitimate interests of you, Binance and other Users.

6.    Margins Trading
Unless otherwise specified by Binance, prior to conducting Margins Trading, you must open                                                                                                     a    special Collateral Account and/or complete other related procedures, following the completion of
registration and identity verification for your Binance Account.

a. Risks of Margins Trading

Margins Trading          is   highly risky. As            a   leveraged trader, you acknowledge and agree that you access and use Margins Trading and borrowing services at your own risk, which include but are not
limited to:

             The liquidity, market depth and dynamics of the trading market fluctuate violently and change rapidly. The use of leverage may work to your advantage or disadvantage, which may result
             in major gains or losses as the case may be.

             You are not eligible to receive forked currencies split from any blockchain assets                                                                                 in   your Collateral Account, even                           if   you have not engaged                  in   any Margins Trading or borrowing at                          all.

             Loans carry risk, and the value of your blockchain assets may decline.                                                               If   the value of your assets drops to                                           a   certain level, you are responsible for dealing with these market circumstances.

             In some market situations, you may find                                         it   difficult or impossible to liquidate                               a    position. This may occur, for example, as                                   a   result of insufficient market liquidity or technical issues on Bina
             nce.

             Placing contingent Orders does not necessarily limit your losses to the expected amount, as market conditions may prevent you from executing such orders.

             Margins Trading does not have guaranteed measures against losses. As                                                                      a    borrower, you may suffer losses that exceed the amount you deposited into your Collateral Account.
b. To start Margins Trading:

             You represent and warrant that you are neither from the U.S. nor on any                                                                   list      of trade embargoes or economic sanctions, such as the Specially Designated National by OFAC (The Office of
             Foreign Assets Control of the U.S. Department of the Treasury).

             You should fully understand the risks associated with Margins Trading and Lending, and be fully responsible for any trading and non-trading activities under your Binance Account and Col
             lateral Account. You should not engage in Transactions or invest in funds that are beyond your financial capacities;

             You are fully responsible for knowing the true status of any position, even                                                                    if   Binance may present                                 it   incorrectly at any time;

             You agree to keep enough Digital Assets in your Collateral Account, as required by Binance for Users’ engagement in Margins Trading, and promptly repay your loan                                                                                                                                                       in full.   Failure to keep
             enough assets or to timely repay the outstanding loan may result in forced liquidation of the assets in your Collateral Account;

             Even if with the ability to forcefully liquidate any position, Binance cannot guarantee to stop losses.                                                                                                      If   your assets are insufficient to repay the outstanding loan after the liquidation of you
             r position, you are still liable for any further shortfall of assets;


             Binance may take measures, in its discretion and on your behalf, to reduce your potential losses, including but not limited                                                                                                                     to,    transferring assets from your Collateral Account into your Bi
             nance Account and/or vice versa;

             During Binance system maintenance, you agree to be fully responsible for managing your Collateral Account under risks, including but not limited                                                                                                                                          to,   closing positions and repaying your                         l


             oan.

             You agree to conduct all Transactions, Margins Trading and/or borrowing on your own, and be fully responsible for your activities. Binance assumes no liability for any loss or damage cau
             sed by your use of any Binance services or your unawareness of the risks associated with the use of Digital Assets or with your use of Binance Services.
7.    Lending Services
Unless otherwise provided by Binance, to borrow currencies, you must conclude with Binance a separate Lending Services User Agreement and open                                                                                                                                                     a   special Collateral Account and/or finish
other relevant procedures, following the completion of registration and identity verification for your Binance Account. You understand and agree that:

a. There are considerable risks involved in Lending Services, which include without limitation to risks of fluctuation of the borrowed Digital Assets’ value, derivative risks and technical risks. You
shall carefully consider and exercise clear judgment to evaluate your financial situation and the aforesaid risks to make any decision on using Lending Services, and you shall be responsible for
all losses arising therefrom;


b.you shall cooperate to provide the information and materials related to identity verification and Lending Services as required by Binance, and be solely responsible for taking necessary
security measures to protect the security of your Collateral Account and personal information;

c. you shall carefully read relevant Binance Platform Rules before using Lending Services, and be aware of, understand and observe the specific information and rules regarding the operations
of Lending Services, and you undertake that the use of the assets borrowed shall conform to requirements of these Terms and related laws and regulations;

d. Binance has the full right to manage your Collateral Account and collateral during the period in which Lending Services are offered, and reserves the right, under the circumstances specified
in the Lending Services User Agreement or these Terms, to implement various risk control measures, which include but are not limited to forced liquidation. Such steps may cause major losses
to you and you shall be solely responsible for the outcomes of such measures;

e.Binance has the right to temporarily or permanently prohibit you from using Lending Services when                                                                                                             it   deems        it   necessary or reasonable, and to the maximum extent permitted by law,
without liability of any kind to you.

8.    Binance Savings Service
Binance offers Binance Savings, a service to provide Users with value-added services for their idle Digital Assets. To use Binance Savings service, you must conclude with Binance a separate
Binance Savings Service User Agreement ( en/support/faq/360032559032 ) and open a special Binance Savings service account, following the completion of registration and identity verification
for your Binance Account. When using Binance Savings service, you should note that:

a.    Binance Savings assets will be used                           in    cryptocurrency leveraged borrowing and other businesses.

b.    When you use Binance Savings service, you will unconditionally authorize Binance to distribute and grant the leveraged interest according to Binance Platform Rules.

c.    You shall abide by relevant laws and regulations to ensure that the sources of Digital Assets are legitimate and compliant when using Binance Savings service.

d.    When you use Binance Savings service, you should fully recognize the risks of investing                                                                                            in       Digital Assets and operate cautiously.

e.You agree that          all      investment operations conducted on Binance represent your true investment intentions and that unconditionally accept the potential risks and benefits of your investment
decisions.

f.   Binance reserves the right to suspend or terminate Binance Savings service.                                                                       If    necessary, Binance can suspend and terminate Binance Savings service at any time.

g.Due to network delay, computer system failures and other force majeure, which may lead to delay, suspension, termination or deviation of execution of Binance Savings service, Binance will
use reasonable effort to ensure but not promise that Binance Savings service execution system runs stably and effectively. Binance does not take any responsibility if the final execution fails to
match your expectations due to the above factors.

9.    Staking Programs
Binance will from time to time launch Staking Programs for specific types of Digital Currencies to reward, as per certain rules, users who hold such Digital Currencies                                                                                                                                                       in   their Binance Accounts.
When participating in Staking Programs, you should note that:

a.    Unless otherwise stipulated by Binance, Staking Programs are free of charge and Users may trade during the staking period;

b.    Binance does not guarantee Users’ proceeds under any Staking Program;

c.    Binance has the right to initiate or terminate Staking Program for any Digital Currencies or modify rules on such programs                                                                                                                    in its    sole discretion;

d. Users shall ensure that sources of the Digital Currencies they hold in Binance Accounts are legal and compliant and undertake to observe related laws and regulations. Otherwise, Binance
has the right to take necessary steps in accordance with these Terms or Binance Platform Rules, including, without limitation, freezing Binance Accounts or deducting the Digital Currencies
awarded to Users who violate the rules of respective Staking Programs.

10. Binance POS Service Agreement
a.    Binance.com launched Binance POS service for Binance.com users to gain proceeds through idle cryptocurrency assets.

b.    Binance POS assets will be used                         in   cryptocurrency staking to gain proceeds and other businesses.

c.    When you use Binance POS service, you will unconditionally authorize Binance.com to distribute the staking interest according to the rules of the platform.

d.    You shall abide by the relevant laws of the State to ensure that the sources of assets are legitimate and compliant when using Binance POS service.

e.    When you use Binance POS service, you should fully recognize the risks of investment                                                                                          in    cryptocurrency and operate cautiously.

f.You agree that all investment operations conducted on Binance.com represent your true investment intentions and that unconditionally accept the potential risks and benefits of your
investment decisions.

g.    Binance.com reserves the right to suspend or terminate Binance POS service.                                                                           If   necessary, Binance.com can suspend and terminate Binance POS service at any time.

h.Due to network delay, computer system failures and other force majeure, which may lead to delay, suspension or deviation of Binance POS service execution, Binance.com will use
commercially reasonable effort to ensure but not promise that Binance POS service execution system run stably and effectively. Binance.com does not take any responsibility if the final
execution doesn’t match your expectations due to the above factors.

IV. Liabilities
1.    Disclaimer         of     Warranties
TO THE MAXIMUM EXTENT PERMITTED UNDER APPLICABLE LAW, BINANCE SERVICES, BINANCE MATERIALS AND ANY PRODUCT, SERVICE OR OTHER ITEM PROVIDED BY OR ON
BEHALF OF BINANCE ARE OFFERED ON AN “AS IS” AND “AS AVAILABLE” BASIS, AND BINANCE EXPRESSLY DISCLAIMS, AND YOU WAIVE, ANY AND ALL OTHER WARRANTIES OF ANY
KIND, WHETHER EXPRESS OR IMPLIED, INCLUDING, WITHOUT LIMITATION, WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, TITLE OR NON-
INFRINGEMENT OR WARRANTIES ARISING FROM COURSE OF PERFORMANCE, COURSE OF DEALING OR USAGE IN TRADE. WITHOUT LIMITING THE FOREGOING, BINANCE DOES NOT
REPRESENT OR WARRANT THAT THE SITE, BINANCE SERVICES OR BINANCE MATERIALS ARE ACCURATE, COMPLETE, RELIABLE, CURRENT, ERROR-FREE, OR FREE OF VIRUSES OR
OTHER HARMFUL COMPONENTS. BINANCE DOES NOT GUARANTEE THAT ANY ORDER WILL BE EXECUTED, ACCEPTED, RECORDED OR REMAIN OPEN. EXCEPT FOR THE EXPRESS
STATEMENTS, AGREEMENTS AND RULES SET FORTH IN THESE TERMS, YOU HEREBY ACKNOWLEDGE AND AGREE THAT YOU HAVE NOT RELIED UPON ANY OTHER STATEMENT OR
AGREEMENT, WHETHER WRITTEN OR ORAL, WITH RESPECT TO YOUR USE AND ACCESS OF BINANCE SERVICES. WITHOUT LIMITING THE FOREGOING, YOU HEREBY UNDERSTAND
AND AGREE THAT BINANCE WILL NOT BE LIABLE FOR ANY LOSSES OR DAMAGES ARISING OUT OF OR RELATING TO: (A) ANY INACCURACY, DEFECT OR OMISSION OF DIGITAL ASSETS
PRICE DATA, (B) ANY ERROR OR DELAY IN THE TRANSMISSION OF SUCH DATA, (C) INTERRUPTION IN ANY SUCH DATA, (D) REGULAR OR UNSCHEDULED MAINTENANCE CARRIED OUT
BY BINANCE AND SERVICE INTERRUPTION AND CHANGE RESULTING FROM SUCH MAINTENANCE, (E) ANY DAMAGES INCURRED BY OTHER USERS’ ACTIONS, OMISSIONS OR
VIOLATION OF THESE TERMS, (F) ANY DAMAGE CAUSED BY ILLEGAL ACTIONS OF OTHER THIRD PARTIES OR ACTIONS WITHOUT AUTHORIZED BY BINANCE; AND (G) OTHER
EXEMPTIONS MENTIONED IN DISCLAIMERS AND PLATFORM RULES ISSUED BY BINANCE.

THE DISCLAIMER OF IMPLIED WARRANTIES CONTAINED HEREIN MAY NOT APPLY IF AND TO THE EXTENT IT IS PROHIBITED BY APPLICABLE LAW OF THE JURISDICTION IN WHICH
YOU RESIDE.

2.    Disclaimer         of     Damages and Limitation                                             of   Liability
TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, IN NO EVENT WILL BINANCE, ITS AFFILIATES AND THEIR RESPECTIVE SHAREHOLDERS, MEMBERS, DIRECTORS,
OFFICERS, EMPLOYEES, ATTORNEYS, AGENTS, REPRESENTATIVES, SUPPLIERS OR CONTRACTORS BE LIABLE FOR ANY INCIDENTAL, INDIRECT, SPECIAL, PUNITIVE, CONSEQUENTIAL
OR SIMILAR DAMAGES OR LIABILITIES WHATSOEVER (INCLUDING, WITHOUT LIMITATION, DAMAGES FOR LOSS OF DATA, INFORMATION, REVENUE, PROFITS OR OTHER BUSINESSES
OR FINANCIAL BENEFITS) ARISING OUT OF BINANCE SERVICES, ANY PERFORMANCE OR NON-PERFORMANCE OF BINANCE SERVICES, OR ANY OTHER PRODUCT, SERVICE OR OTHER
ITEM PROVIDED BY OR ON BEHALF OF BINANCE AND ITS AFFILIATES, WHETHER UNDER CONTRACT, STATUTE, STRICT LIABILITY OR OTHER THEORY EVEN IF BINANCE HAS BEEN
ADVISED OF THE POSSIBILITY OF SUCH DAMAGES EXCEPT TO THE EXTENT OF A FINAL JUDICIAL DETERMINATION THAT SUCH DAMAGES WERE A RESULT OF BINANCE’S GROSS
NEGLIGENCE, FRAUD, WILLFUL MISCONDUCT OR INTENTIONAL VIOLATION OF LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OR LIMITATION OF INCIDENTAL OR
CONSEQUENTIAL DAMAGES, SO THE ABOVE LIMITATION MAY NOT APPLY TO YOU.

NOTWITHSTANDING THE FOREGOING, IN NO EVENT WILL THE LIABILITY OF BINANCE, ITS AFFILIATES AND THEIR RESPECTIVE SHAREHOLDERS, MEMBERS, DIRECTORS, OFFICERS,
EMPLOYEES, ATTORNEYS, AGENTS, REPRESENTATIVES, SUPPLIERS OR CONTRACTORS ARISING OUT OF SERVICES OFFERED BY OR ON BEHALF OF BINANCE AND ITS AFFILIATES,
ANY PERFORMANCE OR NON-PERFORMANCE OF BINANCE SERVICES, OR ANY OTHER PRODUCT, SERVICE OR OTHER ITEM, WHETHER UNDER CONTRACT, STATUTE, STRICT LIABILITY
OR OTHER THEORY, EXCEED THE AMOUNT OF THE FEES PAID BY YOU TO BINANCE UNDER THESE TERMS IN THE TWELVE-MONTH PERIOD IMMEDIATELY PRECEDING THE EVENT
GIVING RISE TO THE CLAIM FOR LIABILITY.

3.    Indemnification
You agree to indemnify and hold harmless Binance Operators, their affiliates, contractors, licensors, and their respective directors, officers, employees and agents from and against any claims,
actions, proceedings, investigations, demands, suits, costs, expenses and damages (including attorneys’ fees, fines or penalties imposed by any regulatory authority) arising out of or related to
(i) your use of, or conduct in connection with, Binance Services, (ii) your breach or our enforcement of these Terms, or (iii) your violation of any applicable law, regulation, or rights of any third

party during your use of Binance Services. If you are obligated to indemnify Binance Operators, their affiliates, contractors, licensors, and their respective directors, officers, employees or
agents pursuant to these Terms, Binance will have the right, in its sole discretion, to control any action or proceeding and to determine whether Binance wishes to settle, and if so, on what
terms.

V.    Announcements
Please be aware that all official announcements, news, promotions, competitions and airdrops will be listed on www.binance.com/en/support/announcement USERS UNDERTAKE TO REFER                                                                                                                                   .


TO THESE MATERIALS REGULARLY AND PROMPTLY. BINANCE WILL NOT BE HELD LIABLE OR RESPONSIBLE IN ANY MANNER OF COMPENSATION SHOULD USERS INCUR PERSONAL
LOSSES ARISING FROM IGNORANCE OR NEGLIGENCE OF THE ANNOUNCEMENTS.

VI. Termination                 of   Agreement
1.    Suspension          of       Binance Accounts
You agree that Binance shall have the right to immediately suspend your Binance                                                                                  Account (and any accounts beneficially owned by related entities or affiliates), freeze or lock the Digital Assets
or funds in all such accounts, and suspend your access to Binance for any reason                                                                                 including if Binance suspects any such accounts to be in violation of these Terms, our Privacy Policy, or any
applicable laws and regulations. You agree that Binance shall not be liable to you                                                                               for any permanent or temporary modification of your Binance Account, or suspension or termination of your
access to all or any portion of Binance Services. Binance shall reserve the right to                                                                             keep and use the transaction data or other information related to such Binance Accounts. The above account
controls may also be applied in the following cases:

             The Binance Account              is   subject to             a   governmental proceeding, criminal investigation or other pending litigation;

             We detect unusual activities                     in   the Binance Account;

             We detect unauthorized access to the Binance Account;

             We are required to do so by                  a    court order or command by                                   a    regulatory/government authority.
2.    Cancellation            of     Binance Accounts
In case of any of the following events, Binance shall have the right to directly terminate these Terms by cancelling your Binance Account, and shall enjoy the right but not the obligation to
permanently freeze (cancel) the authorizations of your Binance Account on Binance and withdraw the corresponding Binance Account thereof:

             after Binance terminates services to you;

             you allegedly register or register                      in       any other person’s name as                                 a   Binance User again, directly or indirectly;

             the information that you have provided                                     is        untruthful, inaccurate, outdated or incomplete;

             when these Terms are amended, you state your unwillingness to accept the amended Terms by applying for cancellation of your Binance Account or by other means;

             you request that Binance Services be terminated; and

             any other circumstances where Binance deems                                                 it   should terminate Binance Services.
Should your Binance Account be terminated, the account and transactional information that meet data retention standards will be securely stored for 5 years. In addition, if a transaction is
unfinished during the account termination process, Binance shall have the right to notify your counterparty of the situation at that time. You acknowledge that a user-initiated account exit (right
to erasure under GDPR or other equivalent regulations) will also be subjected to the termination protocol stated above.
If Binance is informed that any Digital Assets or funds held in your Binance Account are stolen or otherwise are not lawfully possessed by you, Binance may, but has no obligation to, place an
administrative hold on the affected funds and your Binance Account. If Binance does lay down an administrative hold on some or all of your funds or Binance Account, Binance may continue
such hold until such time as the dispute has been resolved and evidence of the resolution acceptable to Binance has been provided to Binance in a form acceptable to Binance. Binance will not
involve itself in any such dispute or the resolution of the dispute. You agree that Binance will have no liability or responsibility for any such hold, or for your inability to withdraw Digital Assets or
funds or execute trades during the period of any such hold.

3.    Remaining Funds After Binance Account Termination
Except as set forth in paragraph 4 below, once a Binance Account is closed/withdrawn, all remaining account balance (which includes charges and liabilities owed to Binance) will be payable
immediately to Binance. Upon payment of all outstanding charges to Binance (if any), Users will have 5 business days to withdraw all Digital Assets or funds from the account.

4.    Remaining Funds After Binance Account Termination Due to Fraud, Violation                                                                                                                      of    Law, or Violation                 of    These Terms
Binance maintains full custody of the Digital Assets, funds and User data/information which may be turned over to governmental authorities                                                                                                                                        in    the event of Binance Accounts’
suspension/closure arising from fraud investigations, investigations of violation of law or violation of these Terms.

VII. No Financial Advice
Binance is not your broker, intermediary, agent, or advisor and has no fiduciary relationship or obligation to you in connection with any trades or other decisions or activities effected by you
using Binance Services. No communication or information provided to you by Binance is intended as, or shall be considered or construed as, investment advice, financial advice, trading advice,
or any other sort of advice. Unless otherwise specified in these Terms, all trades are executed automatically, based on the parameters of your order instructions and in accordance with posted
trade execution procedures, and you are solely responsible for determining whether any investment, investment strategy or related transaction is appropriate for you according to your
personal investment objectives, financial circumstances and risk tolerance, and you shall be solely responsible for any loss or liability therefrom. You should consult legal or tax professionals
regarding your specific situation. Binance does not recommend that any Digital Asset should be bought, earned, sold, or held by you. Before making the decision to buy, sell or hold any Digital
Asset, you should conduct your own due diligence and consult your financial advisors prior to making any investment decision. Binance will not be held responsible for the decisions you make
to buy, sell, or hold Digital Asset based on the information provided by Binance.




VIII. Compliance with Local Laws
It isUsers’ responsibility to abide by local laws in relation to the legal usage of Binance Services in their local jurisdiction as well as other laws and regulations applicable to Users. Users must
also factor, to the extent of their local laws all aspects of taxation, the withholding, collection, reporting and remittance to their appropriate tax authorities. ALL USERS OF BINANCE SERVICES
ACKNOWLEDGE AND DECLARE THAT THEIR FUNDS COME FROM LEGITIMATE SOURCES AND DO NOT ORIGINATE FROM ILLEGAL ACTIVITIES; USERS AGREE THAT BINANCE WILL
REQUIRE THEM TO PROVIDE OR OTHERWISE COLLECT THE NECESSARY INFORMATION AND MATERIALS AS PER RELEVANT LAWS OR GOVERNMENT ORDERS TO VERIFY THE LEGALITY
OF THE SOURCES AND USE OF THEIR FUNDS. Binance maintains a stance of cooperation with law enforcement authorities globally and will not hesitate to seize, freeze, terminate Users’
accounts and funds which are flagged out or investigated by legal mandate.




IX. Privacy Policy
Access to Binance Services will require the submission of certain personally identifiable information. Please review Binance’s Privacy Policy at www.binance.com/en/privacy for                                                                                                                                                                 a   summary of
Binance’s guidelines regarding the collection and use of personally identifiable information.

X. Resolving Disputes: Forum, Arbitration, Class Action Waiver
PLEASE READ THIS SECTION CAREFULLY, AS IT INVOLVES A WAIVER OF CERTAIN RIGHTS TO BRING LEGAL PROCEEDINGS, INCLUDING AS A CLASS ACTION.

1. Notice of Claim and Dispute Resolution Period. Please contact Binance first! Binance wants to address your concerns without resorting to formal legal proceedings, if possible. If you have a
dispute with Binance, then you should contact Binance and a ticket number will be assigned. Binance will attempt to resolve your dispute internally as soon as possible. The parties agree to
negotiate in good faith to resolve the dispute (which discussions shall remain confidential and be subject to applicable rules protecting settlement discussions from use as evidence in any legal
proceeding).

In the event the dispute cannot be resolved satisfactorily, and you wish to assert a legal claim against Binance, then you agree to set forth the basis of such claim in writing in a “Notice of
Claim,” as a form of prior notice to Binance. The Notice of Claim must (1) describe the nature and basis of the claim or dispute, (2) set forth the specific relief sought, (3) provide the original
ticket number, and (4) include your Binance account email. The Notice of Claim should be submitted to an email address or hyperlink provided in your correspondence with Binance. After you
have provided the Notice of Claim to Binance, the dispute referenced in the Notice of Claim may be submitted by either Binance or you to arbitration in accordance with paragraph 2 of this
Section, below. For the avoidance of doubt, the submission of a dispute to Binance for resolution internally and the delivery of a Notice of Claim to Binance are prerequisites to commencement
of an arbitration proceeding (or any other legal proceeding). During the arbitration, the amount of any settlement offer made by you or Binance shall not be disclosed to the arbitrator.

2. Agreement to Arbitrate and Governing Law. You and Binance Operators agree that, subject to paragraph 1 above, any dispute, claim, or controversy between you and Binance (and/or
Binance Operators) arising in connection with or relating in any way to these Terms or to your relationship with Binance (and/or Binance Operators) as a user of Binance Services (whether
based in contract, tort, statute, fraud, misrepresentation, or any other legal theory, and whether the claims arise during or after the termination of these Terms) will be determined by
mandatory final and binding individual (not class) arbitration, except as set forth below under Exceptions to Agreement to Arbitrate. You and Binance Operators further agree that the arbitrator
shall have the exclusive power to rule on his or her own jurisdiction, including without limitation any objections with respect to the existence, scope or validity of the Agreement to Arbitrate, or
to the arbitrability of any claim or counterclaim. Arbitration is more informal than a lawsuit in court. THERE IS NO JUDGE OR JURY IN ARBITRATION, AND COURT REVIEW OF AN ARBITRATION
AWARD IS LIMITED. There may be more limited discovery than in court. The arbitrator must follow this agreement and can award the same damages and relief as a court (including, if
applicable, attorney fees), except that the arbitrator may not award declaratory or injunctive relief in favour of anyone but the parties to the arbitration. The arbitration provisions set forth in
this Section will survive termination of these Terms. Arbitration Rules. The arbitration shall be subject to the HKIAC Administered Arbitration Rules (HKIAC. Rules) in force when the Notice of
Arbitration is submitted, as modified by this Section X. The arbitration will be administered by the Hong Kong International Arbitration Centre (HKIAC). Unless the parties agree otherwise, there
shall be only one arbitrator appointed in accordance with the HKIAC Rules. Any arbitration will be conducted in the English language. Regardless of the manner in which the arbitration is
conducted, the arbitrator shall issue a reasoned written decision sufficient to explain the essential findings and conclusions on which the decision and award, if any, are based. JUDGMENT ON
ANY ARBITRAL AWARD MAY BE GIVEN IN ANY COURT HAVING JURISDICTION OVER THE PARTY (OR OVER THE ASSETS OF THE PARTY) AGAINST WHOM SUCH AN AWARD IS RENDERED.
Time for Filing: ANY ARBITRATION AGAINST BINANCE OPERATORS MUST BE COMMENCED BY FILING A REQUEST FOR ARBITRATION WITHIN ONE (1) YEAR, AFTER THE DATE THE PARTY
ASSERTING THE CLAIM FIRST KNOWS OR REASONABLY SHOULD KNOW OF THE ACT, OMISSION OR DEFAULT GIVING RISE TO THE CLAIM; AND THERE SHALL BE NO RIGHT TO ANY REMEDY
FOR ANY CLAIM NOT ASSERTED WITHIN THAT TIME PERIOD. THIS ONE YEAR LIMITATION PERIOD IS INCLUSIVE OF THE INTERNAL DISPUTE RESOLUTION PROCEDURE SET FORTH IN
PARAGRAPH 1 OF THIS SECTION, ABOVE. THERE SHALL BE NO RIGHT TO ANY REMEDY FOR ANY CLAIM NOT ASSERTED WITHIN THAT TIME PERIOD. If applicable law prohibits a one-year
limitation period for asserting claims, any claim must be asserted within the shortest time period permitted by applicable law. Process; Notice: The party who intends to seek arbitration after
the expiration of the Dispute Resolution Period set forth in paragraph 1, above, must submit a request to the HKIAC in accordance with the HKIAC Rules. If we request arbitration against you,
we will give you notice at the email address or mailing address you have provided. You agree that any notice sent to this email or mailing address shall be deemed effective for all purposes,
including without limitation to determinations of adequacy of service. It is your obligation to ensure that the email address and/or mailing address on file with Binance is up-to-date and
accurate. Seat of Arbitration: The seat of the arbitration shall be Hong Kong. Place of Hearing: The location of any in-person arbitration hearing shall be Hong Kong, unless otherwise agreed to
by the parties. Governing Law: These Terms (including this arbitration agreement) shall be governed by, and construed in accordance with, the laws of Hong Kong. Confidentiality. The parties
agree that the arbitration shall be kept confidential. The existence of the arbitration, any nonpublic information provided in the arbitration, and any submissions, orders or awards made in the
arbitration (together, the “Confidential Information”) shall not be disclosed to any non-party except the tribunal, the HKIAC, the parties, their counsel, experts, witnesses, accountants and
auditors, insurers and reinsurers, and any other person necessary to the conduct of the arbitration. Notwithstanding the foregoing, a party may disclose Confidential Information to the extent
that disclosure may be required to fulfill a legal duty, protect or pursue a legal right, or enforce or challenge an award in bona fide legal proceedings. This confidentiality provision shall survive
termination of these Terms and of any arbitration brought pursuant to these Terms.

3. Class Action Waiver. You and Binance agree that any claims relating to these Terms or to your relationship with Binance as a user of Binance Services (whether based in contract, tort,
statute, fraud, misrepresentation, or any other legal theory, and whether the claims arise during or after the termination of these Terms) shall be brought against the other party in an arbitration
on an individual basis only and not as a plaintiff or class member in a purported class or representative action. You and Binance further agree to waive any right for such claims to be brought,
heard, or arbitrated as a class, collective, representative, or private attorney general action, to the extent permissible by applicable law. Combining or consolidating individual arbitrations into a
single arbitration is not permitted without the consent of all parties, including Binance.

4. Modifications. Binance reserves the right to update, modify, revise, suspend, or make any future changes to Section X regarding the parties’ Agreement to Arbitrate, subject to applicable law.
You hereby consent and agree that it is your responsibility to ensure that your understanding of this Section is up to date. Subject to the applicable law, your continued use of your Binance
account shall be deemed to be your acceptance of any modifications to Section X regarding the parties’ Agreement to Arbitrate. You agree that if you object to the modifications to Section X,
Binance may block access to your account pending closure of your account. In such circumstances, the Terms of Use prior to modification shall remain in full force and effect pending closure of
your account.

5. Severability. If any portion of these Terms are adjudged to be invalid or unenforceable for any reason or to any extent, the remainder of these Terms will remain valid and enforceable and the
invalid or unenforceable portion will be given effect to the greatest extent permitted by law. pending closure of your account.

XI. Miscellaneous
1. Independent Parties. Binance is an independent contractor but not an agent of you                                                                                           in    the performance of these Terms. These Terms shall not be interpreted as facts or evidence of an
association, joint venture, partnership, or franchise between the parties.

2. Entire Agreement. These Terms constitute the entire agreement between the parties regarding use of Binance Services and will supersede all prior written or oral agreements between the
parties. No usage of trade or other regular practice or method of dealing between the parties will be used to modify, interpret, supplement, or alter the terms herein.

3. Interpretation and Revision. Binance reserves the right to alter, revise, modify, and/or change these Terms at any time. All changes will take effect immediately upon being published on
Binance websites. It is your responsibility to regularly check relevant pages on our websites/applications to confirm the latest version of these Terms. If you do not agree to any such
modifications, your only remedy is to terminate your usage of Binance Services and cancel your account. You agree that, unless otherwise expressly provided in these Terms, Binance will not
be responsible for any modification or termination of Binance Services by you or any third party, or suspension or termination of your access to Binance Services.

4.    Force Majeure. Binance will not be liable for any delay or failure to perform as required by these Terms because of any cause or condition beyond Binance’s reasonable control.

5. Severability. If any portion of these Terms is held invalid or unenforceable, such invalidity or enforceability will not affect the other provisions of these Terms, which will remain                                                                                                                                                           in full    force
and effect, and the invalid or unenforceable portion will be given effect to the greatest extent possible.

6. Assignment. You may not assign or transfer any right to use Binance Services or any of your rights or obligations under these Terms without prior written consent from Binance, including any
right or obligation related to the enforcement of laws or the change of control. Binance may assign or transfer any or all of its rights or obligations under these Terms, in whole or in part, without
notice or obtaining your consent or approval.

7. Waiver. The failure of one party to require performance of any provision will not affect that party’s right to require performance at any time thereafter. At the same time, the waiver of one
party to seek recovery for the other party’s violation of these Terms or any provision of applicable terms shall not constitute a waiver by that party of any subsequent breach or violation by the
other party or of the provision itself.

8. Third-Party Website Disclaimer. Any links to third-party websites from Binance Services does not imply endorsement by Binance of any product, service, information or disclaimer
presented therein, nor does Binance guarantee the accuracy of the information contained on them. If you suffer loss from using such third-party product and service, Binance will not be liable
for such loss. In addition, since Binance has no control over the terms of use or privacy policies of third-party websites, you should read and understand those policies carefully.

9.Matters Related to Apple Inc. If you use any device manufactured by Apple Inc. to participate                                                                                                       in   any commercial activities or reward programs through Binance Services, such activities and
programs are provided by Binance and are not associated with Apple Inc. in any manner.

10. Contact Information. For more information on Binance, you may refer to the company and license information found on Binance websites. If you have questions regarding these Terms,
please feel free to contact Binance for clarification via our Customer Support team at 10. Contact Information. For more information on Binance, you may refer to the company and license
information found on Binance websites. If you have questions regarding these Terms, please feel free to contact Binance for clarification via our Customer Support team at www.binance.com/
en/support/requests/new                   .




About Us                                           Products                                                             Service                                                                   Support                                          Learn                                                 Community
About                                              Exchange                                                             Downloads                                                                 Give Us Feedback                                 Buy BNB
Careers                                            Academy                                                              Desktop Application                                                       Support Center                                   Buy BUSD
Business Contacts                                  BCF                                                                  Buy Crypto                                                                Submit    a   request                            Buy Bitcoin
Community                                          Card                                                                 Fees                                                                      API Documentation                                Buy Ethereum
Binance Blog                                       Labs                                                                 Institutional Services                                                    Binance Verify                                   Buy Litecoin
Terms                                              Launchpad                                                            Referral                                                                  Law Enforcement Requests                         Buy Ripple
Privacy                                            Research                                                             Affiliate                                                                                                                  Buy Bitcoin Cash
Announcements                                      Trust Wallet                                                         BNB                                                                                                                        Buy Dogecoin
News                                               NFT                                                                  OTC Trading                                                                                                                Buy DeFi
Notices                                            Featured.market                                                      Listing Application                                                                                                        Buy SHIB
                                                   Binance Pay                                                          Trading Rules                                                                                                              Buy Tradable Altcoins
                                                                                                                        P2P Merchant Application
                                                                                                                        Historical Market Data



                                                                                                                                                                                    Binance © 2021
                                                                            Case 1:23-cv-01599-ABJ Document 14-2 Filed 06/06/23 Page 8 of 20




                                        Buy Crypto      EUR               Markets      Trade          Derivatives              Finance                 NFT   New                                       Log In        Register               Downloads     English      USD




                                                                                                    Binance Privacy Policy
                                                                                                                                                                                                                             Last updated: September 15, 2021.

This Privacy Policy describes how Binance collects and processes your personal information through the Binance websites and applications that reference this Privacy Notice. Binance refers to
an ecosystem comprising Binance websites (whose domain names include but are not limited to www.binance.com/en ), mobile applications, clients, applets and other applications that are
developed to offer Binance Services, and includes independently-operated platforms, websites and clients within the ecosystem (e.g., Binance’s Open Platform, Binance Launchpad, Binance
Labs, Binance Charity, Binance DEX, Binance X, JEX, Trust Wallet, and fiat gateways). “Binance Operators” refer to all parties that run Binance, including but not limited to legal persons,
unincorporated organizations and teams that provide Binance Services and are responsible for such services. “Binance” as used in this Policy includes Binance Operators.

This Privacy Policy applies to all platforms, websites, and departments of Binance and Binance Operators. By using Binance Services, you are consenting to the collection, storage, processing
and transfer of your personal information as described in this Privacy Policy.

Binance UAB, (legal entity code: 305595206, registered office address: Didžioji                             str.   18, Vilnius, the Republic of Lithuania)                   is   the Data Controller for personal information collected and processed
in connection with provision of Binance Services.




1.   What Personal Information About Users Does Binance Collect?
Binance collects your personal information              in    order to provide and continually improve our products and services.

Here are the types of personal information we collect:

Information you give us: we receive and store any information you provide                             in   relation to Binance. You can choose not to provide certain information but then you might not be able to use some
Binance Services. Examples of information that you give us include:

         email address

         name

         gender

         date of birth

         home address

         nationality

         country code

         other information to help us identify you
Automatically Collected information: we automatically collect and store certain types of information about your use of Binance Services including your interaction with content and services
available through Binance Services. Like many websites, we use cookies and other unique identifiers and we obtain certain types of information when your web browser or device accesses
Binance Services. Examples of the information we collect and analyse include:

         the Internet protocol (IP) address used to connect your computer to the Internet,

         login, e-mail address, password and location of your device or computer;

         Binance Services metrics (e.g., the occurrences of technical errors, your interactions with service features and content, and your settings preferences);

         version and time zone settings;

         transaction history.
Information from other sources: we may receive information about you from other sources such as credit history information from credit bureaus, which we use to help prevent and detect
fraud.

2.   Can Children Use Binance Services?
Binance does not allow anyone under the age of 18 to use Binance Services.

3.   For What Purposes Does Binance Process My Personal Information?
We process your personal information to operate, provide, and improve the Binance Services that we offer our users. These purposes include:

         Transaction services. We use your personal information to take and handle orders, process payments, and communicate with you about orders and services, and promotional offers.

         Provide, troubleshoot, and improve Binance Services. We use your personal information to provide functionality, analyse performance,                                                           fix   errors, and improve the usability and effectivene
         ss of Binance Services.

         Recommendations and personalisation. We use your personal information to recommend features and services that might be of interest to you, identify your preferences, and personalis
         e your experience with Binance Services.

         Comply with legal obligations. In certain cases, we collect and use your personal information to comply with laws and regulations. For instance, we collect bank account information for                                                                        id
         entity verification and other purposes.

         Communicate with you. We use your personal information to communicate with you                                        in   relation to Binance Services.

         Fraud prevention and credit risks. We process personal information to prevent and detect fraud and abuse                                                 in   order to protect the security of our users, Binance Services and others. We m
         ay also use scoring methods to assess and manage credit risks.

         Purposes for which we seek your consent. We may also ask for your consent to process your personal information for a specific purpose that we communicate to you. When you consent                                                                                   t

         o our processing your personal information for a specified purpose, you may withdraw your consent at any time and we will stop processing of your data for that purpose.

4.   What About Cookies and Other Identifiers?
We use cookies and similar tools to enhance your user experience, provide our services, and understand how customers use our services so we can make improvements. To enable our systems
to recognise your browser or device and to provide Binance Services to you, we use cookies.

We use operational cookies and similar tools (collectively, "cookies") to provide our services, for example:

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         nformation for a specified purpose, you may withdraw your consent at any time and we will stop processing of your data for that purpose.

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                                         Binance Pay                                 Trading Rules                                                                                 Buy Tradable Altcoins
                                                                                     P2P Merchant Application
                                                                                     Historical Market Data



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                    Announcement
                             New Cryptocurrency Listing
                             Binance Futures Will Launch USDT-Margined CELO & AR Perpetual Contracts with Up to 25X Leverage
                             Binance Adds ARPA/RUB, DF/USDT, FET/BUSD, LTC/UAH, SOL/USDC, STX/BUSD & SYS/USDT Trading Pairs
                             Binance Will List Yield Guild Games (YGG)
                             CELR/BUSD & FTM/BUSD Pairs Enabled on Isolated Margin, BUSD Annual Interest Rate Starts at 6.20%!
                             Binance Futures Will List Coin-Margined Quarterly 0325 Futures Contracts
                             View more



                             Latest Binance News
                             Binance Liquid Swap Adds ICP, Opens                 2    New Liquidity Pools
                             Binance Completes Fetch.ai (FET) Mainnet Integration
                             Binance Completes Reverse Token Split for SUSHIDOWN Leveraged Token (2021-09-23)
                             Binance Will Delist PPT & SWRV on 2021-09-30
                             Punch    It   Up with Oleksandr Usyk NFT Collection: Win Signed Boxing Gloves &                           a   Personal Training Session!
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                             Latest Activities
                             Kava Ecosystem Trading Competition              -       $100,000 to Be Won!
                             ​​DOT Trading Competition     -   $100k   in   Rewards to Be Won!
                             Binance NFT Learn and Earn: Learn About GameFi and Share $12,500                            in   Prizes
                             LATAM Exclusive: Upsize Your Purchase, Share 5,500 BUSD Prize Pool
                             Trade On Lucky Days, Claim        a   Share of $300,000          in   Rewards!
                             View more



                             New Fiat Listings
                             Binance Adds ARPA/TRY, XRP/BIDR, SUSHI/BIDR, SOL/AUD, C98/BRL, XEC/USDT, OGN/BUSD, MTL/BUSD & PROM/BTC Trading Pairs
                             Binance Adds AXS/AUD, AXS/BRL & TVK/USDT Trading Pairs
                             Binance Adds BUSD/UAH, RUNE/AUD & SOL/RUB Trading Pairs
                             Binance Adds ICP/EUR, MATIC/BIDR, MATIC/GBP, MATIC/RUB & SHIB/TRY Trading Pairs
                             Binance Adds ETH/UAH, MATIC/BRL, SHIB/BRL & SOL/EUR Trading Pairs
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                             API Updates
                             Updates to the Time Range of Data Retrieval via Binance Margin SAPI
                             Updates to API Services
                             Updates to Binance Margin SAPI Create Margin Account
                             Notice on Adjusting the Request Weight of Rest API Endpoints
                             Binance Futures API Websocket User Data Stream Upgrade (2021-04-23)
                             View more



                             Crypto Airdrop                                                                                                                          New Cryptocurrency Listing
                             Binance Will Support the Second Round of Donnie Finance (DON) Airdrop Program for IOST (IOST) Holders
                                                                                                                                 Latest Binance News
                             Binance Will Support the APENFT (NFT) Airdrop Program for TRON (TRX), BitTorrent (BTT) and JUST (JST) Holders
                                                                                                                                 Latest Activities
                             Venus Reward Token (VRT) Distribution Is Now Complete
                             Binance Will Support the Venus Reward Token (VRT) Airdrop Program for Venus (XVS) Holders           New Fiat Listings

                             Binance Will Support the Mettalex (MTLX) Airdrop Program for Fetch.ai (FET) Holders                                                     API Updates
                             View more                                                                                                                               Crypto Airdrop




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                      Binance Pay                         Trading Rules                                                                           Buy Tradable Altcoins
                                                          P2P Merchant Application
                                                          Historical Market Data



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Top news                    Flash news




      Twitter Integrates Bitcoin And Lightning In Tips                   AMC CEO Casts Dogecoin To Join Star-Studded                                                                                                                          Ethereum Sees Record Daily Volume Withdrawn From
      Feature Update                                                     Crypto Lineup Of Bitcoin, Ether, & More                                                                                                                              Centralized Exchanges

  Flash news          73 days ago    Binance Market Update (2021-07-13)


All       Business       Markets         Technology       Policy & Regulation




                                                                    Kazakhstan Might Have to Shut Bitcoin ($BTC) Mining
                                                                    Kazakhstan, the CentralHere’s
                                                                    Operations,                        Whythat became a Bitcoin mining hub in the wake of the Chinese crypto
                                                                                             Asian nation
                                                                    crackdown and miner exodus might have to shut BTC mining operations temporarily. The country is facing an
                                                                    electricity crunch that intensifies in winter and the government might have to impose restrictions on Bitcoin
                                                                    mining to ensure ample electricity to the people.Source: TweetKazakhstan’s share of Bitcoin mining rose six folds
                                                                    in April this ye

                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape                                        4   hrs ago # Kazakhstan                              # Bitcoin                   # Mining




                                                                    September Leaves Behind Trail Of Blood, Bitcoin Long
                                                                    Liquidations
                                                                    After what looked to be a month of prosperity following the August bull run, Bitcoin has now entered into an era of
                                                                    increasingly bearish signals. The asset had seen a number of rallies that pushed it over two-month highs,
                                                                    successfully breaking above the $52K resistance range on a number of occasions. Throwing the entire market into
                                                                    a stretched-out period of positive sentiment.September has now come with its own unique set of problems for the
                                                                    digi
                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC                               6       hrs ago # September                                 # Bitcoin                 # Price




                                                                    Twitter Integrates Bitcoin And Lightning In Tips Feature Update
                                                                    Social media superpower Twitter announced today its plans to begin a rollout of a Bitcoin tipping feature starting
                                                                    this week with iOS devices, and then later “in the coming weeks” with Android handsets.Using the new feature,
                                                                    users will be able to tip their favorite content creators, analysts, traders, influencers, and more. It also is yet
                                                                    another way the cryptocurrency is rapidly gaining visibility with the entire world thanks to Twitter CEO Jack

                                                                             BTC -4.68%
                                                                    Tony Spilotro-Bitcoinist 10 hrs ago # Twitter                                                               # Bitcoin                # Lightning Network




                                                                    Ethereum Price Retests Key Resistance Level as Aided by These
                                                                    TwoweekFundamentals
                                                                    This    has not been exceptionally pleasant for Ethereum (ETH) investors as the digital currency has trailed the
                                                                    global digital currency industry in an unprecedented free fall. The cryptocurrency continued on its free fall which
                                                                    began last Friday as it started Monday around a price of $3,310.21. Ether soon fell to its lowest price point of
                                                                    $2,676.41, printing a 7-day low at this point in the past 24 hours.Ethereum to USD Chart. Source: CoinMark

                                                                             ETH -7.64%
                                                                    Godfrey Benjamin-Coingape 22 hrs ago # Ethereum                                                                               # Price




                                                                    AMC CEO Casts Dogecoin To Join Star-Studded Crypto Lineup Of
                                                                    Bitcoin,has now
                                                                    Dogecoin    Ether,
                                                                                    made & way
                                                                                            More
                                                                                               onto the radar of CEO of AMC Theaters Adam Aron. The CEO has announced in
                                                                                                                                           its
                                                                    early August the entertainment giant’s plan to begin accepting crypto payments. The move to accept
                                                                    cryptocurrencies was very popular among the investor community. Seeing this as evidence that more adoption
                                                                    was coming, given that AMC is the biggest cinema chain in the United States.The question of why AMC would
                                                                    choose deflationary assets to use
                                                                             DOGE -7.02%                                                           BTC -4.68%                                                      ETH -7.64%
                                                                    Best Owie-Bitcoinist 2021-09-23 07:04 # AMC                                                                      # Dogecoin                     # Payment




                                                                    Amid Strong Comeback Altcoins Add $100 Billion in 24 Hours,
                                                                    Ethereum
                                                                    The overall crypto (ETH)     Aboveback$3100
                                                                                       space has bounced   strongly amid the global market recovery on Wednesday led by
                                                                    positive Fed commentary. It’s the altcoin space that’s leading the crypto market rally by adding $100 billion to the
                                                                    overall crypto market.The world’s second-largest cryptocurrency Ethereum (ETH) is showing healthy gains
                                                                    shooting 10% and moving past $3,100 levels. This is a strong bounceback from its crucial support levels of
                                                                    $2800.However, as p
                                                                             ETH -7.64%                                                           ADA +0.87%                                                   XRP -6.51%
                                                                    Bhushan Akolkar-Coingape 2021-09-23 04:10 # Ethereum                                                                                           # Altcoin             # Markets




                                                                    Bitcoin Price Prediction: BTC Rolls Down The Runway Ahead Of
                                                                    Takeoff
                                                                    Bitcoin         Totheir$48,000
                                                                            bulls flex       muscle with a rebound from $40,000 to $44,000.A golden cross pattern in the daily chart
                                                                    hints at the uptrend achieving more than just listing to $48,000.Bitcoin bulls fought tooth and nail to defend the
                                                                    support at $40,000 earlier this week. The largest cryptocurrency has initially corrected from highs close to $49,000
                                                                    amid instability in the global stock market.As recovery begins, investors are lining up to take positions

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  DOT -5.28%
                                                                    John Isige-Coingape 2021-09-23 01:41 # Bitcoin                                                                         # Price




                                                                    Will Fear And Greed Keep Bitcoin Buyers From The Halloween
                                                                    Effect?
                                                                    Data shows the Bitcoin fear and greed index has been pointing towards fear lately, something that might keep
                                                                    buyers from the Halloween Effect.The Bitcoin Fear And Greed Index Points At FearThe BTC fear and greed index                                                                                                                                                                                               is
                                                                    an indicator that measures the sentiment and emotions of the market based on various sources, and displays
                                                                    them on a numeric meter.The metric uses a system with 0-100 as values, where low values indicate fear in the
                                                                    market, and h
                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-22 22:33 # Halloween Effect                                                                                                       # Bitcoin               # Markets




                                                                    Just-In: Galaxy Digital and Invesco Files Joint Physical Bitcoin
                                                                    ETF Digital,
                                                                    Galaxy Proposal
                                                                                 a leading crypto asset manager along with Invesco has filed a joint physical Bitcoin ETF proposal to
                                                                    push the crypto ETF effort in the US. The move came in as a surprise given the majority of Bitcoin ETF filing over
                                                                    the past month has been for Bitcoin Strategy ETF that offers investment in BTC Futures products.Source:
                                                                    TweetAccording to the Tuesday SEC filing, the Invesco Galaxy Bitcoin ETF would offer direct exposure to Bitcoin ($

                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Prashant Jha-Coingape 2021-09-22 09:23 # Galaxy Digital                                                                                        # Bitcoin ETF                    # Invesco




                                                                    Despite Dips, Bitcoin Exchange Reserves Reach Lowest Values
                                                                    Since data
                                                                    On-chain 2018
                                                                               shows Bitcoin exchange reserves continue to decline despite the recent dips, as values reach
                                                                    lowest since 2018.Bitcoin Exchange Reserves Continue To Go DownAs pointed out by a CryptoQuant post, the BTC
                                                                    all exchanges reserve is moving down despite the recent downtrend in the price of the cryptocurrency.The Bitcoin
                                                                    all exchanges reserve is an indicator that shows the total amount of coins held on all centralized exchange wallets.
                                                                    A di
                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-22 03:47 # Exchange Reserves                                                                                                         # Bitcoin               # Price




                                                                    Diamond Hands: Remaining Bitcoin Whales Keep On Buying The
                                                                    Dipsshows that while number of Bitcoin whales going down, the remaining ones keep on accumulating more
                                                                    Data                                                                                                                            is
                                                                    during dips.The Remaining Bitcoin Whales Show Diamond Hands As They Buy More DipsAs per the latest Arcane
                                                                    Research report, BTC whales continue to accumulate despite the total number of them going down over the past
                                                                    few months.Typically, a “whale” is any Bitcoin wallet holding more than 1000 BTC (around $42.5 million at the
                                                                    current exchange r
                                                                             BTC -4.68%
                                                                    Hououin Kyouma-Bitcoinist 2021-09-22 01:05 # Bitcoin                                                                                 # Whales




                                                                    Astro Crypto: Summer Bitcoin Slump Could Bring Bountiful Fall
                                                                    Harvest
                                                                    The stars are older than of us, and older than history itself. Yet bring up astrology with the Bitcoin crowd, and
                                                                                                                                          all
                                                                    for the most part the response is skepticism or even mockery. Both the study and the cryptocurrency itself share
                                                                    several similarities, such as a mathematical foundation, cyclical behaviors, and unusual financial applications.If
                                                                    you are the type to believe, or are just curious, a notable full moon is passing, leading into the autum

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-09-21 21:33 # Astro Crypto                                                                                      # Bitcoin               # Price




                                                                    Here’s How Much Bitcoin (BTC) Can Correct In Case of Choppy
                                                                    Week       Ahead
                                                                    As the overall crypto space enters a deeper correction, nearly $250 billion have been eroded from the overall
                                                                    crypto space. Bitcoin (BTC) alone has contributed to over $90 billion in investor wealth erosion.As of press time,
                                                                    Bitcoin (BTC) is trading 7.5% down at a price of $43,841 and a market cap of $819 billion. Some analysts have been
                                                                    saying that the contagion from China Evergrande Group led to a correction in the global market following a co

                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-09-21 09:34 # Bitcoin                                                                                  # Evergrande Group




                                                                    Bitcoin Exchange Balances on the Decline, Where are the Funds
                                                                    Going
                                                                    The Bitcoin to?
                                                                                (BTC) balance on exchanges on the decline, at least, for the past few weeks, as highlighted by  is
                                                                    Glassnode’s on-chain data. There seems to be an increase in the demand for accumulated BTC on trading
                                                                    platforms, a trend that brings into question where the funds are going into.Bitcoin has seen a tumultuous 1 year,
                                                                    and the current balance on exchanges has reached a new multi-year low of 13.0% of circulating supply this week.
                                                                    This level h
                                                                             BTC -4.68%
                                                                    Godfrey Benjamin-Coingape 2021-09-21 03:05 # Bitcoin                                                                                      # Exchange                     # Price




                                                                    Bitcoin Holders Take Profits As Price Falls, Indicators Remain
                                                                    Bullish?
                                                                    Without consensus on implications, the Evergrande potential default has impacted the traditional market, and
                                                                                                                                     its
                                                                    Bitcoin. The first cryptocurrency by market cap started the week with a correction with risk to trend further
                                                                    down.At the time of writing, Bitcoin trades at $43,462 with a 9.1% and 6% loss in the daily and weekly chart,
                                                                    respectively.BTC on a downside trend in the daily chart. Source: BTCUSD TradingviewBitcoin Holds On To Critical
                                                                    Suppo
                                                                             BTC -4.68%
                                                                    Reynaldo Marquez-NewsBTC 2021-09-21 00:01 # Bitcoin                                                                                       # Markets                  # Holders




                                                                    Binance Weekly Overview (Sep 13th-19th): A Mix                                                                                                                                                                                        of    Sentiment
                                                                    The cryptocurrency industry in the past week came off with impressive price actions across the board. A mixed
                                                                    start to the week saw Bitcoin fall to a Monday intraweek low of $43,400 before making a move. Bitcoin rose by
                                                                    2.68% in the week ending 19th September. Reversing an 11.15% decline from the previous week, BTC ended the
                                                                    week at $47251.77.Ethereum was down by 2.20% in the week ending 19th September. Following a 13.87% decline
                                                                    from the previou
                                                                             GALA -13.59%                                                              CFX -11.47%                                                        CELR +4.10%
                                                                    Binance News 2021-09-20 03:54 # Binance                                                                    # Weekly Overview                                 # Cryptocurrency




                                                                    El   Salvador Buys the Bitcoin Dip Again, Here’s How Much They
                                                                    Bought
                                                                    Bitcoin price took a 5% plunge falling from a daily high of $48,234 to a daily low of $45,394 leading to hundreds                                                                                                                                                                                of
                                                                    millions in liquidation. The price decline for the top cryptocurrency came in as buying opportunity for El Salvador,
                                                                    the first country to make BTC a legal tender. President Nayib Bukele took to Twitter to announce that they have
                                                                    bought an additional 150 BTC worth $6.8 million.Source: TweetEl Salvador now holds a total of 700 BTC wh

                                                                             BTC -4.68%
                                                                    Prashant Jha-CoinGape 2021-09-20 02:44 # El Salvador                                                                                     # Bitcoin




                                                                    Futures Weekly Wrap (Sept 13th-20th): Macro Concerns Weigh
                                                                    on Cryptocurrencies
                                                                    Cryptocurrencies                    - Can
                                                                                     fell on Monday morning      BTCas concerns
                                                                                                            (UTC+8)      & ETHof a global
                                                                                                                                   HoldstockTheir
                                                                                                                                              market Ground?
                                                                                                                                                     rout weighed The                                                                                                                                                                    in.
                                                                    world’s largest cryptocurrency, Bitcoin, saw over $50 billion of its market value evaporate in a matter of minutes as
                                                                    waves of selling hit the market. Bitcoin fell from $47,000 to $45,000 in less than an hour, erasing all gains made in
                                                                    the past week. Despite the capitulation, the BTC dominance index, which measures Bitcoin’s market value rela

                                                                             BTC -4.68%                                                           ETH -7.63%                                                  AUDIO -7.84%
                                                                    Binance Futures 2021-09-20 01:27 # Bitcoin                                                                 # Ethereum                          # Binance Futures




                                                                    Skybridge Capital Applies For Cryptocurrency ETF And
                                                                    AAccumulates
                                                                      statement from Anthony$100    Million
                                                                                              Scaramucci        For theALGO
                                                                                                         has revealed             Fund
                                                                                                                         total crypto worth of an Alternative investment firm in
                                                                    Australia’s SkyBridge Capital. He stated that SkyBridge holds crypto worth $700 million presently.The alternative
                                                                    investment firm has filed for a cryptocurrency company ETF which simply means a crypto-based exchange-traded
                                                                    fund.They did this on Tuesday, aiming to increase their digital currency offerings. SkyBridge Capital also revealed it

                                                                             ALGO -3.74%                                                           BTC -4.68%                                                      ETH -7.64%
                                                                    Mike D.-NewsBTC 2021-09-19 22:15 # Elizabeth Warren                                                                                      # Skybridge Capital                             # ALGO Fund




                                                                    While Broader Crypto Market Holds Its Collective Breath,
                                                                    Whales
                                                                    Bitcoin, likewiseAre
                                                                                       other Loading
                                                                                              cryptos, have Up
                                                                                                            had a On   Bitcoin
                                                                                                                  hard seven days. So investors across the crypto have understandably
                                                                    been wary of the market and any investments at this point. This has played out in the way the digital assets have
                                                                    done in the market. Various dips have put the market into what looks like a long-suffering form. But while most
                                                                    investors hold their breaths in wait for what happens next, whales are on the move with their bitcoin investment

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-09-19 09:33 # Bitcoin                                                                           # Whales                  # Markets




                                                                    Ethereum Sees Record Daily Volume Withdrawn From
                                                                    Centralized
                                                                    Exchange supply in theExchanges
                                                                                           crypto market has been down across the board, and Ethereum has been           no exception. The
                                                                    digital asset has grown in popularity due to the rise of decentralized finance (DeFi). Due to its token being the
                                                                    primary mode of payment on the protocols and Ethereum being the largest smart contracts platform in the
                                                                    market. This has led to increased fate in the asset by investors. Many of whom see the price of ETH hitting as high
                                                                    as $10,
                                                                             ETH -7.64%
                                                                    Best Owie-NewsBTC 2021-09-18 07:35 # Ethereum                                                                                # Exchange                       # Price




                                                                    While Dogecoin Stays Down, Shiba Inu Enjoys Gains As SHIB’s
                                                                    Up 25%
                                                                    While DogecoinInremains
                                                                                       Lastdown,24 DOGE’s
                                                                                                    Hourssister coin Shiba Inu enjoys movement up as SHIB’s value increase 25%                                                                                                                                                                                               in
                                                                    the last 24 hours.Bad Week For Dogecoin, Great For Shiba InuThough Dogecoin remains the number one
                                                                    memecoin by market cap, the crypto hasn’t had a great time lately in terms of price movement.DOGE’s relative,
                                                                    the Shiba Inu, on the other hand, has had it great this week. Over the last week, SHIB’s value is up 18%, while over
                                                                    the last 24 hou
                                                                             DOGE -7.02%                                                           SHIB -4.97%                                                       BTC -4.68%
                                                                    Hououin Kyouma-Bitcoinist 2021-09-18 03:19 # Shiba Inu                                                                                         # Markets                 # Dogecoin




                                                                    Analyst Puts New Bitcoin ATH For October As Stablecoins Start
                                                                    Pumping
                                                                    Bitcoin           Into
                                                                            analyst says     BTCin October likely as on-chain data shows stablecoins may have started to pump
                                                                                         new ATH                                                                                is
                                                                    into BTC.Stablecoins Reserve Starts Moving Down, Bitcoin To Reach New ATH In October?As explained by an
                                                                    analyst on CryptoQuant, after staying at highs, the stablecoins reserve has finally started a decline. Based on this
                                                                    and a couple other indicators, the quant believes there is a high probability we will see a new Bitcoin all time high                                                                                                                                                                                           (




                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-17 23:00 # Bitcoin ATH                                                                                            # Stablecoins                        # Price




                                                                    Ethereum (ETH) Supply Dynamics Tell An Interesting Story,
                                                                    Exchange         Outflow
                                                                    On Thursday, September          Hits second-largest
                                                                                           16, the world’s New Record   cryptocurrency Ethereum (ETH) rallied the way to                                                                                                                                              all
                                                                    $3,700. Even today, ETH continues to hold $3500 levels strongly.However, the Ethereum supply dynamics at the
                                                                    exchanges tell an interesting story. As per data from IntoTheBlock, the total number of ETH leaving the exchanges
                                                                    has hit a new record high. On Thursday, nearly $1.2 billion worth of ETH has left centralized exchanges (CEX).Last
                                                                    time,
                                                                             ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-09-17 10:02 # Ethereum                                                                                           # Supply Dynamics                             # Outflow




                                                                    Bitcoin Transaction Fees Hit One-Year Lows, How Does This
                                                                    Affect      The fees
                                                                    Bitcoin transaction Price?
                                                                                           are usually an indication of how holders are moving their coins around. When the network
                                                                    gets congested due to a high number of transactions, the transaction fees go up, indicating a high volume of traffic
                                                                    on the network. Transaction traffic usually is high around bull markets when the price of the digital asset is up.
                                                                    Usually leading to a sell-off as investors try to take profits.One thing, this recent bull market has be

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-09-17 07:48 # Transaction Fees                                                                                          # Price             # Bitcoin




                                                                    As BTC Surges Past $48,000, Are Bitcoin Whales Playing Pump
                                                                    and investors
                                                                    Retail Dump?need to beware as Bitcoin’s millionaire-tier whale addresses might be playing around with them!
                                                                    As per data from Santiment, Bitcoin’s millionaire-tier whale addresses holding between 100 to 10K Bitcoin
                                                                    dumped their BTC holdings during September 6-7.As the BTC price tanked nearly 15% under $45,000 followed by
                                                                    retail profit booking, these whales purchased the BTC back again. Over the last three days, these whales have
                                                                    purchased 60K
                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-09-17 03:48 # Whales                                                                                   # Bitcoin                    # Markets




                                                                    Believe It Or Not, Bitcoin Maxis, Altcoin Season Might Not Have
                                                                    Yet Begun
                                                                    Because Bitcoin the first ever cryptocurrency, often has a cult-like following of investors who won’t touch an
                                                                                                           is                                                                                      it

                                                                    altcoin no matter the potential ROI or promise behind the technology. But the recent alt season has investors in
                                                                    profit from the bull run converting BTC into other coins in search of better performance.After such an incredible
                                                                    run by assets like Ethereum, Cardano, Solana, Dogecoin, and several others, and the fact Bitcoin is buildi

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  ADA +0.87%
                                                                    Tony Spilotro-NewsBTC 2021-09-17 01:47 # Altcoin Season                                                                                         # Bitcoin                # Markets




                                                                    Bitcoin Suffers As Mid Caps Cryptos Establish Market
                                                                    Dominance
                                                                    Bitcoin has now seen With
                                                                                         declining Wide      Margin
                                                                                                    prices following the El Salvador Bitcoin law. The flash crash that had cleared at
                                                                    least $400 billion off the crypto total market cap has left lingering effects on the price of the digital asset. The price
                                                                    had plunged from $50,000 to $42,000 in less than an hour, leading to an 18% loss in about 30 minutes. While
                                                                    bitcoin has since recovered from its lows from the crash, the asset has not been able to recover to previo

                                                                             BTC -4.68%                                                           ALGO -3.74%
                                                                    Best Owie-NewsBTC 2021-09-16 22:14 # Bitcoin                                                                           # Mid Caps Index                             # Markets




                                                                    AMC Theatres Adds Three More Crypto to the Payment List
                                                                    Along
                                                                    AMC       with
                                                                        Theatres      Bitcoin
                                                                                 ($AMC), the world’s largest cinema theatre chain that announced plans to accept Bitcoin ($BTC)                                                                                                          its
                                                                    payment for online ticket booking has extended its crypto payment list to add three more crypto payment options.
                                                                    Adam Aron, the CEO of the group took to Twitter to announce the news that the company would also accept
                                                                    Ethereum ($ETH), Litecoin ($LTC), and Bitcoin Cash ($BCH) along with Bitcoin. He said,Source: TweetAMC
                                                                    Theatres made head
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  LTC -7.52%
                                                                    Prashant Jha-Coingape 2021-09-16 09:14 # AMC                                                                           # Payment                      # Cryptocurrency




                                                                    Miami Becomes First City to Approve a Native Crypto, Here’s
                                                                    HowUS cityIt ofWould
                                                                    The                       Be Used
                                                                                    Miami has become the first city to approve a native cryptocurrency. The crypto token will be based
                                                                    on Bitcoin’s smallest unit “SAT” and would be called the Miami coin. Miami City Commission approved access to
                                                                    $4.3 million in Miami Coin. The token can be mined using Bitcoin mining apparatus and for every coin mined, the
                                                                    city mayor gets access to funds that can be utilized for improving the city.Miami Mayor Francis Suarez who is a kn

                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-09-16 03:59 # Miami                                                                           # Bitcoin                    # City Coins




                                                                    TIME’s 100 Most Influential People: Here Are Crypto Leaders
                                                                    ThatMagazine
                                                                    TIME   Madehas the    Listthe of the 100 Most Influential People of 2021 and some of the listed
                                                                                   published                                                                      list
                                                                    personalities have had a major influence on the digital currency ecosystem in the past year. The featured
                                                                    personalities include Vitalik Buterin, Ethereum’s co-founder, Elon Musk, the Chief Executive Officer of electric
                                                                    Automaker, Tesla Inc, and President Nayib Bukele of El Salvador. Each of these executives has shaped the growth
                                                                    of the digital c

                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Godfrey Benjamin-Coingape 2021-09-16 01:17 # TIME Magazine                                                                                                   # Vitalik Buterin                      # Elon Musk




                                                                    Bitcoin Golden Cross “Is Official” According To Capital Manager
                                                                    The Bitcoin golden cross, a signal that has traditionally been a bullish indicator, is now official, according to a
                                                                    capital manager.The Famous Bitcoin Golden Cross Now “Official”According to a capital manager on Twitter, the
                                                                    Bitcoin golden cross is now official. This is only the eighth time in the history of the coin that such a cross has
                                                                    occurred.The “golden cross” has been the topic of discussion all over the online crypto communities today, bu

                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-15 22:50 # Bitcoin                                                                                    # Golden Cross                             # Markets




                                                                    The People Speak: After El Salvador, How Long Until BTC Takes
                                                                    Overat Bitcoinist,
                                                                    Here     The World?we’re going to let the people speak. It’s been one week since the first country adopted bitcoin
                                                                    as legal tender and we’re already thinking about the hyperbitcoinization of the whole world. That’s enthusiasm for
                                                                    you. The fact that a sovereign country is exposed to bitcoin – the asset – in this way puts in motion several
                                                                    scenarios that all lead to a Bitcoin future. The process could take years, though. Decades.So, as our first m

                                                                             BTC -4.68%
                                                                    Eduardo Próspero-Bitcoinist 2021-09-15 09:33 # El Salvador                                                                                        # Bitcoin




                                                                    Ethereum Price Prediction: ETH Is One Crucial Bump Away
                                                                    From Exploding
                                                                    Ethereum                  To to$4,000
                                                                             rebounds from $3,000   above $3,400 but faces intense resistance between $3,500 and $3,600.The
                                                                    IOMAP model reinforces the resistance between $3,500 and $3,600 from an on-chain perspective.Ethereum has,
                                                                    in the last one week, focused on securing higher support, especially one that is strong enough to prevent losses
                                                                    from stretching below $3,000. Prior, the pioneer smart contracts cryptocurrency had made tremendous progress
                                                                    from July lows o
                                                                             ETH -7.64%
                                                                    John Isige 2021-09-15 06:19 # Ethereum                                                               # $4         # 000




                                                                    Fidelity Survey: 9 Out Of 10 Investors Find Digital Assets
                                                                    Appealing
                                                                    Fidelity Digital released a survey report recently displaying substantial growth in a number of categories
                                                                    surrounding digital assets. Across Europe and the U.S., year-over-year growth existed in almost every category,
                                                                    which includes current exposure and perception and appeal.Let’s take a deeper dive into the survey and some                                                                                                                                                                                      of
                                                                    it’s takeaways.Crypto Catalysts: Fidelity’s FindingsThe 40-slide report outlines survey insights from over 1,000
                                                                    respond
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  XRP -6.51%
                                                                    Taylor Scott-NewsBTC 2021-09-15 03:52 # Fidelity                                                                         # Digital Assets                           # Investors




                                                                    Breaking: Google Cloud Partners With Dapper Labs, Is NFT on
                                                                    the Cards?
                                                                    Google seems to be the latest mainstream tech giant to be struck by the crypto bug and NFT in particular. Google
                                                                    Cloud today announced it has joined hands with popular NFT brand Dapper Labs that is known for its NFT
                                                                    marketplace NBA Top Shot.The partnership would see Google help Dapper Labs with their Flow blockchain, where
                                                                    Google Cloud would help with the infrastructure and act as a network operator.The NFT mania has risen to new
                                                                    highs in 2021 wi
                                                                             FLOW -6.69%
                                                                    Prashant Jha-Coingape 2021-09-15 01:19 # Google Cloud                                                                                          # NFT             # Flow




                                                                    Cathie Wood Reiterates $500K Bitcoin Call, Reveals Ethereum
                                                                    Rebalancing
                                                                    Ark Invest’s chief executive officer and chief investment office Cathie Wood, backing up her bold claim that                                                                                               is
                                                                    Bitcoin will reach $500,000. In the same interview, Wood revealed her firm’s increasing confidence in Ethereum
                                                                    following the 2.0 update, along with potential plans to rebalance between the two top cryptocurrencies.Ark
                                                                    Invest’s Cathie Wood On Rebalancing Bitcoin And Ethereum PortfolioArk Invest CEO Cathie Wood is an important
                                                                    figure in t
                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Tony Spilotro-NewsBTC 2021-09-14 22:24 # Cathie Wood                                                                                       # Bitcoin                # Ethereum




                                                                    World’s Largest Accounting Firm Announces Polygon Integration
                                                                    Forworld’s
                                                                    The        Blockchain
                                                                          Its largest accounting firmProducts
                                                                                                      Ernst & Young has partnered with Ethereum Layer-2 scalability protocol
                                                                    Polygon (formerly known as Matic) to integrate the protocol into their flagship blockchain products and services.
                                                                    The firm would use the Polygon to deploy its own blockchain products on the Ethereum mainnet.The firm has
                                                                    connected Polygon protocol to the EY OpsChain and EY Blockchain Analyzer. This would allow EY clients to
                                                                    integrate Polygon
                                                                             MATIC -6.83%                                                              ETH -7.64%
                                                                    Prashant Jha-Coingape 2021-09-14 09:24 # Polygon                                                                              # Ernst & Young                            # Blockchain




                                                                    Bitcoin Crowd Sentiment Falls to Historic Low, Here’s Why It
                                                                    Bullish($BTC)forprice$BTC
                                                                    Bitcoin’s                    Price
                                                                                          rose above $45K again after a comparatively low activity-filled weekend. The price of the top
                                                                    cryptocurrency lost $50K key support during last week’s market flash crash. $BTC was looking well set to test
                                                                    $55K resistance but now is struggling to build momentum above $50K.Bitcoin broke out of 3-month long price
                                                                    slumber in August to register a new 3-month high above $50K and the rest of the crypto market showed bullish
                                                                    resurge
                                                                             BTC -4.68%                                                           SOL -6.64%                                                  LUNA +1.66%
                                                                    Prashant Jha-Coingape 2021-09-14 06:25 # Bitcoin                                                                          # Bullish                    # Markets




                                                                    Bitcoin Exchange Reserves Lowest In 3 Years, What Does It
                                                                    Mean data
                                                                    On-chain Forshows
                                                                                  TheBitcoin
                                                                                         Price?
                                                                                             exchange reserves have hit the lowest value in 3 years, here’s what might mean                                                                                                                                                it                                           for
                                                                    BTC’s price.Bitcoin Exchange Reserves Lowest In 3 Years As Negative Netflows ContinueAs pointed out by a
                                                                    CryptoQuant post, exchange reserves have been continuing their downtrend, and have now reached lows not seen
                                                                    since 3 years ago.The all exchanges reserve is an indicator that shows the total amount of Bitcoin held in wallets of
                                                                    all

                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-14 03:08 # Bitcoin                                                                                    # Exchange                      # Netflows




                                                                    Forget Walmart, Here’s The Real Reason Why Bitcoin Crashed
                                                                    Just another Monday for Bitcoin as the market rallied and immediately crashed over a fake Litecoin partnership
                                                                    with Walmart. BTC’s price turned green quickly after as it came out of a sideways weekend.At the time of writing,
                                                                    Bitcoin and other major cryptocurrencies record small losses. BTC’s price trades at $44,669 with a 2.5% and 13.4%
                                                                    loss in daily and weekly charts, respectively.loosesh minor losses after a flash crash in the daily chart. Sour

                                                                             BTC -4.68%
                                                                    Reynaldo Marquez-NewsBTC 2021-09-13 22:35 # Bitcoin                                                                                       # Price                # Markets




                                                                    BTC On-Chain Analysis: Investors Buy Dip as Supply Shock
                                                                    Intensifies
                                                                    Long-term investors are keeping their hands strong during the recent decline in the BTC price.The supply shock on
                                                                    Bitcoin is intensifying.Despite the price drop, the number of addresses with small positions in the 0.01-1 BTC
                                                                    range is growing.The positions of long-term Bitcoin investors have remained rock solid despite the sharp decline
                                                                    on 7 September. Furthermore, we continue to see a deepening supply shock as the amount of BTC on exchanges
                                                                    stead
                                                                             BTC -4.68%
                                                                    Jakub Dziadkowiec-BeInCrypto 2021-09-13 10:36 # Bitcoin                                                                                         # On-Chain                      # Address




                                                                    MicroStrategy Buys Another $242.9 Million                                                                                                                                                                  in        Bitcoin
                                                                    MicroStrategy purchased an additional 5,050 BTC for $242.0 million in cash, pushing its total Bitcoin reserve to
                                                                    114,042 BTC.This recent purchase was made at an average price of $48,099 per BTC. In total, MicroStrategy has
                                                                    purchased $3.16 billion worth of Bitcoin at an average purchase price of $27,713 per BTC. MicroStrategy is joined
                                                                    by several publically traded companies that have added Bitcoin to their balance sheet, alongside companies like
                                                                    W
                                                                             BTC -4.68%
                                                                    Binance 2021-09-13 08:30 # MicroStrategy                                                                  # Bitcoin             # Markets




                                                                    Bitcoin (BTC) Whales Adding Huge Quantity, LTH Supply At 1-
                                                                    Yearworld’sHigh
                                                                    The          largest cryptocurrency Bitcoin (BTC) has been under selling pressure recently constantly staying
                                                                    under $45,000 levels for a while now. However, this hasn’t stopped Bitcoin whales from buying in huge
                                                                    quantities.Citing data from Santiment, crypto market analyst Ali Martinez noted:Whales are buying Bitcoin.
                                                                    Addresses with 10,000 to 100,000 $BTC have purchased roughly 50,000 in the last four days. This significant
                                                                    number of tokens have be
                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-09-13 06:32 # Bitcoin                                                                                  # Whales                     # LTH




                                                                    Futures Weekly Wrap (Sept 6th-13th): Cryptocurrencies Record
                                                                    Worst Weekly
                                                                    Cryptocurrencies abruptly Close
                                                                                               ended theirSince   July streak with a significant setback on September 7th. After
                                                                                                           7-week winning
                                                                    rallying more than 77% from a local low on June 22, the Bitcoin bull run has finally unraveled as prices plummeted
                                                                    over 18% to $42,850 at one point. The world’s largest cryptocurrency saw over $150 billion of its market value
                                                                    evaporate in a matter of hours as waves of selling hit the market. On Monday morning (UTC+8), the bellwether
                                                                    cryp
                                                                             BTC -4.68%                                                           ETH -7.63%                                                  ALGO -3.74%
                                                                    Binance Futures 2021-09-13 02:38 # Bitcoin                                                                 # Markets                     # Binance Futures




                                                                    Weekly Market Overview: Here Are the Top 3 Gainers, ALGO,
                                                                    EGLD,
                                                                    Known for and      NEAR
                                                                                volatility, the digital currency ecosystem recorded the two extremes in price trend this past week.
                                                                                          its                                                                                                                                                                                                    its
                                                                    While many digital assets opened the week to a bullish trend, resulting in an All-Time High (ATH) for
                                                                    cryptocurrencies like Solana (SOL), the uptrend was not sustained as the market recorded a flash crash that
                                                                    parred off most of the gains.Atop the rise and fall recorded in the market, here is an overview of the top three
                                                                    altcoins
                                                                             ALGO -3.74%                                                           EGLD -6.67%                                                       NEAR +3.26%
                                                                    Godfrey Benjamin 2021-09-12 22:27 # Overview                                                                       # Gainers




                                                                    Bitcoin Attains its 700,000th Block: Milestones, Criticisms and
                                                                    Future
                                                                    The          Prospects
                                                                        Bitcoin Blockchain has produced 700,000th block, after more than 12 years in existence.Happy 700000th
                                                                                                                                                                         its
                                                                    block, #bitcoin!— Pieter Wuille (@pwuille) September 11, 2021According to data from Blockchain.com, the historic
                                                                    block height was recorded by an unknown miner, atop about 1,276 transactions within the block. The milestone is
                                                                    a function of the growing adoption of the digital currency which has pushed it to dominate the ecosystem it
                                                                    pioneer
                                                                             BTC -4.68%
                                                                    Godfrey Benjamin-Coingape 2021-09-12 04:11 # Bitcoin                                                                                      # Block




                                                                    Crypto Analyst Reveals End-Of-Year Predictions
                                                                    Dogecoin has suffered losses in the market with the recent crash. But its woes did not just start with the crash.
                                                                    The digital asset had grown and gotten most of its value from the hype around it. Mainly arising from shilling from
                                                                    prominent personalities like Elon Musk. This had brought investors, old and new alike, into the asset, which had
                                                                    managed to grow over 21,000% to land at an all-time high of $0.73.Following this had been numerous crashes

                                                                             DOGE -7.02%                                                           BNB -7.27%                                                       ETH -7.64%
                                                                    Best Owie-Bitcoinist 2021-09-11 22:38 # Analyst                                                                        # Dogecoin                      # Altcoin




                                                                    CEO of World’s Largest Asset Manager Says Bitcoin Would Go
                                                                    Up    Significantly
                                                                    Blackrock CEO, Rick Rieder stated in his recent interview with SquawkBox that the reason he owns Bitcoin                                                                                                                                                                             is
                                                                    because of his belief that volatile assets possess a positive convexity. Furthermore, he predicted against the
                                                                    current fall in BTC prices as a temporary short, and that he expects the prices to hike significantly in foreseeable
                                                                    future. “Part of why I own a small piece of bitcoin is I do think there are more people who are going to enter tha

                                                                             BTC -4.68%
                                                                    Palak Malhotra-Coingape 2021-09-11 05:41 # BlackRock                                                                                      # Bitcoin




                                                                    Indicators Show Bitcoin Might Be Gearing Up For One Last Push
                                                                    Up Bitcoin indicators show similarities between the post-ATH price action and current trend, implying that
                                                                    Some
                                                                    there will be one last push up before a bigger drop.Indicators Might Show Today’s Price Action Is Similar To That
                                                                    After $64.5k ATHAs explained by a CryptoQuant analyst, there seem to be many similarities between the Bitcoin
                                                                    indicators of the post all-time-high (ATH) period and that of present day.There are three main metrics of relevance
                                                                    h

                                                                             BTC -4.68%
                                                                    Hououin Kyouma 2021-09-11 01:23 # Bitcoin                                                                    # Indicators                       # Price




                                                                    Breaking: Grayscale’s Three Independent Crypto Trusts Become
                                                                    SEC     Reporting
                                                                    Grayscale,                 Companies
                                                                               the world’s largest crypto asset manager made another compliance breakthrough as three of                                                                                                                                                                            its
                                                                    independent crypto trust namely Litecoin Trust ($LTCG), Bitcoin Cash Trust ($BCHG), and Ethereum Classic Trust
                                                                    ($ETCG) became SEC reporting companies. Earlier, this year, the asset managers Digital Large Cap Fund ($GDLC)
                                                                    also became an SEC reporting company. The recent induction takes the total number of Grayscale products that
                                                                    are SEC report
                                                                             LTC -7.52%                                                          BCH -6.87%                                                   ETC -8.28%
                                                                    Prashant Jha-Coingape 2021-09-10 09:56 # Grayscale                                                                                  # SEC




                                                                    The September Curse And How It’s Preparing Bitcoin For
                                                                    Another
                                                                    Bitcoin         Rallyheavy losses along with most of the crypto market following the flash crash that happened
                                                                            has suffered                                                                                                                                                                                                                                                                                  on
                                                                    El Salvador’s “Bitcoin Day”. The digital asset has been trying to recover from this loss since it occurred two days
                                                                    ago on September 7th. Part of the cause of the crash has been attributed to a “buy the rumor, sell the news” event
                                                                    triggered by the adoption of bitcoin by El Salvador. But the charts show another factor that led to the c

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-09-10 06:27 # Bitcoin                                                                           # September




                                                                    Gold, Stocks, and Bitcoin: Weekly Overview — September                                                                                                                                                                                                                     9
                                                                    Bitcoin took a significant hit this week after sustained gains during the weeks prior.Gold was also adversely
                                                                    affected later in the week.Meanwhile, Robinhood and MicroStrategy have also had dismal weeks.This week’s price
                                                                    movements for Bitcoin (BTC), gold, and our stock picks Robinhood and MicroStrategy.BTCBitcoin’s week turned
                                                                    out rather poorly, after sustaining above the $50,000 mark, which it managed to breach on September 2. Although
                                                                    it dipped

                                                                             BTC -4.68%
                                                                    Nicholas Pongratz-BeInCrypto 2021-09-10 03:17 # Gold                                                                                     # Bitcoin                # Stocks




                                                                    How it Started Vs How it’s Going: Analyzing the Weekly
                                                                    Performance             of BTC,
                                                                    The question of the volatility          ETH,currency
                                                                                                   of the digital    andecosystem
                                                                                                                          SOL comes into the right perspective when                                                                                                                                                                       it       is
                                                                    experienced by market traders. While the losses can be grave, there are opportunities that smart traders look out
                                                                    for in this wavering price trend of top digital assets. There’s been a lot of activity in the digital currency ecosystem
                                                                    this week. These activities have sparked a trend that has caused a massive swing in both directions for s

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  SOL -6.64%
                                                                    Godfrey Benjamin-Coingape 2021-09-10 00:14 # Bitcoin                                                                                      # Ethereum                     # Solana




                                                                    Bitcoin On-Chain Data Reveals Why This Selloff Is Different
                                                                    Fromon-chain
                                                                    Bitcoin May’sdata Crash
                                                                                      shows the exchange reserve indicator looks different for the current selloff when compared
                                                                    to the May crash.Bitcoin Spot Exchange Reserve Continues To Decline Despite The Huge DipAs pointed out by                                                                                                                                                                                       a
                                                                    CryptoQuant post, the BTC reserve on spot exchanges has actually declined amidst the current price dip.The
                                                                    Bitcoin all exchanges reserve is an indicator that shows the amount of coins present in wallets of all the
                                                                    centralized spo
                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-09 22:14 # Bitcoin                                                                                    # On-Chain                      # Price




                                                                    OpenSea’s Transaction Volumes on Sharp Decline, Is NFT
                                                                    Popularity        on A Decline?
                                                                    OpenSea, the Ethereum-based largest NFT marketplace seeing a sharp decline in the daily transaction volumes                                             is
                                                                    on the platform. On Wednesday, September 8, the daily transaction volume on OpenSea was less than $100
                                                                    million for the first time since August 21.Also, comparing it to the peak of August 29, the daily transaction volumes
                                                                    have dropped by a staggering 75% in just 10 days.Courtesy: OpenSeaIs the NFT Popularity on A Decline?The last
                                                                    month of
                                                                             ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-09-09 08:16 # OpenSea                                                                                        # NFT                 # Ethereum




                                                                    Digital Scarcity: How Ethereum is Beating Bitcoin At Its Own
                                                                    Game
                                                                    Ethereum has long been put against top crypto Bitcoin for the majority of existence. The fact that the former                                                                                       its
                                                                    possesses more use cases has led a lot of investors to believe that it will be more valuable than bitcoin in the long
                                                                    run. When it comes to performance, Ethereum has actually lived up to investors’ expectations of it. Outperforming
                                                                    bitcoin year on year for the last couple of years.While performance metrics remain important, Ethereum h

                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Best Owie-Bitcoinist 2021-09-09 04:14 # Ethereum                                                                          # Bitcoin




                                                                    Ukraine Parliament Officially Legalizes Bitcoin (BTC) and Crypto
                                                                    On Wednesday, September 8, Verkhovna Rada – the parliament of Ukraine – introduced a law legalizing the use                                                                                                                                                                                           of
                                                                    Bitcoin (BTC) and other cryptocurrencies. As per the official documentation, a total of 276 Ukrainian lawmakers
                                                                    voted in favor of the bill.The use of cryptocurrencies in Ukraine has seen an uptick over the past several months.                                                                                                                                                                                         If

                                                                    the law gets signed by President Volodymyr Zelensky, it will protect digital asset owners along with crypto e

                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-09-09 01:26 # Ukraine                                                                                      # Bitcoin




                                                                    Standard Chartered Takes Bullish Stand On Ethereum, Puts
                                                                    Price Athas seen
                                                                    Ethereum     $35,000
                                                                                     some optimistic price predictions this year. While a lot of analysts have erred on the
                                                                    conservative side, others have gone the route of being overly optimistic. With some putting the price of the altcoin
                                                                    at $20,000, like in the case of Real Vision founder Raoul Pal. But none have gone as high as where the British
                                                                    banking giant puts the price of the asset.There has been widespread sentiment in the market regarding the
                                                                    potential o
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-09-08 22:26 # Ethereum                                                                                # Bitcoin




                                                                    Ethereum (ETH) Gas Fee Spikes to 4-Month High, Could NFT
                                                                    Mintingtransaction
                                                                    Ethereum   be thefee experienced
                                                                                         cause? a 4-month high today, at 7,300 gwei median gas price. Chinese Journalist,
                                                                    Colin Wu reported on Twitter that the trending NFT project, the Sevens could be the potential cause of the hike
                                                                    instead of its exceptional minting stats.In just 24 hours’ span, the trading volume of The Sevens has soared up to
                                                                    4193 ETH, along with its floor price of 1.35 ETH, at the time of reporting. According to Nansen, the median gas

                                                                             ETH -7.64%                                                           BTC -4.68%                                                  BNB -7.27%
                                                                    Palak Malhotra-Coingape 2021-09-08 10:12 # Ethereum                                                                                      # Gas              # NFT




                                                                    TA: Bitcoin Recovers Heavy Losses, Why BTC Could Resume
                                                                    Decline
                                                                    Bitcoin price declined over 15% and tested $42,000 against the US Dollar. BTC recovering, but could face                                                                                                        is                                    it

                                                                    sellers near the $48,500 and $49,000 resistance levels.Bitcoin started a major decline below the $50,000 and
                                                                    $48,500 support levels.The price is now trading well below $50,000 and the 100 hourly simple moving
                                                                    average.There was a break below a key bullish trend line with support near $52,150 on the hourly chart of the
                                                                    BTC/USD pair.The pai
                                                                             BTC -4.68%
                                                                    Aayush Jindal-NewsBTC 2021-09-08 06:53 # Bitcoin                                                                              # Price                 # Markets




                                                                    Will ETH Reach A New All-Time High?
                                                                    ETH is approaching a new all-time high price.It has created a double top pattern.ETH has potentially completed                                                                                                                                                                                         a
                                                                    bullish impulse.Ethereum (ETH) reached a high of $4,027 on Sept. 3, just below the current all-time high of
                                                                    $4,372.While it is showing signs of weakness, it is still trading above the crucial $3,350 support area.Long-term
                                                                    movementThe weekly chart shows that ETH has potentially created a double top pattern. The double top is
                                                                    considered
                                                                             ETH -7.64%
                                                                    Valdrin Tahiri-BeInCrypto 2021-09-08 02:06 # Ethereum                                                                                     # ATH




                                                                    El  Salvador President Sees Opportunity Amid Market Crash,
                                                                    Addsmarks150a historic
                                                                    Today            BTC dayUnits
                                                                                             in the digital currency world as a sovereign country, El Salvador officially launched
                                                                    Bitcoin (BTC) as its legal tender, second only to the United States Dollar. The build-up to the event had a massive
                                                                    effect on the price of Bitcoin which soared to a weekly high of $52,853.76. Amongst all things, the adoption of
                                                                    Bitcoin as a legal tender is a guarantee that as much as 6.5 million will constantly be in need of cryptocurr

                                                                             BTC -4.68%
                                                                    Godfrey Benjamin-Coingape 2021-09-07 22:37 # El Salvador                                                                                          # Bitcoin




                                                                    Bitcoin ($BTC) Price Slumps by $2,000 in an Hour, Minor
                                                                    Shakeout
                                                                    Bitcoin’s ($BTC) price Price
                                                                                       or fell        Pullback?
                                                                                               from near $53K level earlier in the morning to a daily low of $50,681, seeing a $2,000
                                                                    price slump under an hour. The top cryptocurrency managed to convert $50K key resistance in strong support over
                                                                    the past week and was looking set for $55K before the sudden price slump occurred.Source: TradingViewWhile
                                                                    the exchange balance of BTC has been on a continuous decline, miners have started to take profit as they have
                                                                    moved
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-09-07 10:03 # Bitcoin                                                                          # Price                # Markets




                                                                    Congressman Presents Crypto Law Project In Panama
                                                                    Congressman Gabriel Silva presented a Crypto Law project. Source: TweetIn it, congressman Gabriel Silva
                                                                    says:“The bill is quite simple. Firstly, it seeks to give certainty and legal security to crypto assets, such as
                                                                    cryptocurrencies, in Panama. The second thing the project seeks is to attract companies, attract investment, and
                                                                    help foster entrepreneurship in Panama that focus on the digital economy. This is positive, because it helps to
                                                                    promote
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  ADA +0.87%
                                                                    Eduardo Próspero-Bitcoinist 2021-09-07 07:41 # Panama                                                                                      # Crypto Law                        # Bitcoin




                                                                    Quant Explains Why The Bitcoin Cycle Top Isn’t In Yet
                                                                    According to a CryptoQuant analyst, the Bitcoin price top isn’t in yet if the pattern of past bull cycles holds any
                                                                    weight.Bitcoin Might Reach A New ATH In This CycleAs per a CryptoQuant post, it’s possible that Bitcoin hasn’t yet
                                                                    reached the cycle top, and that a new all time high (ATH) might be achieved soon.There are two ways to define a
                                                                    cycle. The first is to make the initial point the BTC halving. Here is a chart that shows how the price of

                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-07 03:10 # Bitcoin                                                                                    # Price                 # Cycle




                                                                    El   Salvador Buys 400 BTC, Vows To Buy More As Bitcoin
                                                                    Becomes
                                                                    Bitcoin         Lawat around $52,000 per coin, just as the country of El Salvador has made first ever
                                                                            price trading       is                                                                                                                                                                                                                   its
                                                                    purchase of BTC, according to President Nayib Bukele via Twitter.In addition, the driving force behind the top
                                                                    cryptocurrency becoming legal tender in the country for the first time is vowing to keep “buying a lot more” as the
                                                                    law deadline approaches.El Salvador Buys First 400 BTC With Plans Of Buying A Lot MoreOn September, 7 2021, El

                                                                             BTC -4.68%
                                                                    Tony Spilotro-Bitcoinist 2021-09-06 23:56 # El Salvador                                                                              # Bitcoin                    # Legal Tender




                                                                    Bitcoin Cracks $52,000, Why This Time It Could Sustain The
                                                                    Rally
                                                                    Bitcoin has broken out of range for the second time in the past month. The first cryptocurrency by market cap
                                                                                                                                            its                                                                                                                                                                                                                                is
                                                                    making its way up from its yearly low, $29,900, after a season trending to the downside.At the time of writing, BTC
                                                                    trades at $52,333 with a 1.4% and 7% profit in the daily and weekly charts, respectively. Bitcoin smashed the
                                                                    major resistance at $52,000, as news about El Salvador buying its first BTC came out of that country’s pres

                                                                             BTC -4.68%
                                                                    Reynaldo Marquez-NewsBTC 2021-09-06 22:28 # Bitcoi                                                                                    # Price                # Markets




                                                                    EXCLUSIVE: Bitcoin (BTC) Readies for Yet Another Breakout
                                                                    Attempt
                                                                    BTC approaching the $51,200 resistance area.Technical indicators are mixed.BTC has broken out from a short-
                                                                             is
                                                                    term descending resistance line.Bitcoin (BTC) resumed its ascent on Sept 3 but was rejected prior to reaching the
                                                                    $51,200 horizontal resistance area.BTC has broken out from the short-term descending resistance line and is
                                                                    making another attempt at reaching this area.BTC approaches resistanceOn Sept 2, BTC made an attempt at
                                                                    moving above t
                                                                             BTC -4.68%
                                                                    Valdrin Tahiri-BeInCrypto 2021-09-06 10:06 # Bitcoin                                                                           # Markets                         # Price




                                                                    The Bored Ape Yacht Club (BAYC) Auction Value at Sotheby’s
                                                                    Soars
                                                                    After       to $19 Million
                                                                          the CryptoPunks, the Apes causing a rage of NFT sales happening on the Ethereum-based NFT
                                                                                                                                     it’s
                                                                    marketplace OpenSea. Three days into the launch and the Bored Ape Yacht club has become one of the most
                                                                    popular NFT projects.Last week on September 2, Bored Ape Creators Yuga Labs kickstarted the auction of 101
                                                                    unique NFTs from the creators’ own collection at popular British auction house Sotheby’s.The auction bid that
                                                                    happens online has shot to a
                                                                             ETH -7.64%
                                                                    Bhushan Akolkar- Coingape 2021-09-06 04:45 # BAYC                                                                                # NFT                 # Ethereum




                                                                    Futures Weekly Wrap (Aug 30th-Sept 6th): Cryptocurrencies
                                                                    March on asrecordBitcoin
                                                                    Cryptocurrencies   new highs asCrosses
                                                                                                    the hot crypto$51,000
                                                                                                                   summer market rages on. Bitcoin has finally crossed $51,000
                                                                    after around the $50,000 region over the past week, progressing slowly and gradually in recent days. The world’s
                                                                    largest cryptocurrency by market capitalization reached $51,800 on Monday morning (UTC+8), gaining almost 6%
                                                                    on a seven-day rolling basis. At this point, it had risen more than 77% since hitting a local low on June 22.While a

                                                                             BTC -4.68%                                                           ETH -7.63%                                                  FTM -6.72%
                                                                    Binance Futures 2021-09-05 23:43 # Bitcoin                                                                 # Cryptocurrency                                 # Binance Futures




                                                                    Crypto Is Set To Dominate Australian Financial Industry In Less
                                                                    Thanexperts
                                                                    Crypto 10 Years
                                                                                have said that Australia’s finance industry set to be dominated by cryptocurrency by 2029.                                                      is
                                                                    Finder’s annual cryptocurrency report shows that crypto is set to replace the traditional finance industry in
                                                                    Australia. The Finder’s report brought to light some interesting facts about cryptocurrency adoption in the country.
                                                                    These, experts say, put it on track for widespread adoption in the country.Australians Are Turning Their Attention

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  DOGE -7.02%
                                                                    Best Owie-NewsBTC 2021-09-05 21:53 # Australia                                                                            # Cryptocurrency




                                                                    Data Shows Nearly 90% of Bitcoin Has Been Mined, Here’s How
                                                                    Long      It Will one
                                                                    Bitcoin mining    Takeof theTohotlyMine
                                                                                                        debated The
                                                                                                         is stillparts ofRest
                                                                                                                          the blockchain. Miners, no doubt make a good amount for
                                                                    blocks mined given the current price of BTC. But mining difficulty has also gone up as more BTC are mined.In its
                                                                    decade-long history, over 18.6 million of Bitcoin’s 21 million total supply has been mined. This constitutes almost
                                                                    90% of all BTC’s supply. This leaves a little over 10% of BTC left to be mined. Currently, there are about

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-09-05 06:28 # Bitcoin                                                                           # Mining                 # Halving




                                                                    Ethereum Records First Deflationary Day! Can Depleting Supply
                                                                    Push($ETH),
                                                                    Ether   $ETH       to ATH cryptocurrency managed to breach $4K resistance briefly for the first time since
                                                                                the second-largest
                                                                    posting ATH of $4,362 in May. However, it could hold onto its gains that fell right after, currently trading at $3,934.
                                                                    The altcoin started its path to recovery along with Bitcoin starting in August and gained momentum post-London
                                                                    Hardfork.Source: TradingView London Hardfork proved to be the catalyst for Ether’s price as EIP-1559 made

                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-09-04 23:35 # Ethereum                                                                                   # Deflationary                       # ETH 2.0




                                                                    Bloomberg Analyst: Bitcoin (BTC) To $100,000 Will Face Least
                                                                    Resistance
                                                                    Bitcoin (BTC) has successfully managed to break past strong barrier of $50,000. As of press time, BTC trading                                    its                                                                                                                            is
                                                                    2.45% up at $50,306 and a market cap of $945 billion. For now, it seems that Bitcoin bulls have been dominating
                                                                    the charts.Bloomberg’s senior commodity strategist Mike McGlone believes that Bitcoin will continue to surge
                                                                    further and its road to $100,000 has the least resistance. This prediction comes amid the revived bull market si

                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Bhushan Akolkar-v 2021-09-04 06:58 # Bitcoin                                                                     # Ethereum




                                                                    Ethereum “Accumulation” Nears Liftoff Phase: What This Could
                                                                    Mean
                                                                    The       For Bitcoin
                                                                        conversation across crypto no longer only about Bitcoin. Ethereum the most important cryptocurrency to
                                                                                                                                                         is                                                                                                             is
                                                                    the ecosystem since the former’s creation, and has recently stolen the show.On the ETH versus BTC trading pair,
                                                                    the recent market structure resembles an accumulation pattern moments before the liftoff phase. If the pattern is
                                                                    accurate, a market cap “flippening” could soon become a narrative that rivals the story of digital gold itself.

                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-09-04 03:24 # Ethereum                                                                                   # Bitcoin                    # ETHBTC




                                                                    Is  the Crypto Bull Run Eternal? Key Pointers Why Now Is Not
                                                                    thecrypto
                                                                    The   Right
                                                                              marketTime            Profit
                                                                                     has madefora solid rally overBooking!
                                                                                                                   the last few weeks now moving past $2.23 trillion. Altcoins have
                                                                    delivered equal contribution along with Bitcoin in this recent bull run.Just as the cryptocurrency market trades at
                                                                    its all-time high investors are confused as to whether or not they can make fresh entries at the current stage. It’s
                                                                    obvious to become a bit skeptical at the current levels.No one knows for certain as to where the market is

                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-09-03 08:34 # Bitcoin                                                                                  # Bull             # Markets




                                                                    EXCLUSIVE: Top-10 Aspiring Altcoins                                                                                                                                                  to       Watch                        in         September
                                                                    ADA will undergo a hard fork on Sept 12.KAVASwap will launch on Sept 1COTI Network will offer smart contracts
                                                                    on Sept 9.This article will take a look at ten cryptocurrencies that have interesting developments lined up for the
                                                                    month of September, which could also have a positive effect on their price.Cardano (ADA)Current Price:
                                                                    $3.03Market Cap: $91 BillionMarket Cap Rank: #3Cardano was founded in 2017 by Charles Hoskinson, who is also
                                                                    a co-founder

                                                                             ADA +0.87%                                                           KAVA +4.75%                                                       ZIL -7.73%
                                                                    Valdrin Tahiri-BeInCrypto 2021-09-03 04:19 # Altcoins                                                                               # Price             # Analysis




                                                                    Bitcoin Retests $50K Resistance, But Can The Bulls Hold                                                                                                                                                                                                              It?
                                                                    Bitcoin has again climbed to retest $50,000. This comes after a previous unsuccessful attempt by BTC to settle
                                                                    above this price. The recent market run-up has now seen the asset trying to again test this point. As of the time of
                                                                    this writing, the price of bitcoin still sits above $50,000. A near $50,400 peak was seen with this recent rally at the
                                                                    early hours of the morning. But correcting downwards as the market rouses for another trading day.Hold

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-09-03 01:26 # Bitcoin                                                                           # Price             # Markets




                                                                    Why Bitcoin And Ethereum Could Be In Trouble As Derivatives
                                                                    Pressure
                                                                    Bitcoin         Mounts
                                                                            and Ethereum are in the green on high timeframes. The first and second cryptocurrencies by market cap
                                                                    seemed to be recovering well, after months of sustained selling pressure.At the time of writing, BTC trades at
                                                                    $49,319 with a 1.4% profit in the daily chart. Earlier, Bitcoin was rejected as it made its way back north of
                                                                    $50,000.BTC’s price lost its first level of support at $49,800 and now sits at risk of returning to the mid-range of                                                                                                                                                                             it



                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Reynaldo Marquez-NewsBTC 2021-09-02 22:12 # Bitcoin                                                                                       # Ethereum                       # Markets




                                                                    We’re Right On Track For Bitcoin At $250,000, Billionaire Tim
                                                                    Draper
                                                                    Bitcoin has been a part of billionaire Tim Draper’s investment portfolio for a while now. Draper had first gotten into
                                                                    bitcoin in 2011 when Peter Vincennes had convinced him to buy the digital asset. Draper had bought $250,000
                                                                    worth of BTC, which he subsequently lost after the now-defunct Mt. Gox exchange crashed, where Draper had
                                                                    kept his coins.Despite this, the billionaire was not deterred. So when another opportunity presented itself in the                                                                                                                                                                                    fo


                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-09-02 10:07 # Bitcoin                                                                           # Price             # Tim Draper




                                                                    EXCLUSIVE: Bitcoin (BTC) Breaks Out Towards $51,200
                                                                    Resistance
                                                                    Bitcoin has broken out from a descending parallel channel.It facing resistance at $51,200.BTC       likely in wave                                                  is                                                                                 is
                                                                    four of a bullish impulse.Bitcoin (BTC) broke out from a descending parallel channel on Sept 1 and is attempting to
                                                                    move above the $51,200 horizontal resistance area.Due to mixed readings from technical indicators, we cannot
                                                                    accurately determine if BTC will be successful in breaking out the first time. However, an eventual breakout                                                                                                                                                                           i




                                                                             BTC -4.68%
                                                                    Valdrin Tahiri-BeInCrypto 2021-09-02 07:07 # Bitcoin                                                                           # Markets                         # Price




                                                                    Vitalik Buterin Suggests Dogecoin (DOGE) to Move to Proof-of-
                                                                    Stake
                                                                    The world’s(PoS)     Usingcryptocurrency
                                                                                second-largest    Ethereum         Code
                                                                                                             Ethereum (ETH) has entered a major rally leading the bull run in the
                                                                    altcoin space. Just at this time, Ethereum co-founder Vitalik Buterin triggered a discussion on Twitter replying to
                                                                    questions from the 268 people whom he follows.In one of the responses to a possible Ethereum/Dogecoin
                                                                    cooperation, Buterin said that the meme cryptocurrency blockchain should shift to the Proof-of-Stake (PoS)
                                                                    consensus mod
                                                                             DOGE -7.02%                                                           ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-09-02 03:44 # Vitalik Buterin                                                                                            # Dogecoin                     # Ethereum




                                                                    How Bitcoin Bulls Can Make September A Month To Remember
                                                                    Bitcoin price is trading at around $48,500 after last night’s August monthly candle close at around $47,150. Each
                                                                    monthly close is especially memorable, but bulls have a chance to make this September a month to
                                                                    remember.Past data from the month’s price action says that September has been historically bad for bulls, and                                                                                                                                                                                         in
                                                                    favor of bears. So which direction will it be next – up or down?Bears Own The Month Of September Since The
                                                                    Inception Of Bitcoi
                                                                             BTC -4.68%
                                                                    Tony Spilotro-Bitcoinist 2021-09-02 01:09 # Bitcoin                                                                       # Bulls                # Price




                                                                    Mid-Cap Altcoins Crushed Bitcoin And Ethereum In August
                                                                    Data shows mid-cap altcoins have crushed Bitcoin and Ethereum in the month of August as their returns reach
                                                                    almost 60%.Mid-Cap Altcoin Index Ahead of Bitcoin And EthereumAs per the latest report from Arcane Research,
                                                                    the cryptocurrency market has seen a great month overall as indexes retain most of their gains till the monthly
                                                                    close.The great month is despite the boring last week where many coins have produced flat numbers. Bitcoin,
                                                                    however, has
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-01 22:25 # Altcoins                                                                                        # Ethereum                      # Bitcoin




                                                                    Twitter May Soon Integrate Bitcoin (BTC) Payments
                                                                    Reportedly, Twitter is planning on the ultimate crypto integration to facilitate bitcoin payments. As reported by
                                                                    TheBlock, Twitter appears to be testing out the inclusion of Bitcoin on the Lightning Network for its tipping feature,
                                                                    according to an accumulation of reports.Mobile developer, Alessandro Paluzzi’s recently leaked image of the
                                                                    current Twitter beta has reinstated the incorporation of Bitcoin in Twitter’s tipping service. It reveals tha

                                                                             BTC -4.68%
                                                                    Palak Malhotra-Coingape 2021-09-01 10:07 # Twitter                                                                             # Bitcoin Payments                                   # Jack Dorsey




                                                                    Quant Explains Why Bitcoin Bull Cycle                                                                                                                                                    Is         Only In Phase                                             1
                                                                    Top Quant uses the puell multiple to point out a pattern that explains why the current Bitcoin bull cycle is only in
                                                                    the first phase.The Bull Market Is Not Over, Phase 1 Has Just BegunAccording to a CryptoQuant analyst, past
                                                                    cycles show that the current Bitcoin bull market isn’t over yet. The puell multiple seems to reveal where the price
                                                                    might head next.The puell multiple is a BTC indicator used to tell how healthy miners’ revenue is. It’s calcu

                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-09-01 07:12 # Bitcoin                                                                                    # Bull Cycle                    # Price




                                                                    Ethereum Price Prediction: ETH Teases Launch To $4,000 As
                                                                    Discussions
                                                                    Ethereum        Balloon
                                                                             above stubborn resistance at $3,400, opening a path to $4,000.Social media mentions surrounding
                                                                                         lifts
                                                                    ETH spike to levels seen in early August.Ethereum jumped to a 14-week high of $3,484 on Tuesday following a
                                                                    confirmed break above $3,200 on Monday. The gigantic smart contract token swung above the prevalent
                                                                    resistance provided by the 61.8% Fibonacci resistance level, paving the way to a new August high.Ether is trading
                                                                    at $3.415 followi
                                                                             ETH -7.64%
                                                                    John Isige-Coingape 2021-09-01 03:52 # Ethereum                                                                              # Price              # Markets




                                                                    Ex-Goldman Exec And Real Vision Founder Puts Ethereum Value
                                                                    At $20,000
                                                                    Ethereum has been By
                                                                                      on anMarch
                                                                                            impressive 2022
                                                                                                       growth path recently. The digital asset recently broke a three-month high
                                                                    after it broke through $3,400 in the early hours of Tuesday. Usage on the Ethereum network has increased
                                                                    drastically in the recent weeks, causing fee rates to surge 200% in the space of a week. As more users adopt the
                                                                    leading smart contracts platform, predictions for the asset’s value have risen accordingly.Raoul Pal is an ex-
                                                                    Goldman hedge
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-09-01 01:30 # Raoul Pal                                                                            # Real Vision                          # Ethereum




                                                                    El   Salvador Set For Bitcoin Rollout With 200 ATM Installations
                                                                    Across
                                                                    El Salvador hasThe    Country
                                                                                     started mounting Bitcoin ATMs that will enable residents to convert cryptocurrencies to U.S.                                                             its
                                                                    dollars. The ATMs will also allow for crypto withdrawal in cash, as the government intends to make crypto a legal
                                                                    tender.El Salvador, known officially as the Republic of El Salvador, is a country in Central America. It’s bordered on
                                                                    the northwest by Guatemala, on the northeast by Honduras, and on the south by the Pacific Ocean. El Salv

                                                                             BTC -4.68%
                                                                    Asad Gilani-Bitcoinist 2021-08-31 22:10 # El Salvador                                                                           # Bitcoin                    # ATM




                                                                    Ethereum (ETH) Trading Strong Above $3200 Level With Miner
                                                                    Balances         At 3-Year
                                                                    The world’s second-largest       High Ethereum (ETH) continues to trade strong above $3200 levels. Despite
                                                                                               cryptocurrency
                                                                    the broader market under pressure at press time, Ethereum (ETH) is up 2.6%.Ethereum (ETH) manages to hold up
                                                                    its levels with some positive on-chain activity. On-chain data provider Santiment reports that the Ethereum (ETH)
                                                                    miner balances have literally tripled over the last month. The data provider notes:Ethereum miner balances have
                                                                    abs
                                                                             ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-08-31 06:19 # Ethereum                                                                                           # On-chain                  # Price




                                                                    PlanB: S2F Model Predicts Bitcoin To Break $100k By Christmas
                                                                    PlanB, the popularizer behind the Bitcoin S2F method, says the model predicts BTC will break $100k by this
                                                                    Christmas.The Bitcoin Stock-To-Flow ModelAccording to PlanB on Twitter, the BTC stock-to-flow (or S2F in short)
                                                                    model predicts that the cryptocurrency is on its way to break $100k by Christmas.The S2F model is a method to
                                                                    predict the price of an asset based on the ratio of the stock (supply) to the flow (annual production).5 BTC + 300
                                                                    Free S
                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-08-31 01:09 # PlanB                                                                                     # S2F              # Bitcoin




                                                                    1.65 Million Bitcoin (BTC) Accumulated in this Strong On-Chain
                                                                    Support
                                                                    Bitcoin’s       Zonehas moved sideways after facing rejection at the $50K level last week. The top cryptocurrency
                                                                              (BTC) price
                                                                    has been moving in the $45K-$50K over the past week which has also become a key on-chain support zone. The
                                                                    top cryptocurrency is moving in a tight range with no significant price change but looks to test $50K again.Source:
                                                                    TradingViewGlassnode’s UTXO Realized Price Distribution for Bitcoin showed nearly 1.65 million BTC has an on-ch

                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-08-30 22:08 # Bitcoin                                                                          # On-Chain                         # Price




                                                                    Grayscale Bitcoin Trust Unlock Shows Investor Confidence, Only
                                                                    58 BTCBitcoin
                                                                    Grayscale Released
                                                                                  Trust unlock only saw 58 BTC of shares released.Data on Grayscale’s several cryptocurrency
                                                                    funds show that institutional investors are clamoring for shares.The GBTC fund has a total holding of
                                                                    approximately 649 BTC, which amounts to just over $30.5 billion.Data from Bybt shows that the Grayscale Bitcoin
                                                                    Trust is doing well with its investors, with the last unlock of the year only amounting to 58 BTC.The Grayscale
                                                                    Bitcoin Trust c
                                                                             BTC -4.68%                                                           XLM -5.73%
                                                                    Rahul Nambiampurath-BeInCrypto                                                       2021-08-30 08:28 # Grayscale                                                # GBTC               # Investor




                                                                    Bitcoin’s (BTC) Massive Ascending Channel Signals A Break to
                                                                    the theUpside
                                                                    Over    last week, the world’s largest cryptocurrency has been consolidating under $50,000 levels. On a weekly
                                                                    chart, BTC has lost 4.67%. As per data on CoinMarketCap, BTC is currently trading 0.5% down at $48,003 and a
                                                                    market cap of $901 billion.However, if we look at the one-decade long-term chart of Bitcoin, the world’s largest
                                                                    cryptocurrency has formed an ascending channel and is poised to give a break to the upside, notes popular crypto
                                                                    ana
                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-08-30 04:25 # Bitcoin                                                                                  # Markets                     # Price




                                                                    Futures Weekly Wrap (August 23rd-30th): Pullback Looms as
                                                                    Bitcoin      Stalls
                                                                    Last week, Bitcoin made Under     $50,000
                                                                                            a new 3-month high of $50,500, surpassing a key resistance at $50,000. However, the
                                                                    breakout was short-lived as bitcoin bulls appear to have lost their momentum in recent days. Bitcoin consolidated
                                                                    under the $50,000 mark over the past trading week, holding its market capitalization just above $900
                                                                    billion. Despite the slowdown, long-term investors continue to accumulate more Bitcoin. In a recent
                                                                    announcement, MicroStrategy
                                                                             BTC -4.68%                                                           ETH -7.63%                                                  SOL -6.63%
                                                                    Binance Futures 2021-08-30 01:12 # Bitcoin                                                                 # Markets                     # Binance Futures




                                                                    Top            3     Coins                               to             Watch this Week: SOL, LUNA, ADA
                                                                     The resurgence in the global digital currency market has stirred a number of remarkable jumps in the prices                                                                                                                                                                               of
                                                                    various altcoins, most of whom decouple from Bitcoin (BTC) to chart their own course. The push of the global
                                                                    market cap above the $2 trillion benchmark has seen unprecedented contributions from altcoins other than
                                                                    Ethereum (ETH).Seeing the current blockchain upgrade and ecosystem activity, here are the top three digital
                                                                    currency picks w
                                                                             SOL -6.64%                                                           LUNA +1.66%                                                      ADA +0.87%
                                                                    Godfrey Benjamin-Coingape 2021-08-29 22:26 # Altcoin                                                                                      # SOL             # LUNA




                                                                    Bitcoin ($BTC) Reclaims $49K, Here’s What it Needs to do to
                                                                    Conquer
                                                                    Bitcoin’s ($BTC) $50K
                                                                                     price reclaimed $49K earlier today after falling to a new weekly low of $46,394. The top
                                                                    cryptocurrency managed to overcome the volatility caused by the largest exchange inflows in two years recording
                                                                    1.68 million $BTC flowing to exchanges.Source: TradingViewBitcoin needs to close above $49,000 to mark a
                                                                    phenomenal weekly close. Analyst Rekt Capital noted that the top cryptocurrency needs to close above the
                                                                    resistance of $49,300
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-08-28 08:40 # Bitcoin                                                                          # $50K




                                                                    60k ETH Exit Exchanges, Here’s Why                                                                                                                                              It’s           Bullish For Ethereum
                                                                    On-chain data shows massive Ethereum outflows of 60k ETH on spot exchanges. Such deeply negative netflows
                                                                    could be a bullish signal for the coin.Ethereum All Exchanges Netflow Shows Huge Negative SpikeAs pointed out
                                                                    by a CryptoQuant post, the Ethereum all exchanges netflow showed a negative spike yesterday as 60k ETH exited
                                                                    exchanges.The all exchanges netflow is an indicator that’s defined as the difference between the exchange inflows
                                                                    and the ou
                                                                             ETH -7.64%
                                                                    Hououin Kyouma-NewsBTC 2021-08-28 01:23 # ETH                                                                                  # Ethereum Bullish                                   # ethusd




                                                                    Cardano: Alonzo Enters Final Stage, Smart Contracts On The
                                                                    Horizon
                                                                    Cardano moves at full speed towards final hard fork combinator (HFC) event Alonzo to implement full smart
                                                                                                                                                                         its
                                                                    contract capabilities. The community has been keeping a close eye on the latest developments, as AlonzoPurple
                                                                    enters its final test stage.Input-Output Global, the company behind this blockchain and its development, recently
                                                                    disclosed that they submitted an upgrade proposal. This will allow the Cardano testnet to hard fork “into the
                                                                    Alonzo
                                                                             ADA +0.87%
                                                                    Reynaldo Marquez-NewsBTC 2021-08-27 21:00 # Cardano                                                                                            # Smart Contracts                            # Alonzo




                                                                    Crypto Exchanges See $1.7 Billion in Stablecoin Inflow, Here’s
                                                                    How      It Can registered
                                                                    Crypto exchanges   Help a Bitcoin      (BTC)
                                                                                               massive inflow          Crossover $50K
                                                                                                              of stablecoins     the past couple of days amounting to $1.7
                                                                    billion. Such a large inflow of stablecoins is often considered bullish given the general perception that people send
                                                                    stablecoins onto exchanges to invest more in cryptocurrency. The massive inflow of stablecoins has also pushed
                                                                    the stablecoin reserves on centralized exchanges to an ATH of $19.22 billion.Source: CryptoQuant Ki-Young Ju, the

                                                                             BTC -4.68%                                                           BNB -7.27%
                                                                    Prashant Jha-Coingape 2021-08-27 09:12 # Stablecoin                                                                                 # Exchanges                          # Bitcoin




                                                                    Why Breaking $49K Is Important For Bitcoin To See Another All-
                                                                    Time hasHigh
                                                                    Bitcoin  once again dipped back down below $47K resistance point. This time, the price of the digital asset                     its
                                                                    looks to have turned its attention downwards. While this downward correction continues, it is important to know
                                                                    where this correction might lead. Price dips are not a novel concept in bull markets. In fact, price dips are often
                                                                    expected following a rally in the price of any digital asset.This drop in price is usually the market takin

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-27 04:09 # Bitcoin                                                                           # All-Time High




                                                                    Bitcoin Price Prediction: BTC Expects Volatility After Largest
                                                                    Exchange
                                                                    Bitcoin           Inflow
                                                                            price managed         Since$46,000,
                                                                                          to hold above     Junesupported
                                                                                                                     2019by the 200-day SMA.The bellwether cryptocurrency                                                                                                                                                                                      is
                                                                    headed for high volatility following 1.68 million BTC exchange inflow, the largest since June 19, 2019.Bitcoin is
                                                                    about to step above $47,000 after the declines that dominated this week’s trading embraced crucial support. The
                                                                    flagship cryptocurrency had pulled the entire market down with it due to the rejection suffered above
                                                                    $50,000.Althoug
                                                                             BTC -4.68%
                                                                    John Isige-Coingape 2021-08-27 01:23 # Bitcoin                                                                         # Exchange                      # Inflow




                                                                    ETH 2.0 and EIP-1559 Hasten Vanishing Available Ethereum
                                                                    Supplyof possible tapering by the U.S. Federal Reserve slowed down Ethereum and quick move into previous
                                                                    Rumors                                                                                                                                                                                                                          its
                                                                    highs. The second cryptocurrency by market cap trades at $3,113 with a 3.7% loss in the daily chart.The crypto
                                                                    market seems equally uncertain on its course for the short term, like Bitcoin and most cryptocurrencies in the top
                                                                    10 trend to the downside.A report by CryptoQuant claims that Ethereum and its fundamentals hint at more
                                                                    appreciati
                                                                             ETH -7.64%
                                                                    Reynaldo Marquez-Bitcoinist 2021-08-26 23:34 # EIP-1559                                                                                        # Ethereum                      # ETH2.0




                                                                    Puell Multiple: The Bitcoin Metric That Says BTC Miners Aren’t
                                                                    Readydetermine
                                                                    Miners   To Sell
                                                                                   more of bitcoin price than most investors understand. The price at which miners are willing to
                                                                    sell usually correlates with how much profit that they can make from selling the coins that they have mined.
                                                                    Depending on the price of the asset, miners usually choose to sell or hold it. This could influence the market price
                                                                    of bitcoin.Profitability is the major reason for mining. But when profitability goes down, miners either sell an


                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-26 10:01 # Miner                                                                        # Bitcoin                    # Price




                                                                    Bitcoin “Millionaire Tier” Addresses Add 20K BTC in 24 Hours,
                                                                    Why price
                                                                    Bitcoin       Key toto move
                                                                            it’scontinued   Future
                                                                                                sidewaysTrends
                                                                                                         after facing rejection at the $50K level but maintained the key support of
                                                                    $47,000 at the time of writing. The top cryptocurrency slid below $47K momentarily but jumped back above it soon
                                                                    after. BTC is currently trading at $47,136 with a 2.5% decline over the past 24-hours.Source: TradingViewAfter
                                                                    seeing an uptrend for nearly three weeks, the sideways price momentum hasn’t deterred long-time Bitcoin holder

                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-08-26 07:13 # Bitcoin                                                                          # Millionaire Tier                             # Address




                                                                    Bitcoin Mid-Cycle Pullback Resembles 1970s Gold Bullion Rull
                                                                    Run price back near $50,000 after a massive shakeout following new all-time highs set this past April. While
                                                                    Bitcoin                     is
                                                                    the market continues to debate whether or not a top is in, the top cryptocurrency by market cap has begun to
                                                                    resemble the price pattern of the 1970s gold bull run.Interestingly, both assets topped out at around $1.2 trillion                                                                                                                                                                                        in
                                                                    market cap, only to pull back, recover, and rise to a total of $5 trillion before the next bear market – a

                                                                             BTC -4.68%
                                                                    Tony Spilotro-Bitcoinist 2021-08-26 03:23 # Bitcoin                                                                       # Gold




                                                                    SEC Filing Shows Morgan Stanley Holds ~1 Million Shares of
                                                                    Grayscale
                                                                    The                Bitcoin
                                                                        recent disclosure of an SEC Trust       (GBTC)
                                                                                                    filing reveals that Wall Street giant Morgan Stanley has been heavily invested in
                                                                    Bitcoin. Reportedly, instead of direct investment, the company has opted for Bitcoin exposure through a regulated
                                                                    investment vehicle – Grayscale Bitcoin Trust (GBTC).Popular market analyst MacroScope has been the first to
                                                                    report the news. Citing the SEC filing, the analyst reports that Morgan Stanley holds the Grayscale Bitcoin across

                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-08-26 01:26 # Morgan Stanle                                                                                              # Bitcoin                # GBTC




                                                                    Total Crypto Market Cap Reenters Monthly RSI Bull Zone
                                                                    Bitcoin and its altcoin brethren are back bullish, both on individual price charts but also when looking at the total
                                                                    crypto market cap at large.The aggregate of all major and minor cryptocurrencies has fully reentered the bull zone
                                                                    on the monthly RSI, which could indicate that the bull market will blast back off any day now.Total Crypto Market
                                                                    RSI Returns To Bull ZoneThe study of technical analysis is subjective. The practice has nearly as many

                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Tony Spilotro-NewsBTC 2021-08-25 22:18 # Bitcoin                                                                             # RSI              # Markets




                                                                    Bitcoin Futures ETF by October? Analyst Predicts Why Ether ETF
                                                                    Withdrawal
                                                                    VanEck                   Goodfiled News
                                                                           and ProSharesisrecently     with the SEC to withdraw their Ethereum ETF applications just weeks after
                                                                    filing for their Bitcoin Futures ETF. Over the past couple of weeks, nearly half a dozen firms have filed for a Bitcoin
                                                                    Strategy ETF that offers investment in BTC futures products. The sudden rise in filing comes on the heels of SEC
                                                                    chief Gary Gensler indicating that a Futures ETF has higher chances of getting the commission’s approval th

                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-08-25 10:05 # Bitcoin                                                                          # Futures                     # ETF




                                                                    EXCLUSIVE Bitcoin (BTC) Regains Footing After Rejection From
                                                                    $50,000facing resistance at $51,200.It has created an evening star pattern.BTC increasing alongside an
                                                                    Bitcoin        is                                                                                                                                                                                                    is
                                                                    ascending support line.Bitcoin (BTC) climbed to a high of $50,500 on Aug 23 but was rejected prior to reaching the
                                                                    $51,200 resistance area.While BTC is still following an ascending support line, it’s possible that it has reached a
                                                                    local top.Evening star close to resistanceBTC has been moving upwards since July 20, and on Aug 23, it reache

                                                                             BTC -4.68%
                                                                    Valdrin Tahiri-BeInCrypto 2021-08-25 07:22 # Bitcoin                                                                           # Price                 # Markets




                                                                    Bitcoin Price Analysis: BTC Bulls Put Up A Ferociously Fight,
                                                                    Avoiding
                                                                    Bitcoin           Further
                                                                            briefly slipped         Losses
                                                                                            under $48,000, but bulls reacted immediately, pulling the price higher.The transaction
                                                                    history model reveals that BTC sits on robust support areas, crediting the recovery.The MACD has a minor bearish
                                                                    impulse that may keep bulls from accomplishing their goals above $50,000 in the near term.Bitcoin price
                                                                    eventually slipped under $50,000 following the liftoff to $50,647 on Monday. The flagship cryptocurrency lost
                                                                    steam despit
                                                                             BTC -4.68%
                                                                    John Isige-Coingape 2021-08-25 03:25 # Bitcoin                                                                         # Analysis                 # Price




                                                                    Grayscale Tops Up Ethereum Investment To $10 Billion
                                                                    Ethereum makes up a large part of crypto-asset manager Grayscale’s portfolio. In a recent report, it shows that
                                                                    Grayscale now has over 3 million ETH in its asset under management (AUM), amounting to more than $10 billion.
                                                                    This makes the asset manager one of the largest holders of Ethereum in the space.The asset manager had
                                                                    gradually increased its ETH holdings over time, adding almost 20,000 ETH to its portfolio back in February. The
                                                                    recent filing
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-25 00:35 # Ethereum                                                                                # Grayscale                         # Investment




                                                                    Banking Giant Citigroup Prepares To Trade Bitcoin Futures
                                                                    American banking giant Citigroup is all set to expand its cryptocurrency services. Earlier today, sources disclosed
                                                                    that the firm will now offer ‘Bitcoin Futures trading’ to some of its biggest clients after receiving regulatory
                                                                    approval from the Chicago Mercantile Exchange (CME).Citigroup is the latest of the large investment banks to
                                                                    make a dive into the crypto ecosystem through its potential Bitcoin futures product. Previously, Bank of America

                                                                             BTC -4.68%
                                                                    Mansi Singh-Coingape 2021-08-24 21:46 # Citi # Bitcoin Futures                                                                                                   # CME




                                                                    BREAKING: MicroStrategy Buys Another $177 Million                                                                                                                                                                                                 in            Bitcoin
                                                                    MicroStrategy purchased an additional 3,907 BTC for $177 million in cash, pushing its total Bitcoin reserve to
                                                                    108,922 BTC.This recent purchase was made at an average price of $45,294 per BTC. In total, MicroStrategy has
                                                                    purchased $2.918 billion worth of Bitcoin at an average purchase price of $26,769 per BTC. MicroStrategy is one                                                                                                                                                                                       of
                                                                    the biggest publicly listed companies with Bitcoin investments, alongside companies like WeWork, Square that
                                                                    have
                                                                             BTC -4.68%
                                                                    Binance 2021-08-24 08:58 # MicroStrategy                                                                  # Bitcoin




                                                                    Ethereum (ETH) Post new 3-month High, Here’s Why It Will
                                                                    Explode(ETH),Tothe ATH
                                                                    Ethereum                   From cryptocurrency
                                                                                       second-largest Here by market cap followed Bitcoin’s (BTC) lead to post a new 3-
                                                                    month high of $3,354. The altcoin surged by 5% over the past 24-hour to record the new high and currently trading
                                                                    at $3,329.Source: TradingViewThe altcoin has managed to recover from its May-June crash quite rapidly which has
                                                                    been aided by the recently concluded London Hardfork. The hard fork integrated EIP-1559 on the Ethereum
                                                                    mainnet st
                                                                             ETH -7.64%                                                           BTC -4.68%                                                  ADA +0.87%
                                                                    Prashant Jha-Coingape 2021-08-24 04:14 # Ethereum                                                                                   # ATH              # Price




                                                                    Visa Issues NFT Report After Buying CryptoPunk, Cites
                                                                    Ethereum       & Flow
                                                                    Visa showing some
                                                                              is                Blockchains
                                                                                      bullish behavior around NFTs. As reported on at our sister network Bitcoinist today, Visa
                                                                    made a splash by purchasing a CryptoPunk to kick off the week. The purchase was made late last week for around
                                                                    49.50 ETH – approximately $150,000.The company is showing clear optimism on the future of the NFT market. If
                                                                    that purchase wasn’t enough to convince you, the firm also released a new NFT report.“Crypto And
                                                                    Commerce”The brief re
                                                                             ETH -7.64%                                                           FLOW -6.69%
                                                                    Taylor Scott-NewsBTC 2021-08-24 02:47 # Visa                                                                      # NFT              # Blockchains




                                                                    Crypto Market Goes Into “Extreme Greed,” What This Means For
                                                                    Bitcoin headed for the moon even as the weekend goes on. The price of the asset has not seen much in the
                                                                    Bitcoin        is still
                                                                    way of a downturn following its massive price increase from last month. Overall sentiments in the crypto market
                                                                    are still very positive, as evidenced in the Fear & Greed Index. The index which had spent the better part of the
                                                                    last two months following the market all-time high has now turned into the most coveted territory.The crypto F

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-23 08:57 # Bitcoin                                                                           # Markets                  # Extreme Greed




                                                                    Visa Joins NFT League With CryptoPunk Purchase
                                                                    Visa, the payment processing giant has finally joined the highly popular NFT mania with its first-ever purchase.
                                                                    Visa has reportedly bought one of the popular CryptoPunk NFTs, many of which have fetched over a million dollars
                                                                    in the auction. The payment processing giant has spent $150,000 for the digital CryptoPunk 7610. Visa didn’t
                                                                    directly pay for the avatar and did so in partnership with Anchorage. During the process, Anchorage also became
                                                                    the
                                                                             ETH -7.64%                                                           ETH -7.64%
                                                                    Prashant Jha-CoinGape 2021-08-23 07:18 # Visa                                                                          # CryptoPunk                          # NFT




                                                                    Futures Weekly Wrap (Aug 16th-23rd): Bitcoin Strikes $50,000                                                                                                                                                                                                                                     -
                                                                    Bitcoin made Next?
                                                                    What's       significant progress in the past week following a breakout above the $48,000 supply zone. The
                                                                    bellwether cryptocurrency had earlier stalled at the $48,000 key resistance and subsequently fell to $43,900 by
                                                                    Thursday. Since then, Bitcoin bulls had regained control, driving the cryptocurrency to hit a new three-month high
                                                                    of $50,280. This rally is Bitcoin’s best run since February, registering its 5th consecutive week of gains.Despite t


                                                                             BTC -4.68%                                                           ADA +0.87%                                                   ETH -7.64%
                                                                    Binance Futures 2021-08-23 00:27 # Bitcoin                                                                 # Cardano                      # Ethereum




                                                                    Weekend Roundup: Core DeFi Metrics August 22nd
                                                                    The decentralized finance (DeFi) ecosystem has had a mixed reaction to the recent upheavals in price trend in the
                                                                    global cryptocurrency industry of late. Amidst the bull and bear actions, DeFi tokens have held strong to their
                                                                    fundamentals, a move that has prevented strong selloffs even amongst the top coins by market capitalization.DeFi
                                                                    Total Value Locked (TVL)The DeFi ecosystem has continued to see inflows of cash into the wide range of protocol

                                                                             ETH -7.64%                                                           CRV -1.67%                                                  ZRX -7.00%
                                                                    Godfrey Benjamin-Coingape 2021-08-23 00:10 # DeFi                                                                               # Roundup




                                                                    As Bitcoin (BTC) Approaches $50,000, Here Are Key Technical
                                                                    Obstacles
                                                                    Bitcoin            to Watch
                                                                            (BTC) has advanced another For
                                                                                                        4% in the last 24 hours making way to $50,000. As of press time, Bitcoin                                                                          its                                                                                                           is
                                                                    trading 3.86% up at a price of $48,832 and a market cap of $920 billion.On-chain metrics for Bitcoin (BTC) suggest
                                                                    strong fundamentals. For e.g. over 110K Bitcoins were withdrawn from the exchange wallets recently.
                                                                    Furthermore, traditional financial giants like BlackRock and Wells Fargo have announced their BTC investments
                                                                    recently.
                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-08-22 03:50 # Bitcoin                                                                                  # Key Technical                            # Hashrate




                                                                    Vitalik Buterin Expects Ethereum (ETH) to Touch $30,000 By
                                                                    Year-End
                                                                    The world’s second-largest Ethereum (ETH) has created major rage in the crypto market this year. At press time,
                                                                    Ethereum (ETH) is up 8% regaining its $3,200 levels and its market cap crossing $377 billion.However, Ethereum
                                                                    founder Vitalik Buterin is ultra-bullish on the crypto’s future, especially after the recent London hardfork and the
                                                                    EIP-1559 implementation. During his ongoing live interview, Buterin said that he expects the ETH price to be 1

                                                                             ETH -7.64%                                                           ADA +0.87%
                                                                    Bhushan Akolkar-Coingape 2021-08-22 00:07 # Vitalik Buterin                                                                                            # Ethereum                      # $30




                                                                    These Ethereum Indicators Show Whales Continue To
                                                                    Accumulate
                                                                    According to on-chain analysis, some Ethereum indicators are showing signals that whales are continuing to
                                                                    accumulate the cryptocurrency.Ethereum Shows Negative Netflows As Exchange Reserves Continue The
                                                                    DowntrendAs pointed out by a CryptoQuant post, ETH indicators seem to be moving in directions that suggest
                                                                    whales are continuing to accumulate.There are three important metrics to consider here: the all exchanges
                                                                    netflow, the all the exchanges re
                                                                             ETH -7.64%
                                                                    Hououin Kyouma-NewsBTC 2021-08-21 04:33 # Ethereum                                                                                             # Whales                  # ETH2.0




                                                                    Bitcoin Poised To Explode Above $50K?, Why Fundamentals
                                                                    Bitcoin has More
                                                                    Shout       climbed upProfits
                                                                                           from every major resistance level in the past month. At the time of writing, BTC trades at
                                                                    $48,412 with a 3.8% profit.After weeks in the green, the general sentiment in the crypto market has flipped
                                                                    decisively bullish as sellers seem exhausted and unable to continue their assault.Director of Global
                                                                    Macroeconomics for investment firm Fidelity Jurrier Timmer believes Bitcoin could retake previous highs and go
                                                                    back to price di
                                                                             BTC -4.68%
                                                                    Reynaldo Marquez-NewsBTC 2021-08-21 04:30 # Bitcoin                                                                                       # Markets                  # Price




                                                                    Why An Ongoing Bullish Bitcoin “Retest” Might Result In New
                                                                    Highsprice well below former record, but the top cryptocurrency by market cap at the time of this
                                                                    Bitcoin                     is still                                               its
                                                                    writing is making another attempt to reclaim lost support near all-time highs set earlier in the year.The “retest”
                                                                    thus far is holding above a key level, and when compared to past peaks in the crypto market, this time almost
                                                                    certainly appears to be different. If the repeating pattern yields different results yet remains to be seen, bu

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-08-20 08:54 # Markets                                                                               # Bitcoin                    # Price




                                                                    Bitcoin (BTC) Price Sets Eyes on $50K as BlackRock and Wells
                                                                    Fargo(BTC)Reveals
                                                                    Bitcoin     jumped fromBTC
                                                                                            a daily Investment
                                                                                                    low of $44,161 to record a new daily high of $47,348, seeing a gain of over $3,000
                                                                    over the past 24-hours. The top cryptocurrency managed to bounce back from the key support level of $43,935
                                                                    and just a couple of rallies away from setting a new 3-month high above $48,000.Source: TradingViewThe
                                                                    immediate resistance for the top cryptocurrency lies just above $48,000 breaking which it could see the price
                                                                    breeze throu
                                                                             BTC -4.68%                                                           SOL -6.64%                                                  ADA +0.87%
                                                                    Prashant Jha-Coingape 2021-08-20 05:23 # Bitcoin                                                                          # BlackRock                            # Wells Fargo




                                                                    Here’s What Bitcoin Exchange Inventory Levels Means For The
                                                                    Bull exchange
                                                                    Bitcoin Rally inventory level a good way to gauge market sentiment towards the cryptocurrency. Inflows to
                                                                                                                                                             is
                                                                    exchanges in the past have usually indicated strong sell sentiment. Stemming from investors wanting to cash out
                                                                    the profits that they have made. This is usually the case during bull markets when prices go up. But for the first
                                                                    time, bitcoin exchange inventory levels are declining even though the price of the digital asset is on the rise

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-20 01:35 # Bitcoin                                                                           # Exchange                      # Bull




                                                                    What                 is          Bitcoin Up                                               to         Next? This Analyst Has an Answer
                                                                    The focus of many Bitcoin (BTC) investors or traders is often in the short term price performance of the premier
                                                                    digital currency. Many do not know that macroeconomic events and principles also affect the longer term price
                                                                    prospect of the cryptocurrency.For the past 7 days, the price of Bitcoin has been hovering around a low of
                                                                    $43,861.45, and a high of $47,998.10 with the agenda to break this price range in a bid to retest its previous All-
                                                                    Time
                                                                             BTC -4.68%
                                                                    Godfrey Benjamin-Coingape 2021-08-19 22:24 # Bitcoin                                                                                      # Analyst




                                                                    Will Ethereum Reach                                                                                  Its           All-Time-High Before Bitcoin?
                                                                    As Bitcoin shows bearish signs, on-chain activity suggests Ethereum could be on the way to reach its all-time-high
                                                                    before BTC.Ethereum To Reach Its All-Time-High Price Earlier Than Bitcoin?As pointed out by CryptoQuant CEO Ki
                                                                    Young Ju in a post, indicators could suggest ETH will reach its ATH quicker than BTC in the long term.The
                                                                    exchange netflow is an indicator that depends on two metrics: the inflow and the outflow. The former is the total
                                                                    amou
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-08-19 08:15 # Ethereum                                                                                             # Bitcoin             # ATH




                                                                    Ethereum Founder Vitalik Buterin Joins Dogecoin Foundation
                                                                    Board Foundation
                                                                    Dogecoin Of Advisors
                                                                                     had been defunct for a while now. But an official reestablishment of the foundation has been
                                                                    announced. The foundation that was founded in 2014 has been revived with some prominent names in the crypto
                                                                    space. The foundation’s board includes individuals working on Dogecoin. While the Board of Advisors includes
                                                                    Dogecoin founder Billy Markus, Ethereum founder Vitalik Buterin, Dogecoin Core Developer Max Keller, and last
                                                                    but now le
                                                                             ETH -7.64%                                                           DOGE -7.02%
                                                                    Best Owie-Bitcoinist 2021-08-19 04:56 # Dogecoin                                                                         # Foundation                            # Vitalik Buterin




                                                                    Worldwide Crypto Adoption Jumps Over 2300% Since 2019:
                                                                    Chainalysis
                                                                    New York-based blockchain data analytics platform Chainalysis revealed on Wednesday that global
                                                                    cryptocurrency adoption has skyrocketed worldwide. Residents from more and more countries are diving deeper
                                                                    into the crypto space and integration digital assets usage in their day-to-day life.The Chainalysis Global Crypto
                                                                    Adoption Index appears as an effort to measure cryptocurrency adoption from the grassroots. Per the company,
                                                                    the adoption of digita
                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Mansi Singh-Coingape 2021-08-19 02:08 # Chainalysis                                                                                 # Crypto Adoption




                                                                    Institutional Investors FOMO For Ethereum Exposure
                                                                     Ethereum trends show it’s becoming more valuable as ETH 2.0 draws near. Thus, institutional investors are
                                                                    clamoring to get in on the action before it is too late. A signal for this has been ETH Futures have been trading at a
                                                                    higher basis premium than BTC Futures on CME. ETH Futures have continuously traded at a higher rolling basis
                                                                    than BTC Futures for the past three months. This could show that institutional investors are more bullish on ETH’s

                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-18 22:31 # Ethereum                                                                                # FOMO                   # Investors




                                                                    Here’s Why Ethereum (ETH) Price May Not Fall Under $3000
                                                                    The world’s second-largest cryptocurrency Ethereum (ETH) has had a solid run this year. Last week, the ETH price
                                                                    gave a momentary breakout above $3300 levels. However, it faced rejection twice at these levels.At press time,
                                                                    ETH is down 2.64% in the last 24 hours trading at $3081 levels as of press time. But an improvement in Ethereum
                                                                    fundamentals shows that it is less likely for the ETH price to tank under $3000 levels. As per on-chain data provi

                                                                             ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-08-18 06:03 # Ethereum                                                                                           # Price             # Markets




                                                                    Fidelity Looks To Build New Financial Infrastructure Around
                                                                    Bitcoin
                                                                    Boston based financial services corporation Fidelity Investments Inc., revealed Tuesday that Bitcoin has become
                                                                    a prime focus of the company’s digital asset division. In a recent interview with the Boston Globe, Fidelity’s head
                                                                    of sales and marketing Christine Sandler pointed out that 90% of Fidelity’s biggest customers are asking about
                                                                    bitcoin and that the firm is now looking to open up the space for retail.Founded in the 1940s, the firm has $1

                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Mansi Singh-Coingape 2021-08-18 01:41 # Fidelity                                                                         # Bitcoin




                                                                    Bitcoin Whales Looking To Buy The Dip As $222 Million Worth Of
                                                                    Stablecoins
                                                                    On-chain            FlowinflowsIntoof $222Exchanges
                                                                             data shows huge                    million worth of stablecoins on exchanges, suggesting Bitcoin whales
                                                                    might be looking to buy the dip.Centralized Exchanges Observe $222 Million Worth Of Stablecoin InflowsAs
                                                                    pointed out by a CryptoQuant post, centralized exchanges saw inflows of more than $222 million worth of
                                                                    stablecoins yesterday. The timing of this huge spike seems to match up with that of Bitcoin’s price showing                                                                                                                                                                           a
                                                                    dip.The exchange infl
                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-08-17 22:03 # Bitcoin whales                                                                                                # Stablecoins                       # Price




                                                                    Bitcoin (BTC) Realized Cap Hits New All-Time High, Miner
                                                                    Revenue
                                                                    Over             OnBitcoin
                                                                         the last week,   the (BTC)
                                                                                                Risemade a solid move surging past the way to $47,000. Even now BTC              holding                                                            all                                                                                        is
                                                                    above its crucial support levels of $45,000. At press time, Bitcoin is trading at $46,392 and has a market cap of
                                                                    $370 billion.This comes amid major improvements in Bitcoin’s on-chain metrics. The Bitcoin network continues to
                                                                    absorb new capital inflows. Bitcoin’s on-chain equivalent of market cap aka its realized cap has touched an all

                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-08-17 08:12 # Bitcoin                                                                                  # Realized Cap                            # Miners




                                                                    Will Colombia become El Salvador 2.0 after President Advisor’s
                                                                    stance
                                                                    Jehudi Castroon    BTC?
                                                                                  Sierra, Advisor to the President of Colombia, applauded Bitcoin (BTC). He called the “most                                                                                                                                         it

                                                                    brilliant piece of software ever.” The Colombian President’s Advisor asserted his position in the parliament as the
                                                                    tech and digital advancement Advisor, instead of a political consultant.Sierra’s appreciation of cryptocurrencies
                                                                    like Bitcoin, along with his eminent position in the Colombian administration could mean a foreseeable shift in

                                                                             BTC -4.68%
                                                                    Palak Malhotra-Coingape 2021-08-17 03:58 # Colombia                                                                                   # Bitcoin




                                                                    TikTok Partners With Crypto-Powered Music Platform Audius
                                                                    Many of today’s young social media consumers are finding new music via TikTok. This week, the leading social
                                                                    media platform paired up with Audius, a streaming platform that is quickly becoming one of the largest
                                                                    decentralized consumer applications.TikTok’s Unlikely MatchThe pairing is especially interesting considering that
                                                                    around a month ago, TikTok took further steps to restrict crypto content from influencers and creators on the
                                                                    platform. The
                                                                             AUDIO -7.71%                                                              ETH -7.64%                                                    SOL -6.64%
                                                                    Taylor Scott-Bitcoinist 2021-08-17 01:32 # Audius                                                                       # TikTok                 # NFTs




                                                                    Bitcoin Dominance Down As Market Hits $2 Trillion, Altcoins Are
                                                                    Bitcoin marketOver
                                                                    Taking          dominance continues to decline as the markets make their way back up the charts. The top
                                                                    cryptocurrency has seen its market share consistently dropping as investors get interested in altcoins. Over the
                                                                    five years since it has been in operation, Ethereum now has a bit under half the market dominance of the digital
                                                                    asset. This has translated to altcoins like Ethereum rallying despite what direction the price of bitcoin is
                                                                    headed.Now,
                                                                             ETH -7.64%                                                           ADA +0.87%                                                   BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-16 22:01 # Altcoins                                                                           # Bitcoin                 # Markets




                                                                    Here’s What led to 9% hike in ETH Network Activity after London
                                                                    Upgrade
                                                                    Ethereum founder, Vitalik Buterin published a detailed analysis on Reddit, explaining the reasons for ETH’s
                                                                    increased on-chain activity by 9 percent after the London Upgrade. The daily gas usage data conveys an increase
                                                                    in the average gas used per day, from ~92B to ~100B, i.e., a 9% surge.Buterin has dedicated the hike to three
                                                                    aspects of ETH London Upgrade:ice age delay,pre-London blocks being not fullimperfections in the base fee
                                                                    adjustment fo
                                                                             ETH -7.64%
                                                                    Palak Malhotra-Coingape 2021-08-16 10:03 # ETH                                                                           # London Upgrade




                                                                    Bitcoin Price Prediction: BTC Settles Above The 200 SMA As
                                                                    $60,000
                                                                    Bitcoin         Comes
                                                                            price rises           To Into
                                                                                        to a three-month high atSight
                                                                                                                 $48,000.Settling above the 200-day SMA seems to have braced                                                                                                                                                                             the
                                                                    bulls for gains above $50,000.A conformed break past $50,000 will see bulls quickly shift attention to
                                                                    $60,000.Bitcoin price made another stride toward $50,000 during the weekend session. The trading last week
                                                                    came to a halt at $47,000, where bears had drawn the line.A correction followed whereby BTC slipped under
                                                                    support at $45,000, highl
                                                                             BTC -4.68%
                                                                    John Isige-Coingape 2021-08-16 05:17 # Bitcoin                                                                         # Price             # RSI




                                                                    Futures Weekly Wrap (August 9th-16th): Bitcoin Stalls at
                                                                    $48,000
                                                                    Bitcoin stalled atResistance         - Can
                                                                                       the $48,000 resistance       it Breakthrough?
                                                                                                              after four consecutive weeks of gains. The bellwether cryptocurrency
                                                                    traded as high as $48,100 on Saturday - its highest mark in over three months, but retreated back under $46,000
                                                                    as selling pressure intensified around a key supply zone. Despite the pullback, the cryptocurrency had displayed                                                                                                                                                                                           a
                                                                    resilient recovery since falling below $30,000 in mid-July, gaining over 65% in just four weeks.The BTC dominanc

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  XRP -6.51%
                                                                    Binance Futures 2021-08-16 01:09 # Bitcoin                                                                 # Markets                     # Binance Futures




                                                                    BTC Price Analysis: Bitcoin Hits 3 Month High But Prints Bearish
                                                                    Rising
                                                                    BTC price hasWedge,
                                                                                  risen nearly What’s
                                                                                               65% off lowNext?
                                                                                                           in JulyBTC Price has finally cleared the 200MARSI printing a bearish
                                                                                                                                                                  its                                                                                                                                          is
                                                                    divergenceAre BTC Bulls Already Exhausted?Bitcoin price has finally broken out of its near 2 month range below
                                                                    $40,000. After nearly 3 months of boring downtrend, the bulls have awoken from their slumber & pushed BTC to
                                                                    nearly $50,000. The overall market has followed BTC’s lead as some alt coins have surged nearly 300% from their
                                                                    low
                                                                             BTC -4.68%
                                                                    Domenic-CoinGape 2021-08-15 21:45 # Bitcoin                                                                       # Price                 # Markets




                                                                    By The Numbers: What $10 In Bitcoin Each Day Would Net
                                                                    AInvestors
                                                                      lot of new investors believe that they have missed the opportunity on bitcoin. This simply not true. Less than                                                                                                           is
                                                                    10% of the world currently know about bitcoin. That leaves over 6 billion people in the world who do not know
                                                                    about bitcoin. So in actuality, the investors who are getting in now who think they missed the boat are in fact, early
                                                                    adopters.That aside, dollar-cost averaging (DCA) has become an increasingly popular way for people to inv

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-15 08:28 # Bitcoin                                                                           # Investors




                                                                    Bitcoin (BTC) Precisely following the Stock-to-Flow Model,
                                                                    $135K
                                                                    As the cryptoComing
                                                                                  market inchesbypastDecember?
                                                                                                      $2 trillion valuations, Bitcoin (BTC) has gained over 5% in the last 24-hours
                                                                    moving past $47,500 levels. It is for the first time in the last three months that the BTC price has crossed these
                                                                    levels.As it turns out, Bitcoin has been very precisely following the Stock-to-Flow (S2F) model developed by
                                                                    popular crypto analyst PlanB. Back in June 2021 when BTC was under pressure trading below $35K, Plan B gave
                                                                    his pre
                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-08-14 10:28 # Bitcoin                                                                                  # Stock-to-Flow                            # Price




                                                                    Bitcoin Stuck In The Clouds, But Brighter Days Could Be Ahead
                                                                    Bitcoin price is stuck at around $46,000 unable to push higher despite some strong momentum and buying at its
                                                                    back. The reason for the resistance, is because the leading cryptocurrency by market cap has its head caught in
                                                                    the clouds.Once these clouds part, however, it could lead to a lot sunnier days across the cryptocurrency market
                                                                    once again.Bitcoin Price Stuck In The Clouds, Puts Rally On IceBitcoin price has whipsawed back and forth by
                                                                    more t
                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-08-14 03:19 # Bitcoin                                                                             # Markets




                                                                    Argentina to Join El Salvador’s Bitcoin League? Here’s what
                                                                    Argentinian
                                                                    El                     President
                                                                       Salvador’s Bitcoin adoption triggered Said
                                                                                                             a long About       BTC about other nations joining the frenzy.
                                                                                                                     of speculations                                                          list
                                                                    Lawmakers from different Central American nations have also used it as bait to draw attention such as Paraguay.
                                                                    However, El Salvador’s push certainly made many countries think about making Bitcoin a legal tender, especially
                                                                    those struggling with a financial crisis brought upon them by factors they can’t control. Argentina is a perfect exam

                                                                             BTC -4.68%
                                                                    Prashant Jha 2021-08-13 07:29 # Argentina                                                                  # Bitcoin




                                                                    Bitcoin Price Prediction: BTC Rally Patiently Waits For This
                                                                    Bitcoin price Bullish
                                                                    Highly                      Technical
                                                                                   trading remains mundane abovePattern
                                                                                                                  $45,000 while upside limited under $47,000.Closing the day above
                                                                    the 200-day SMA would cement the bulls’ influence in the market.Bitcoin price slipped marginally under $45,000
                                                                    during the American session on Thursday. The move was accentuated by the loss of the 200-day Simple Moving
                                                                    Average (SMA). However, the bulls woke up quite fast and pulled BTC upward.Meanwhile, the flagship
                                                                    cryptocurrency trades at
                                                                             BTC -4.68%
                                                                    John Isige-CoinGape 2021-08-13 03:04 # Bitcoin                                                                         # Markets




                                                                    Ethereum Fee Burns Clocks $100 Million, Here’s Why The Burn
                                                                    The Important
                                                                    Is Ethereum network has now continuously burned base fees for a week straight and in that time frame, the
                                                                    amount of ETH burned has hit $100 million. With over 32,000 ETH burned in the space of seven days. The fee burn
                                                                    rate fluctuates given the network traffic, but the burn continues regardless. Depending on network traffic going
                                                                    forward, the burn rate is predicted to hit 4 ETH per minute very soon.The rate at which the ETH is burned currently
                                                                    si

                                                                             ETH -7.64%
                                                                    Best Owie-NewsBTC 2021-08-12 22:55 # eip-1559                                                                            # ETH                 # ETH 2.0




                                                                    Space DOGE: Buy Ads In Space Using Dogecoin
                                                                    Dogecoin has always been destined for Space. Dogefather Elon Musk has always made that clear. When the
                                                                    billionaire had first tweeted about the project that was scheduled for 2022. But one thing that was not anticipated
                                                                    to be in space is ads. It seems that amongst billionaires and rocket ships headed to space, advertising is headed
                                                                    up there too.A recent partnership between SpaceX and Geometric Energy Corporation (GEC) will see advertisers
                                                                    be able
                                                                             DOGE -7.02%                                                           BTC -4.68%                                                      ETH -7.64%
                                                                    Best Owie-Bitcoinist 2021-08-12 09:42 # DOGE                                                                      # SpaceX




                                                                    The Bitcoin (BTC) Blockchain Added Over One Million Users
                                                                    Overworld’sthelargestLastcryptocurrency
                                                                    The                           Month Bitcoin (BTC) has been showing strength over the last two weeks. Over the last
                                                                    week, BTC has gained more than 17% confidently moving past $45,000 levels.Popular market analyst willy Woo
                                                                    has some very interesting data points to present. He notes how the network activity on the Bitcoin blockchain is
                                                                    picking up once again. Woo mentions that the number of users on the Bitcoin blockchain is growing faster than
                                                                    ever b
                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-08-12 08:29 # Bitcoin                                                                                  # Users




                                                                    What Bear Market? Bulls Now “In Control” Over Every Bitcoin
                                                                    Timeframe
                                                                    Bitcoin price back at $46,000 after a few month reset back to $30,000 and slightly below. A more than 50%
                                                                                                is
                                                                    collapse from the current all-time high of $65,000 had the cryptocurrency community calling for a bear market, but
                                                                    according to a trend strength indicator, bears are nowhere in sight.In fact, the tool, called the Average Directional
                                                                    Index suggests that bulls are now back in control over Bitcoin price action on every major timeframe.Bitcoin

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-08-12 03:07 # Bitcoin                                                                             # Bull Markets                         # ADX Indicator




                                                                    Is  Ethereum’s Gas Fee Improved Now that the London Hardfork
                                                                    is Live?
                                                                    The cryptocurrency ecosystem was agog when the Ethereum Improvement Protocol (EIP) 1559 went live last
                                                                    week. The EIP 1559 upgrade, also called the London Hardfork introduced a few improvements into the Ethereum
                                                                    blockchain which prior was notably plagued with congestion and high network fees.Prior to the launch of the
                                                                    hardfork, users engage in a bidding war with their transaction fees as a way catch the attention of miners who help
                                                                    in prioritizing

                                                                             ETH -7.64%
                                                                    Godfrey Benjamin-Coingape 2021-08-11 23:39 # Ethereum                                                                                           # Gas Fee                 # London Hardfork




                                                                    Crypto Market Gets “Greedy,” How This Could Impact Bitcoin
                                                                    Bitcoin market sentiment has now skewed completely into the positive. The Fear & Greed Index had spent one of
                                                                    its longest stretch in “extreme fear.” Market sentiments were in the negative. This was due to the market crash
                                                                    that had occurred following the May price rally.The move of the index into greed could see the crypto market
                                                                    barreling upwards to create new all-time highs. This could mean that the rally could only be just starting. As buy
                                                                    pres
                                                                             BTC -4.68%
                                                                    Best Owie-Bitcoinist 2021-08-11 06:13 # Bitcoin                                                                    # Greedy                     # Markets




                                                                    Bitcoin Reserve Outflows Return To Pre-ATH Levels In BTC
                                                                    On-chain data shows Bitcoin reserve outflows have returned to levels seen before BTC’s all-time-high (ATH).
                                                                    These values are comparable to those in November 2020.Bitcoin Reserve Outflows Spike UpAs per a report from
                                                                    Arcane Research, BTC reserve outflows have spiked up in the last week as significant amounts of the coin exit
                                                                    exchanges.The Bitcoin exchange outflow is an indicator that shows the amount of BTC moving from exchange
                                                                    wallets to personal
                                                                             BTC -4.68%
                                                                    Hououin Kyouma-Bitcoinist 2021-08-11 01:56 # Bitcoin                                                                                 # Outflows                     # ATH




                                                                    Inverse Relationship Between Gold And Bitcoin Continues To
                                                                    Widen
                                                                    Bitcoin was trading north of the $40,000 levels, as managed to break above key resistance. The first                                 it

                                                                    cryptocurrency by market cap sits at $45,044, at the time of writing, with small losses after a strong rally pushed it
                                                                    high from the lows at $30,000.BTC with minor losses in the 24-hour chart. Source: BTCUSD TradingviewBitcoin and
                                                                    the crypto market have been negatively reacting to the events coming from Washington as the Senates approved
                                                                    the in
                                                                             BTC -4.68%
                                                                    Reynaldo Marquez-NewsBTC 2021-08-10 22:13 # Gold                                                                                    # Bitcoin                    # Relationship




                                                                    Three White Soldiers: The Signal That Shows Bitcoin Bulls Are
                                                                    Preparing
                                                                    Bitcoin             For Battle
                                                                            price just touched $46,000 for the first time in months following the worst second quarter selloff on record.
                                                                    The push has continued beyond yesterday’s weekly close – a pivotal close that left behind an extremely bullish
                                                                    battle call.The pattern, called “Three White Soldiers,” is often the sign of a powerful uptrend brewing, but it often
                                                                    arrives with a feign of weakness. Here is more about the potentially important pattern and what it coul

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-08-10 04:38 # Bitcoin                                                                             # Tech Pattern                         # Markets




                                                                    Bitcoin Price Prediction: BTC Rally Takes A Hiatus At $46,000
                                                                    Aheadprice OfslowsUpswing
                                                                    Bitcoin            down the new To   $55,000
                                                                                                    parabolic recovery slightly above $55,000.The 200-day SMA provides Bitcoin with
                                                                    the much-needed support to prevent a correction from wiping the gains to $40,000.Bitcoin seems to have started
                                                                    another bull cycle following a lengthy battle in June and July to break the barrier at $40,000. Following the selloff
                                                                    from $65,000 in May, BTC explored levels marginally under $30,000 three times before the ongoing rally.A con

                                                                             BTC -4.68%
                                                                    John Isige-Coingape 2021-08-10 01:43 # Bitcoin                                                                         # Price




                                                                    AMC To Take Bitcoin As Payment For Movie Tickets By End Of
                                                                    Year
                                                                    AMC Entertainment CEO Adam Aron shared on Monday’s quarterly earnings call that the company setting up IT                                                                                                                                                   is
                                                                    logistics to support Bitcoin payments. Crypto is anticipated to be a supported method of payments at AMC
                                                                    theaters before the end of the year.Prepare The PopcornAron noted on the earnings call that the chain would
                                                                    support Bitcoin in all U.S. theaters for online payments of both movie tickets and concessions.The move brings
                                                                    together two nota
                                                                             BTC -4.68%
                                                                    Taylor Scott-Bitcoinist 2021-08-09 22:22 # AMC                                                                    # Bitcoin                    # Payment




                                                                    TA: Bitcoin Corrects Gains, Why Dips Remain Attractive To Bulls
                                                                    Bitcoin price started a fresh increase above the $40,000 resistance zone against the US Dollar. BTC tested the
                                                                    $45,000 resistance zone before it started a downside correction.Bitcoin gained traction above the $40,000 and
                                                                    $43,500 resistance levels.The price is now trading above $42,000 and the 100 hourly simple moving average.There
                                                                    was a break below a key bullish trend line with support near $44,500 on the hourly chart of the BTC/USD pair (data
                                                                    fe

                                                                             BTC -4.68%
                                                                    Aayush Jindal-Bitcoinist 2021-08-09 09:57 # Bitcoin                                                                           # Dips




                                                                    Gold Flash Crash: Would Gold’s Loss Be Bitcoin’s (BTC) Gain?
                                                                    Gold, the lustrous metal continued its bearish momentum into the new week as its price flash crashed earlier
                                                                    today during the Asian session. The morning flash crash dipped Gold’s price to a nearly 6-month low, falling below
                                                                    $1,700/oz. The price has since recovered slightly and traded at $1,746 at the time of writing.Source:
                                                                    TradingViewThe traditional store of value is down 8% in 2021, and 14.87% from its all-time high of $2,040 in August
                                                                    2020. An
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-08-09 05:47 # Bitcoin                                                                          # Gold                 # Value




                                                                    Futures Weekly Wrap (August 2nd-9th): BTC and ETH rose to
                                                                    their
                                                                    The      highestmarket
                                                                        cryptocurrency level    since
                                                                                           cap has        mid-May.
                                                                                                   increased by $200 billion What’s       next?as Bitcoin and Ethereum
                                                                                                                             to over $1.8 trillion,
                                                                    continue their relentless march. Bitcoin’s price crossed $45,000 for the first time in over two months, gaining over
                                                                    $100 billion in market value over the past week. The bellwether cryptocurrency had crucially gained almost 50%
                                                                    since mid-July when it dropped below $30,000.Despite the rally, the BTC dominance index, which measures
                                                                    Bitcoin’s m
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  DOGE -6.94%
                                                                    Binance Futures 2021-08-09 02:22 # Bitcoin                                                                 # Ethereum                          # Binance Futures




                                                                    Bitcoin Accumulation Patterns Shows Rally Might Only Be In Its
                                                                    Earlyaccumulation
                                                                    Bitcoin Stages patterns continue to point to the fact that the recent rally might not be ending anytime soon.
                                                                    Investors have continued to hoard assets as the volume of bitcoins sent to exchanges to be sold off or traded falls
                                                                    below the accumulation rate.Outflows from exchanges have continued to exceed inflows into exchanges. Signaling
                                                                    accumulation patterns rather than sell patterns.Wednesday saw the price of bitcoin dropping below $38,000 t

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-08 22:08 # Bitcoin                                                                           # Rally             # Markets




                                                                    If     Bitcoin (BTC) Breaks This Resistance, $50K                                                                                                                                                                     is     Imminent
                                                                    Bitcoin’s (BTC) price has managed to register a new two-month high of $43,901 after breaking past the key
                                                                    resistance of $40,000. The top cryptocurrency has managed to convert its long-time resistance into key on-chain
                                                                    support and now looks set to conquer $45K next. The top cryptocurrency is currently trading $43,716 up by 7.13%
                                                                    and looks well-positioned to test $50K resistance soon.Source: TradingViewThe next key resistance for BTC lies at
                                                                    $45K a
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-08-08 08:17 # Bitcoin                                                                          # $50K                 # Price




                                                                    A Generational Bitcoin Buy Signal                                                                                                                                  Is           Almost Back
                                                                    Bitcoin price has made a decent recovery from the lows put in around $28,888 and the yearly open, but still has
                                                                    ways to go to catch up the all-time highs.A buy signal could trigger just days from now, according to the creator                                                                                                                                                                                   of
                                                                    the tool – crypto expert and founder of Capriole Investments Charles Edwards. Not only is this buy signal
                                                                    significant, it has a reputation for being Bitcoin’s most profitable.Expert Says Generational Buy Signal Is In The

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-08-08 02:18 # Bitcoin                                                                             # Buy Signal




                                                                    Bitcoin Nears $43k, Indicators Suggest Bull Market Ahead
                                                                    The Bitcoin fund flow ratio for all exchanges is on a decline, while BTC transactions are rising. This could suggest a
                                                                    bull market is ahead.Bitcoin Fund Flow Ratio For All Exchanges Goes DownAs pointed out by a CryptoQuant post,
                                                                    the BTC fund flow ratio for all exchanges seems to be on a downwards trend. Also, BTC transactions are going
                                                                    up.The Bitcoin fund flow ratio is an indicator that’s defined as the total amount of BTC going into or out of ex

                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-08-07 08:00 # Bitcoin                                                                                    # Bull                 # Markets




                                                                    Ethereum (ETH) Shoots To $3000, Crowd Sentiment
                                                                    Overwhelms
                                                                    The                   Bitcoin
                                                                        Ethereum (ETH) bulls have continued to rage in pushing the ETH price the way to $3000. As of press time,                                                                                             all
                                                                    Ethereum is trading 8.34% up at a price of $2977 with a market cap of $344 billion. It is for the first time since May
                                                                    that the ETH price has crossed $3000 levels.The massive rally comes amid all the excitement around the
                                                                    Ethereum London hardfork which clears the way further for the implementation of Ethereum 2.0 Proof-of-Stake
                                                                    (PoS).
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-08-07 01:46 # Ethereum                                                                                           # Bitcoin             # $3000




                                                                    Bitcoin Set To Outperform In Second Half Of 2021, Bloomberg
                                                                    Analyst
                                                                    As Bitcoin continues tumultuous run through the market, analysts continue to see big things in store for the
                                                                                                                            its
                                                                    cryptocurrency. Bloomberg analyst Mike McGlone recently said in the August Edition of the Bloomberg Galaxy
                                                                    Crypto Index (BGCI) that the coin was set to outperform in the second half of the year. Already one month into the
                                                                    second half of the year, the market has seen the price of bitcoin breaking $40,000 for the first time since the mar

                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Best Owie-NewsBTC 2021-08-06 01:22 # Bitcoin                                                                           # Ethereum                      # Bloomberg




                                                                    On-Chain Data: Ethereum Price Surge is Steered by Old
                                                                    AAddresses
                                                                      lot of attention onStacking      Uppresently as the digital currencies’ price trend surging to beat the $3,000
                                                                                           Ethereum (ETH)   is                                                                                                                                                                                       is
                                                                    resistant point. For the most of the day, the price action has seen a limited volatility with market bulls largely in
                                                                    control of the prices. At present, the world’s largest open source crypto coin is changing hands at $2,817.43, up
                                                                    4.47% in the past 24 hours.The uptick in the price of Ethereum is largely driven by positive sentim

                                                                             ETH -7.64%
                                                                    Godfrey Benjamin-Coingape 2021-08-05 22:01 # Ethereum                                                                                           # Old Accounts                           # ETH




                                                                    Bullish Ethereum Fractal Appears As Important EIP-1559
                                                                    Upgrade         Debuts
                                                                    All eyes today are on Ethereum as the long-awaited EIP-1559 launches for the first time. The supply-focused
                                                                    update could result in a the start of a spectacular show that could last another several months.A fractal has
                                                                    potentially appeared that mimics the price action just ahead of the most recent explosive Ether rally, which took
                                                                    the top altcoin by market cap from below $1,000 to more than $4,000 at the peak. And it all is happening as the
                                                                    Londo
                                                                             ETH -7.64%
                                                                    Tony Spilotro 2021-08-05 15:25 # ETH                                                           # EIP-1559                 # Ethereum




                                                                    Breaking: Grayscale Appoints 20-Year ETF Veteran to Focus on
                                                                    its Bitcoin
                                                                    Grayscale,         ETFleading
                                                                               the world’s    Launch
                                                                                                  asset manager quite focused on goal of converting premium bitcoin                          is                                                     its                                               its
                                                                    offering, Grayscale Bitcoin Trust (GBTC) into a Bitcoin ETF. The digital asset management firm announced the
                                                                    appointment of 20-year ETF veteran Dave Lavalle as its first Global Head of ETFs.More than a dozen companies
                                                                    have filed for a Bitcoin ETF with the US Securities and Exchange Commission (SEC), however, the chief regulatory
                                                                    body is yet
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-08-04 10:45 # Grayscale                                                                                  # Bitcoin ETF




                                                                    Ethereum (ETH) London Hardfork Would Make These Tokens
                                                                    Obsolete
                                                                    The world’s second-largest cryptocurrency Ethereum heading for a major on-chain upgrade with the upcoming                                        is
                                                                    London Hardfork. The upgrade is scheduled to take place by August 5 which would solve the long-pending gas fee
                                                                    problem on the network and also make Ether supply deflationary. Crypto enthusiasts are eagerly waiting for the
                                                                    upgrade and hope it would bring a positive impact on the token price. However, the London Hardfork is not good
                                                                    news for
                                                                             1INCH -5.37%                                                              ETH -7.64%
                                                                    Prashant Jha-Coingape 2021-08-04 02:34 # London Hardfork                                                                                              # Ethereum




                                                                    On-Chain Data Shows Bitcoin Daily Transaction Volumes Are Up
                                                                    94%, hasRally
                                                                    Bitcoin  recently Might     Not following
                                                                                       lost momentum Be Over         Just
                                                                                                              the rally       Yet over the past week. The digital asset had
                                                                                                                        that occurred
                                                                    seen gains of over 20% while the entire market followed suit and showed massive gains all across the board.
                                                                    Bitcoin had spent 9 consecutive days closing in the green for the first time in a decade.As the cryptocurrency sees
                                                                    slowing momentum, the price has experienced various dips that have driven the price down. After the asset had
                                                                    jumpe
                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-03 22:47 # Bitcoin                                                                           # On-Chain                      # Volumes




                                                                    Crypto investment products see 4th consecutive week of
                                                                    outflows,
                                                                    Crypto investmentare   investors
                                                                                      products             taking
                                                                                               recorded another week ofprofit?
                                                                                                                        outflows as investors moved out $19.5 million funds this
                                                                    week. This also makes it the fourth consecutive week of outflows from digital asset investment products. The
                                                                    money has continued to move out of these funds despite the recent price recovery in the crypto market.A total                                                                                                                                                                                       of
                                                                    $295 million has flowed out of crypto investment funds since mid-May and analysts believe the current outflow
                                                                    despite p
                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Prashant Jha-Coingape 2021-08-03 09:46 # Crypto investment                                                                                              # Bitcoin               # ETH




                                                                    Bitcoin (BTC) Tanks Under $40,000 Once Again. Here’s What
                                                                    Investors
                                                                    After rising the Can     Do over the last weekend, looks like Bitcoin losing steam once again. The
                                                                                     way to $42,000
                                                                                              all                                                                                                                           it                                                 is
                                                                    world’s largest cryptocurrency is down 3% as of press time! Bitcoin is trading at $38,591 levels with a market cap
                                                                    of $724 billion.The recent price volatility has got investors frustrated as Bitcoin is showing wild oscillation without
                                                                    confirming any particular trend. Options and algo-trader Altcoin Psycho explains what investors should

                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-08-03 02:42 # Bitcoin                                                                                  # Markets                     # Price




                                                                    On-Chain Expert Predicts $162K Bitcoin Peak This Cycle
                                                                    Bitcoin continues to beat expectations this year. Despite most investors speculating the bull market was already
                                                                    over, the digital asset has posted another rally that shows that the market might in fact still be in a bull cycle. The
                                                                    last two weekends have seen bitcoin prices adding at least $4,000 in the span of three days. Breaking what has
                                                                    been a slow and brutal downtrend cycle in the market for the last month.Now, on-chain expert Willy Woo was

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-08-02 22:48 # Bitcoin                                                                           # Willy Woo




                                                                    Marathon Digital Bought 30,000 Mining Machines from Bitmain
                                                                    Just as institutional players start raking up their BTC investments, Bitcoin mining groups start adding more mining
                                                                    gears. North America’s public traded self-mining company Marathon Patent Group has entered into a contract
                                                                    with Bitmain to purchase an additional 30,000 Antminer S19j Pro (100 TH/s) miners for $120.7 million.Based on
                                                                    current delivery schedules, Marathon anticipates all 30,000 newly purchased miners to ship from Bitmain between
                                                                    Janua
                                                                             BTC -4.68%
                                                                    Binance 2021-08-02 09:20 # Marathon Digital                                                                  # Bitmain                     # S19j Pro




                                                                    Futures Weekly Wrap (July 26th-August 2nd): Bitcoin Back
                                                                    Above
                                                                    The         200-MA
                                                                        crypto market          as Prices
                                                                                      capitalization         Hit$1.6a trillion
                                                                                                     back above         2-Monthfor the firstHigh
                                                                                                                                             time since mid-June as Bitcoin hits a two-
                                                                                                                                                             is
                                                                    month high. Bitcoin’s market value gained over $100 billion in the past week and topped off at $750 billion as
                                                                    prices crossed above $42,000 for the first time since May 21st. Bitcoin has kicked off August on the right footing,
                                                                    looking to extend the previous week’s 20% gain amid favorable fundamental and technical catalysts.In line

                                                                             BTC -4.68%                                                           ETH -7.63%                                                  BNB -7.27%
                                                                    Binance Futures 2021-08-02 00:51 # Markets                                                                   # Bitcoin                   # Binance Futures




                                                                    Wealthfront ($21 Billion AUM) Offers Cryptocurrency Exposure
                                                                    to its Clients
                                                                    Wealthfront, a financial Through
                                                                                             institution basedGrayscale
                                                                                                               in California, has announced an expansion of digital asset investment                                                                                                                  its
                                                                    menu on Thursday. Reportedly, the company will now include Grayscale Bitcoin Trust (GBTC) and Grayscale
                                                                    Ethereum Trust (ETHE) among its other investment options. Wealthfront also noted that they would deliver
                                                                    additional solutions to customers with cryptocurrencies different from BTC and ETH.Wealthfront Enables
                                                                    Customers To Invest                                      i



                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Mansi Singh-Coingape 2021-08-01 22:09 # Wealthfront                                                                                  # Grayscale                     # GBTC




                                                                    Bear Market Over? Why Bitcoin Could Soar To $45K As Strong
                                                                    Holders
                                                                    Bitcoin         Grow
                                                                            has retaken the highs of current range. The first cryptocurrency by market cap trades at $41,300, at the
                                                                                                                                                         its
                                                                    time of writing, with a 6% and 23.8% profit in the daily chart.BTC moving sideways after retaking $40,000 in the
                                                                    daily chart. Source: BTCUSD TradingviewThe general sentiment in the market has flipped bullish, the fear and
                                                                    greed index signals greed for the first time in months. Other indicators, as many experts have pointed out, sug

                                                                             BTC -4.68%
                                                                    Reynaldo Marquez-NewsBTC 2021-08-01 07:21 # Bitcoin                                                                                       # Holders                 # Markets




                                                                    Bitcoin can be the native currency                                                                                                                                  of           Twitter, says Jack Dorsey
                                                                    The online world needs a global currency, and our focus is on Bitcoin because with this cryptocurrency, we can
                                                                    reach every single person on the planet, Twitter CEO Jack Dorsey has stressed.During “The B Word” event, Dorsey
                                                                    argued that Bitcoin can resolve the worldwide remittance problem, by removing intermediaries, government
                                                                    credit, and other things slowing down the process of transfers.Bitcoin has the potential to resolve the entire
                                                                    situation b
                                                                             BTC -4.68%
                                                                    Binance 2021-07-31 05:38 # Jack Dorsey                                                               # Twitter                # Native Currency




                                                                    Five Bullish Monthly Charts That Suggest Bitcoin Will Blast Off
                                                                    Tomorrow is the last day of the month of July, and Bitcoin is at a pivotal moment in its lifetime. The crossroads of a
                                                                    possible bear market or bullish continuation is here, and the path chosen will dictate the trend for potentially
                                                                    months or years to come.The monthly timeframe could provide clues as to what might be next, and we’ve got five
                                                                    ultra bullish technical charts and reasons why Bitcoin is more likely to blast off than fall further from h

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-07-30 23:09 # Bitcoin                                                                             # Bullish                 # Markets




                                                                    Bitcoin (BTC) Exchange Outflows Hit 5-Year High, Address
                                                                    Activity
                                                                    As Bitcoin (BTC)Shoots
                                                                                     continues to30% around $40,000 levels, fundamentals and on-chain metrics are showing
                                                                                                                                                   flirt                                                                    its
                                                                    significant improvement. On Wednesday, July 28, the Bitcoin blockchain registered the largest ever net outflows                                                                                                                                                                                          in
                                                                    5 years since 2016.On this day, the exchange balance dropped by more than 60,000 Bitcoins in total. This is
                                                                    certainly a bullish indicator as a shortage in supply is likely to drive prices higher. FYI yesterday was the largest

                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-07-30 09:20 # Bitcoi                                                                              # Outflows                        # Address Activity




                                                                    Bitcoin Bulls Grab Market As Friday’s $1.7B monthly Options
                                                                    Expiry      Remain
                                                                    After spending            Within
                                                                                   weeks ranging          Green
                                                                                                 within $30k, the bulls’Territory
                                                                                                                         edge in this month’s $1.7 billion options expiry was
                                                                    strengthened by Bitcoin’s climb past $40,000.A total of 42,850 Bitcoin (BTC) option contracts worth $1.7 billion are
                                                                    slated to expire on Friday, July 30. Bulls may be able to benefit from the $40,000 call (buy) options for the first time
                                                                    since the weekly expiry on May 21.The most recent price spike may have been triggered by speculations that

                                                                             BTC -4.68%
                                                                    Anifowoshe Ibrahim                          -   Bitcoinist 2021-07-30 02:41 # Bitcoin                                                           # Options                  # Markets




                                                                    Why Another Wave Up For Altcoins Is Probable According To
                                                                    BTC   Dominance
                                                                    BTC dominance has always had an inverse effect on the price movements for altcoins. Historically, BTC
                                                                    dominance determines the direction the value of altcoins swings in. Bitcoin has so far maintained majority
                                                                    dominance on the market. But as more time passes, that dominance goes down as altcoins see more
                                                                    demand.BTC dominance simply shows how much demand there is for bitcoin compared to altcoins. The more BTC
                                                                    dominance rises, the lower the demand
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Best Owie-NewsBTC 2021-07-29 22:44 # Bitcoin                                                                           # Altcoins                 # Markets




                                                                    Bitcoin records largest single-day Exchange outflow in 1-year as
                                                                    BTC price
                                                                    Bitcoin pricecurrently
                                                                                    breach hovering$40K
                                                                                                is   around the $40,000 mark after breaking out of the $35k resistance and forming
                                                                    good support at $38,800. The top cryptocurrency hit a monthly high of $40,816 earlier today before retracing under
                                                                    $40K again. The on-chain data suggest traders have turned bullish again as they expect BTC to solidify its position
                                                                    above $40K.BTC has recorded eight straight green daily candles and is on its way to the ninth as its pric

                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-07-29 08:23 # Bitcoin                                                                          # Exchange outflow                                    # Price




                                                                    Ethereum Breaks 200,000 Validators Milestone, Over $14 Billion
                                                                    Now Staked
                                                                    Ethereum            In ETH
                                                                             network continues       2.0increasing support as launch draws nearer with each passing day. The
                                                                                               to record
                                                                    network has now successfully crossed 200,000 validators meaning there are now over 200,000 validator nodes
                                                                    running ahead of the ETH 2.0 launch and counting. The amount of staked ETH now stands at over 6.6 million coins
                                                                    staked, totally over $14 billion worth of ETH currently staked in the network.Over 20,000 validators were added to
                                                                    the networ
                                                                             ETH -7.64%
                                                                    Best Owie-NewsBTC 2021-07-29 05:14 # ETH 2.0                                                                           # ETH staking                          # Ethereum




                                                                    JP Morgan starts giving Wealth Clients Access to Crypto Funds
                                                                    continuing
                                                                    JP                its thesee-saw
                                                                       Morgan has become      first major U.S.with
                                                                                                               bank tocrypto
                                                                                                                       give  wealthy clients access to crypto funds including                                             all its
                                                                    Grayscale Bitcoin Trust (GBTC).On Thursday, July 22, Business Insider reported that JPMorgan told its financial
                                                                    advisors in a memo last week to take buy and sell orders for five cryptocurrency products, four from Grayscale
                                                                    Investments and one from Osprey Funds, effective July 19.Approved funds and serviceThe service allows all JP
                                                                    Morgan
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BCH -6.87%
                                                                    Rahul Pahuja-Coin Crunch India 2021-07-29 02:07 # JP Morgan                                                                                                 # Crypto Funds                     # GBTC




                                                                    Bitcoin Indicators Point to Possible Inevitable Break Above
                                                                    $40K hasResistance
                                                                    Bitcoin  been rejected several times after a push north of the $40,000 mark. At the time of writing, BTC trades
                                                                    at $36,621 with a 3.2% profit in the daily and a 31.9% in the weekly chart.BTC with a strong rally in the daily chart.
                                                                    Source: BTCUSD TradingviewThe sentiment is growing bullish, as Bitcoin continues to tackle the important
                                                                    resistance at key levels. In addition, data from CryptoQuant points towards bullish indicators.Despite an incre

                                                                             BTC -4.68%
                                                                    Reynaldo Marquez-NewsBTC 2021-07-28 22:19 # Bitcoin                                                                                       # Price                # Markets




                                                                    Bitcoin (BTC) Shoots 8% Closing Above 200 EMA, $45,000 In
                                                                    Sight(BTC) up 8% today making another attempt to move past crucial resistance of $40,000. At press time,
                                                                    Bitcoin                         is                                                                                                                                                    its
                                                                    Bitcoin (BTC) is trading at a price of $39,828 with a market cap of $747.Bitcoin has picked up strong momentum
                                                                    amid rumors of Amazon integrating BTC payments. However, Amazon has confirmed that there are no such plans
                                                                    for now but this hasn’t stopped the Bitcoin bulls from raging in. As per popular crypto analyst Lark Davis, Bitcoin h


                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-07-28 08:22 # Bitcoin                                                                                  # 200 EMA                     # Price




                                                                    Crypto Market Breathes Sigh Of Relief, Bitcoin Rises From
                                                                    “Extreme
                                                                    Bitcoin sentiment Fear”
                                                                                      has now begun to move into the positive. The crypto market has recently been in one of                                                                                                                                                                             its
                                                                    longest stretches in extreme fear recently. Now it seems there is light at the end of the tunnel as the market pulls
                                                                    itself out of extreme fear.This is in line with the recent price surge bitcoin experienced following the weekend
                                                                    upturn. Which saw the digital currency’s price push past $36,000 for the first time in over a month.Bitcoin pri

                                                                             BTC -4.68%
                                                                    Best Owie-Bitcoinist 2021-07-28 02:42 # Bitcoin                                                                    # Price




                                                                    Bitcoin To Reach New All-Time Highs, Market Strategist
                                                                    Market strategist Michael Lee says that he sees bitcoin reaching new all-time highs. Lee was on Fox Business
                                                                    Monday in an interview to talk about his outlook on bitcoin. Lee is the founder of investment firm Michael Lee
                                                                    Strategy which offers wealth planning and investment management to clients. Michael Lee Strategy offers its
                                                                    services as an investment adviser representative through Compass Financial.The founder sees a good future
                                                                    ahead for bitcoi
                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-07-27 22:35 # Bitcoin                                                                           # ATH              # Price




                                                                    Goldman Sachs Files                                                                                  for a                    Defi and Blockchain Equity ETF
                                                                    The asset-management arm of the global investment banking giant Goldman Sachs has filed for a new crypto ETF
                                                                    based on securities of crypto-related companies and Defi protocols. The new ETF will be called Innovate Defi and
                                                                    Blockchain Equity ETF. As per the SEC filing on Monday, the firm would invest at least 80% of its assets exclusive
                                                                    of the collateral held from securities lending. The official filing said,“The Index is designed to deliver exposu


                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Prashant Jha-Coingape 2021-07-27 08:35 # Goldman                                                                                # Defi                # ETF




                                                                    How The 55% Bitcoin Correction Revives Comparisons To Past
                                                                    Bull price
                                                                    Bitcoin Cycle trading at more than $25,000 less than the local highs set earlier in the year, and bulls have a
                                                                                                is still
                                                                    lot ofground to reclaim.However, the lost ground might not be so bad after all, as it has brought the current
                                                                    market cycle a lot closer to past bull cycle comparisons, which could shed some light on what’s left for Bitcoin                                                                                                                                                                                 in
                                                                    terms of price action in the months ahead.Bitcoin Collapse Puts Market Cycle On Par With Previous Bull

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-07-27 02:21 # Bitcoin                                                                             # Bull Cycle                        # Price




                                                                    Bitcoin Indicator Forecast Calls For $46K, New All-Time Highs
                                                                    Possible
                                                                    Bitcoin price like a flash of lightning shot up by more than $5,000 in the last 48 to 72 hours, and the forecast just
                                                                    turned from cloudy with a chance of downside to much sunnier days for bulls ahead.In fact, one technical
                                                                    indicator points to at least $46K from here, and shows that there’s very little resistance above this left stopping
                                                                    Bitcoin from continuing to set new all-time highs.The Current Crypto Market Price Action “At A Glance”When mark

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-07-26 21:59 # Bitcoin                                                                             # Price              # Markets




                                                                    Bitcoin Price Forecast: BTC Makes A Massive Run For $40,000 As
                                                                    Investor
                                                                    Bitcoin          Sentiment
                                                                            price breaks out amid a tightShoots      Up aim for recovery above $40,000.Vivid buy signals splashed
                                                                                                          squeeze as bulls
                                                                    within BTC’s short-time frame could sustain the uptrend.Bitcoin price soared by nearly 20% following a massive
                                                                    bullish comeback toward the end of the weekend and the start of the new week’s trading. The bellwether
                                                                    cryptocurrency had already confirmed support above $32,000, allowing bulls to focus on levels heading to
                                                                    $40,000Several res
                                                                             BTC -4.68%
                                                                    John Isige-Coingape 2021-07-26 10:12 # Bitcoin                                                                         # Price             # MACD




                                                                    Amazon News Shoots Bitcoin (BTC) Price By 15%, Over $640
                                                                    Million
                                                                    Bitcoin        has Short
                                                                            (BTC) of   skyrocketedPositions      Liquidated
                                                                                                   15% today moving  the way past $38,500 in a strong bounce back. The news         that                all
                                                                    e-commerce giant Amazon is working to integrate Bitcoin payments at their end has brought all the fireworks.At
                                                                    press time, Bitcoin (BTC) is trading at $38,315 with a market cap of $719 billion. Over $640 million of short
                                                                    positions have been liquidated in just the last one hour. Citing data from Bybt.com, Chinese journalist Colin Wu
                                                                    repor
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  ADA +0.87%
                                                                    Bhushan Akolkar-Coingape 2021-07-26 03:56 # Bitcoin                                                                                  # Amazon                      # Payments




                                                                    Futures Weekly Wrap (July 19th-26th): Bitcoin Hits a Fresh 6-
                                                                    WeekbullsHigh
                                                                    Bitcoin          After a Rollercoaster
                                                                              have re-established dominance of the market Week
                                                                                                                           in the past week as Bitcoin moved within striking
                                                                    distance of $40,000 - its highest mark in almost six weeks. Bitcoin’s resurgence preceded a bad start to the week
                                                                    which saw prices dipping below $30,000. On Tuesday (July 20th), a fresh wave of selling hit the crypto market
                                                                    causing Bitcoin to fall over 3% to a low of $29,300. However, the bulls intercepted the move and turned the tide
                                                                    after
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  AXS +0.99%
                                                                    Binance Futures 2021-07-26 01:50




                                                                    Amazon To Integrate Bitcoin Payments And Launch Its Own
                                                                    Token
                                                                    The rumors By   2022, might
                                                                               that Amazon  Insider
                                                                                                be dabbingConfirms
                                                                                                           into Bitcoin and crypto payments are strengthening. The e-commerce
                                                                    titan is looking for a Digital Currency and Blockchain Product Lead, according to a job posted on their website.As
                                                                    Bitcoinist reported, Amazon wants someone with the capacity to “innovate within the payments and financial
                                                                    system” and would be part of their Payments Acceptance & Experience Team.In collaboration with other
                                                                    departments, the cry
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  ADA +0.87%
                                                                    Reynaldo Marquez-Bitcoinist 2021-07-25 21:52 # Amazon                                                                                          # Payments                  # Bitcoin




                                                                    Bitcoin Price Breaks 7-month long RSI channel, Will BTC Move
                                                                    Past (BTC)
                                                                    Bitcoin $35K?
                                                                               price gained another 5% over the past 24-hours to rise to a new daily high of $33,943. The top
                                                                    cryptocurrency has been consolidating under $40K for more than two months now, failing to solidify its position
                                                                    above $35K despite a couple of breakouts. BTC might be looking for a strong trend reversal as it has broken out                                                                                                                                                                                       of
                                                                    the daily RSI channel after 7-months. #Bitcoin DAILY RSI channel has been broken! — BitParabolic
                                                                    (@BitParabolic) J
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-07-25 01:42 # Bitcoin                                                                          # Price                # RSI




                                                                    This Bitcoin Indicator Might Suggest Bull Run                                                                                                                                                                         Is Still                   On
                                                                    The MVRV ratio, a Bitcoin indicator, might suggest that the                                                                                                   current bull run isn’t over, and the price of the crypto is
                                                                    yet to peak.The MVRV Ratio Indicates The Cycle Isn’t Over                                                                                                     YetAs pointed out by a Crypto Quant post, past cycles
                                                                    seem to follow a specific pattern on the MVRV charts. This                                                                                                    might suggest that the current bull run hasn’t peaked
                                                                    yet.MVRV stands for “Market Value to Realized Value”. The                                                                                                     ratio is defined as Bitcoin’s market capitaliza

                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-07-24 08:00 # Bitcoin                                                                                    # Bull




                                                                    BTC Price Today: Bitcoin Breaks 65 Day Falling Wedge Pattern,
                                                                    Is Ithas Another
                                                                    BTC                     Fakeoff lowsOut?
                                                                             revived nearly 15%           set this weekBTC price has been halted at major resistance zone200MA
                                                                    continues to hold price downDaily BTC Price OverviewAfter nearly 3 months of sideways price action throughout
                                                                    the market, BTC price is showing signs that a potential trend change is underway. Ever since BTC fell from its high
                                                                    of $64,000, price action has been very choppy with no set trend. This has formed many different price patterns but
                                                                    each
                                                                             BTC -4.68%
                                                                    Domenic-CoinGape 2021-07-24 01:03 # Bitcoin                                                                       # Price                 # 200MA




                                                                    Why This Crypto Analyst Is Betting Big On the Future of
                                                                    Ethereum
                                                                    Post              (ETH) of owning Ethereum (ETH), the world’s second-largest cryptocurrency
                                                                         Elon Musk’s comments                                                                               has surged
                                                                    more than 10% in the last 36 hours. At press time, Ethereum is trading 4.70% up moving above its crucial
                                                                    resistance of $2000.Although Ethereum has corrected more than 50% from its all-time high, analysts are still
                                                                    positive about its future. Popular crypto analyst Lark Davis explains why he is so optimistic citing multiple bull-
                                                                    case scenarios.C
                                                                             ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-07-23 08:20 # Ethereum                                                                                           # Analyst             # Price




                                                                    MSN Money Dubs Cardano A Strong YTD Performer
                                                                    In a gesture of mainstream acknowledgment, MSN Money posted an article on Cardano today, saying investors
                                                                    should hold ADA. This statement was based on Cardano’s YTD performance and its price resilience during the
                                                                    recent downturn.With developments moving quickly, including the latest Catalyst Fund5 vote currently open, it
                                                                    won’t be long before a fully-fledged Cardano-based ecosystem is in full swing.Project Catalyst refers to the in-
                                                                    house mechanism
                                                                             ADA +0.87%
                                                                    Samuel Wan-Bitcoinist 2021-07-23 02:16 # MSN Money                                                                                    # Alonzo                    # Cardano




                                                                    Ethereum Price Could Go Up Over 860% To Break $10,000,
                                                                    CryptovalueAnalyst
                                                                    Ethereum     has taken some hits in the past few months as the coin has since significant losses in the price
                                                                    after the digital asset had hit its all-time high back in May. The price of ethereum had gone as high a $4,300, but
                                                                    the price has since crashed over 50% since then and now sits at less than $2,000 at the time of this
                                                                    writing.Notwithstanding, crypto analyst and trader Kaleo predicts that the price of ETH is set to grow immensely                                                                                                                                                                                           in
                                                                    the n
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-07-22 22:51 # ETH                                                                         # Ethereum                      # Price




                                                                    Bitcoin Price Prediction: BTC Strong Technicals and
                                                                    Fundamentals
                                                                    Bitcoin                   Flop from
                                                                            price remarkably ascended   At Critical        Resistance,
                                                                                                             levels under $30,000                 Delaying
                                                                                                                                   but stalled slightly           Recovery
                                                                                                                                                        above $32,000.A falling wedgeTo
                                                                    $40,000
                                                                    pattern adds credence to the bullish outlook, but key resistance stands in the way of recovery.Elon Musk’s
                                                                    founded Space Company, SpaceX owns Bitcoin.Bitcoin price bulls displayed the strength of their muscles on
                                                                    Wednesday, pulling up from areas under $30,000 to daily highs                                                                                                             of    $32,807. The recovery started as                                            a     reflex action
                                                                    to the decli
                                                                             BTC -4.68%
                                                                    John Isige-Coingape 2021-07-22 08:04 # Bitcoin                                                                         # Price




                                                                    Inter Milan Announces Socios (Chiliz) As New Main Sponsor For
                                                                    21/22
                                                                    In a further Season
                                                                                 sign of mainstream acceptance, Inter Milan has announced Socios, which operates on the Chiliz
                                                                    blockchain, as its new main shirt sponsor. This ends a 26-year partnership with outgoing main sponsor Pirelli.Part
                                                                    of the Socios deal will see the launch of the new fan token, $INTER. The club hopes this will boost the fan
                                                                    experience for their supporters around the world.Inter Milan Wanted More MoneyDuring the 20/21 Serie A
                                                                    campaign, Inter M
                                                                             CHZ -7.55%
                                                                    Samuel Wan-Bitcoinist 2021-07-22 03:59 # Chiliz                                                                        # Socios                  # Inter Milan




                                                                    Bitcoin Volume Continues To See Yearly Lows As Price Struggles
                                                                    To Recover
                                                                    Bitcoin’s seven-day average trading volumes have continued to remain low, as the seven-day average trading
                                                                    volumes only reaching $3 billion. This comes on the heels of the digital asset seeing declining volatility in the
                                                                    market. The bitcoin trading market had seen a marked shift in trends as the average trading volumes remain at
                                                                    yearly lows.This trend follows the trend seen in trading volumes from last summer. Bitcoin volume had also
                                                                    remained low
                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-07-22 01:53 # Bitcoin                                                                           # Volume




                                                                    B-Word Conference Live Updates – Musk reveals SpaceX owns
                                                                    Bitcoin      (BTC)much-awaited B-Word conference currently live and underway with Elon Musk revealing and
                                                                    Source: TwitterThe                                                                                                                                is
                                                                    confirming many speculations. Musk revealed SpaceX also owns Bitcoin on its balance sheet along with Tesla and
                                                                    himself. Musk also revealed that he owns Ether, Dogecoin along BTC in his portfolio. Musk also said he is an
                                                                    “overall supporter of Bitcoin.” He also talked about the controversial pumpand dump topic saying, “I might pump,
                                                                    but I d
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  DOGE -7.02%
                                                                    Prashant Jha-Coingape 2021-07-21 22:39 # B-Word                                                                               # Elon Musk                         # Bitcoin




                                                                    The B-Word Conference Starts in Few Hours, Here’s What to
                                                                    ExpectTwitterThe highly anticipated B-Word Conference set to start later today at 9 am PDT. The conference
                                                                    Source:                                                                                                                                                      is all
                                                                    is Bitcoin centered where some of the most notable names in the crypto field would discuss possible ways in
                                                                    which institutions can incorporate Bitcoin in their system. The conference would offer a live experience and a
                                                                    library of content to the investor community. The event is completely virtual with pre-recorded conversations and                                                                                                                                                                                               i




                                                                             BTC -4.68%                                                           DOGE -7.02%
                                                                    Prashant Jha-Coingape 2021-07-21 09:41 # Bitcoin                                                                          # he B-Word                            # Jack Dorset




                                                                    World’s First Resort NFT Begins Auction, Allows Individuals to
                                                                    Invest
                                                                    LABS             Hotels blockchain property investment platform, began auction of the world’s first-ever
                                                                         Group, inan end-to-end                                                                                                                                                                                    its
                                                                    community-owned resort and rewarding timeshare (RTS) non fungible token on July 15, 2021.Kunang Kunang
                                                                    Glamping Resort, the brand new resort located in Banyuwangi, Indonesia, is developed and operated by LABS
                                                                    Group partner Gravity Resorts.The resort NFT ownership will tokenize and fractionalize the entire resort into 365
                                                                    RTS-NFTs, and ea
                                                                             ETH -7.64%
                                                                    Bitcoinist 2021-07-21 07:00 # NFT                                                    # LABS Group                        # RTS




                                                                    Bitcoin (BTC) Secures Position Above $30,000
                                                                    After taking a nosedive under $30,000 on Tuesday, July 20, Bitcoin (BTC) is back once again securing its crucial
                                                                    support. At press time, the BTC price is up 3.59% at $30,694, and a market cap of $575 billion.The world’s largest
                                                                    cryptocurrency has been showing highly volatile performance over the last few weeks, and thus it will be prudent
                                                                    to not make any fresh entry at this point. Some traders expect more pain ahead for Bitcoin as it has been con

                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-07-21 02:15 # Bitcoin                                                                                  # Price                # Markets




                                                                    After 3 Months In The Red, Why Bitcoin Is The Crypto Market’s
                                                                    Image by:Performer
                                                                    Best      Terry Vlisidis UnsplashBitcoin broke below support zones and trades around
                                                                                                                                      -                  yearly open after                                                its                                                                                  its
                                                                    another massive selloff. At the time of writing, the first cryptocurrency by market cap trades at $29,605 with an
                                                                    11.2% loss in the weekly chart.BTC moving sideways on its yearly open in the daily chart. Source: BTCUSD
                                                                    TradingviewThe crypto market has followed Bitcoin, except for a handful of coins, and the top ten sit on more
                                                                    pronounc
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Reynaldo Marquez-NewsBTC 2021-07-20 22:43 # Bitcoin                                                                                       # Markets                  # Cryptocurrency




                                                                    Will The B Word Conference Spark Next Bull Run? Elon & Jack
                                                                    to debate
                                                                    Elon              Bitcoin inLive
                                                                         Musk will be participating the upcoming Live broadcast about Bitcoin, at the B-Word conference on 21st
                                                                    July. This could potentially either spark a bullish fluctuation on the Bitcoin (BTC) charts or could very easily result
                                                                    in otherwise.Musk could trigger a bull or bearTesla’s CEO has been a force of fluctuation in the crypto market.
                                                                    Musk’s influencer marketing has been causing the crypto sphere to become more volatile than ever. Especiall

                                                                             BTC -4.68%                                                           DOGE -7.02%
                                                                    Palak Malhotra-Coingape 2021-07-20 07:00 # Elon Musk                                                                                      # B-Word                  # Bitcoin




                                                                    Rothschild Investment Purchased Over 100K Shares of
                                                                    Grayscale
                                                                    The              Bitcoin
                                                                        GBTC unlock has           Trustbuzz (GBTC)
                                                                                        created a major      in the crypto Last    Quarter
                                                                                                                            space over the last week weeks about how            shall affect                                                                                                                                        it

                                                                    the price of Bitcoin (BTC). However, it turns out that institutional players continue to have an interest in Grayscale
                                                                    crypto products.As per the SEC filing on Monday, July 19, Chicago-based institutional player Rothschild
                                                                    Investment reportedly purchased over 100K shares of the Grayscale Bitcoin Trust (GBTC) during the last quarter
                                                                    i.e.

                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-07-20 01:37 # Rothschild                                                                                         # GBTC               # ETHE




                                                                    Billionaire Tim Draper Is Unfazed By Market Downtrend,
                                                                    Doubles       Down
                                                                    Bitcoin not new          On $250,000
                                                                                    to enthusiasts
                                                                                    is             setting high priceBitcoin
                                                                                                                      targets and Price
                                                                                                                                  forecasts Target
                                                                                                                                            that seem wild. In this vein, Tim Draper,
                                                                    who has always been a strong bitcoin advocate has been one of those giving the digital asset a high price target.
                                                                    Back in 2018, the billionaire had made a price prediction that seemed to most an outrageous forecast.This was
                                                                    mostly due to the fact that at the time that Draper made the predictions, the price of bitcoin was still at

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-07-19 22:26 # Bitcoin                                                                           # Tim Draper                         # Target




                                                                    Michael Sonnenshein, Grayscale CEO says Bitcoin ETF is a
                                                                    matter             ‘When’
                                                                    Grayscale CEO,of Michael       not ‘If’optimistic about Bitcoin ETF’s future in the US. He has commented
                                                                                             Sonnenshein                                                                 is       saying
                                                                    that institutional investors who have their Bitcoin deposits in the GBTC funds are now insisting on an authorized
                                                                    ETF. Grayscale is now preparing to get the final approval from the government.Talking about the status of Bitcoin
                                                                    ETFs in the US Sonnenshein said it’s the matter of “when” rather than “if.”“A Bitcoin ETF here in the US is rea

                                                                             BTC -4.68%
                                                                    Palak Malhotra-Coingape 2021-07-19 09:55 # Bitcoin ETF                                                                                     # Grayscale                     # SEC




                                                                    4   Reasons Why The Bitcoin Lightning Network Will Continue To
                                                                    Grow
                                                                    The  Bitcoin second layer payment protocol Lightning Network has been exponentially increasing capacity                                                                                                                                                 its
                                                                    during the past years. Since it was launched in 2018, the network’s capacity has gone from under 1,000 BTC to
                                                                    1,800 BTC.The Lightning Network was first proposed in 2015 and operates with payment channels to allow users to
                                                                    send and receive faster and cheaper transactions than on Bitcoin’s base layer. These transactions are processed
                                                                    “off-chai
                                                                             BTC -4.68%
                                                                    Reynaldo Marquez -Bitcoinist 2021-07-19 06:11 # Bitcoin                                                                                    # Network




                                                                    Futures Weekly Wrap (July 12th-19th): Bitcoin Falls to a 3-Week
                                                                    Low sentiments
                                                                    Bearish - Will the    $30,000
                                                                                    continue to weigh onLevel      Hold
                                                                                                         Bitcoin after       or Give Way?
                                                                                                                       the cryptocurrency failed to breach $35,000 last week.
                                                                    Bitcoin bears remain the dominant force as they drove BTC’s prices south to a new three-week low. Bitcoin’s price
                                                                    fell to a low of $31,000 in the past week, its lowest price point in July. With the bears still looming, the crypto
                                                                    market is in dire need of a fresh catalyst to surpass this range and create a new upswing. Without catalysts, B

                                                                             BTC -4.68%                                                           ETH -7.63%                                                  BNB -7.27%
                                                                    Binance Future 2021-07-19 03:20 # Binance                                                                  # Bitcoin                 # Ethereum




                                                                    Bitcoin mining company Bitfarms increases production by 50%
                                                                    Bitfarms, the North American publicly traded Bitcoin mining company, announced that it has doubled the
                                                                    production this year, especially during the Chinese crackdown on miners.Bitfarms gets 99% of its energy through
                                                                    renewable sources such as green hydroelectricity. It powers 1.5% of the Bitcoin network.In the update, the
                                                                    company revealed that it had mined 1357 BTC during the first 6 months of the year 2021. In January it mined 199
                                                                    BTC, but it rose
                                                                             BTC -4.68%
                                                                    Rahul Pahuja-Coin Crunch India 2021-07-19 02:18 # Bitcoin                                                                                        # Bitfarms




                                                                    ETH Price Analysis: Is It Time For ETH to Break Its Multi Month
                                                                    Channel?
                                                                    ETH price has been stuck in a descending channel for 2 monthsEthereum Bears continue to halt any bullish
                                                                    momentumStochastic RSI is soon primed for a bullish moveEthereum (ETH) Price Overview Ethereum (ETH) is a
                                                                    near mirror of Bitcoins price action the last few months. When the market turns bearish, 99% of the
                                                                    cryptocurrency market often looks nearly exact. A breakout on top coins such as BTC & ETH is needed for a trend
                                                                    to be set for the rest of
                                                                             ETH -7.64%
                                                                    Domenic-CoinGape 2021-07-18 22:04 # ETH                                                                     # Price             # Analysis




                                                                    Major U.S. City Mayor Advocates Bitcoin As A Fix For Inflation
                                                                    U.S. City Mayor Scott Conger recently posted on Twitter his belief that Bitcoin will fix inflation. His tweet which
                                                                    called out the U.S. federal government consisted of a couple of questions for the government regarding inflation.
                                                                    And then ended with there being only one fix for inflation. Bitcoin.It’s no secret that the inflation rate for the U.S.
                                                                    has gone up tremendously these past years. Current forecasts put the inflation rate for the U.S. at

                                                                             BTC -4.68%
                                                                    Best Owie-Bitcoinist 2021-07-18 08:21 # Bitcoin                                                                    # Inflation




                                                                    BTC Price Analysis:                                                                            Is         Bitcoin (BTC) Finally Going To Breakout?
                                                                     BTC price has been fairly flat the last two weeks as volatility has subsided to monthly lowsBTC Price has formed a
                                                                    2 month long falling wedge pattern50 MA has acted as resistance for almost 3 monthsBitcoin (BTC) Price
                                                                    Overview Bitcoin (BTC) price action has been super flat the last 2 months ever since the -50% drop off highs. Bulls
                                                                    and bears have been equally controlling price action which has led to a large sideways consolidation. This has left

                                                                             BTC -4.68%
                                                                    Domenic CoinGape-Coingape. 2021-07-18 04:54 # Bitcoin                                                                                          # Price




                                                                    A Rare Bullish Bitcoin Signal Has Finally Appeared
                                                                    A rare bullish bitcoin signal, the difficulty ribbon compression, has started pumping up for the first time since the
                                                                    bull run started.The Bitcoin Difficulty Ribbon Compression Goes UpAs pointed out by a BTC analyst on Twitter, the
                                                                    difficulty ribbon compression seems to be going up for the first time since the bull run started.The indicator is a
                                                                    measure of the moving averages of bitcoin mining difficulty. The mining difficulty metric can be calcu

                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-07-17 00:07 # Bitcoin bull                                                                                           # Bullish Signal




                                                                    Ethereum (ETH)                                                                 Is         Safe Until                                       It          Sustains This Level
                                                                     The world’s second-largest cryptocurrency Ethereum (ETH) has come under severe pressure recently. On
                                                                    Wednesday, July 14, the ETH price dropped under its crucial support of $2000. At press time, ETH is trading at
                                                                    1.71% down at a price of $1927.We can’t say whether if the downside is limited from here, however, $1800 remains
                                                                    a key level to watch for at the downside. On-chain data provider Santiment reports: “For now, as long as the
                                                                    $1800s hold, we
                                                                             ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-07-16 09:47 # Ethereum                                                                                           # Price




                                                                    Bitcoin Price Forecast: BTC New Bullish Setup Targets $36,000,
                                                                    Here      Arebegins
                                                                    Bitcoin price   Therecovery
                                                                                           Levels      To Watch
                                                                                                at the drawing board as bulls plan another assault eyeing $36,000.A break above
                                                                    $32,000 may trigger massive buy orders in the near term, boosting the bullish effort.A recent death cross pattern
                                                                    could still hinder the expected upswing.Bitcoin price has been underwater for most of this week. However, as the
                                                                    Asian session nears the tail end on Friday, a bullish outlook seems to emerge. This follows formidable support c

                                                                             BTC -4.68%
                                                                    John Isige-Coingape 2021-07-16 04:32 # Bitcoin                                                                         # Price             # Targets




                                                                    Woo Hah!! Busta Rhymes Checks In On Crypto, Eyes Dogecoin
                                                                    The one and only Busta Rhymes joins the ever-growing community of hip hop artists interested in
                                                                    cryptocurrencies. Even though his interest is exploratory so far, the light a star of his caliber can shine over the
                                                                    crypto industry cannot be denied. A person like Busta Rhymes has cultivated an audience over the last few
                                                                    decades and some of them may fall on the crypto rabbit-hole. Of course, his popularity might also come with a few
                                                                    inconveniences at
                                                                             DOGE -7.02%                                                           BTC -4.68%
                                                                    duardo Próspero-Bitcoinist 2021-07-16 02:00 # Dogecoin                                                                                     # Busta Rhymes                             # Cryptocurrency




                                                                    Ethereum Shows Deeply Negative Netflows As Exchange
                                                                    Ethereum netflowsFall
                                                                    Reserves           seem to be negative across exchanges right now, as exchange reserves continue their                        all
                                                                    downward trend.Ethereum Reserves On A DowntrendAs pointed out by a CryptoQuant post, ETH reserves
                                                                    continue with a downward trajectory. The all exchange netflows are also very red.The Ethereum all exchanges
                                                                    reserve is an indicator that shows the total number of coins held in wallets of all exchanges.When the metric goes
                                                                    up in value, it means m
                                                                             ETH -7.64%
                                                                    Hououin Kyouma-NewsBTC 2021-07-15 22:48 # ETH                                                                                  # Netflows                        # Ethereum




                                                                    Solana (SOL) Price Analysis: SOL Price Bulls Need to Break &
                                                                    Hold
                                                                    SOL priceThis
                                                                              has beenMAstruggling
                                                                                            for Ato regain
                                                                                                     Bullish      Reversal
                                                                                                           important resistance marks200MA has held price down for nearly a
                                                                    monthMajor support of $27 kept SOL price from further downsideSolana (SOL) Price OverviewSolana (SOL) price is
                                                                    struggling to gain its footing within its 2 month consolidation zone. Each time it has attempted to break its
                                                                    important resistance zone, bears have came in and smashed price right back down to support. SOL price is a very
                                                                    promising p
                                                                             SOL -6.64%
                                                                    Domenic-CoinGape 2021-07-15 09:47 # Solana                                                                        # Price                 # RSI




                                                                    Axie Infinity Continues to Reach ATHs, Why The Rally Could Be
                                                                    Just by:Getting
                                                                    Image             Started the crypto market has been bleeding out, Axie Infinity (AXS) records a 112%
                                                                             Dim Hou UnsplashWhile                      -

                                                                    rally over the past week and a 14.7% profit in the daily chart. Bears are in disbelief, as this Non-Fungible Token
                                                                    (NFT) based platform continue to gain popularity, users, and moving to the upside.AXS with small profits in the
                                                                    daily chart. Source: AXSUSDT TradingviewAs NewsBTC previously reported, Axie Infinity was inspired by Pokemon
                                                                    and
                                                                             AXS +0.99%                                                           ETH -7.64%
                                                                    Reynaldo Marquez-NewsBTC 2021-07-15 05:32 # Axie Infinity                                                                                              # AXS             # AXSUSDT




                                                                    By The Numbers: How Much                                                                                                                  Is          Tesla                         ‘s      Bitcoin Worth Now?
                                                                    It’s time for another edition of “By The Numbers.” This time, we’ll use a pseudonymous analyst’s numbers to find
                                                                    out if Tesla is in the red when it comes to their Bitcoin holdings. The caveat here is, if bitcoin’s price loses the $30K
                                                                    level, could Tesla’s board pressure Elon Musk into selling? And if they do, would that cause another series of red
                                                                    candles? In any case, we’re just speculating.Let’s stop that and go to the numbers.As you can see, t

                                                                             BTC -4.68%
                                                                    Eduardo Próspero-Bitcoinist 2021-07-15 01:27 # Tesla                                                                                # Bitcoin                    # Price




                                                                    Ethereum Whales Go On Buying Spree, Top 10 Addresses Now
                                                                    Own 20%
                                                                    Ethereum price of Of   All ETH
                                                                                       Ethereum has recently fallen below the $2,000 mark in recent days. While some people may                                                                                                                                                                                         see
                                                                    this as something to be worried about, others see it as an opportunity to buy as many coins as possible. More
                                                                    specifically, whales see this as a big buying opportunity for them and they’re using this dip to fill up on their
                                                                    Ethereum holdings.Data on Santiment shows that the top 10 addresses have upped their holdings by 2% in the
                                                                    past mon
                                                                             ETH -7.64%
                                                                    Best Owie-NewsBTC 2021-07-14 22:00 # ETH                                                                         # Ethereum                      # Whales




                                                                    Brazilian Securities Regulator Approves the First Ethereum
                                                                    (ETH)
                                                                    On Tuesday,ETF
                                                                                July 13,oftheLatin
                                                                                              Brazilian America
                                                                                                         Securities Regulator (CVM) approved the new cryptocurrency exchange-traded
                                                                    fund (ETF) that tracks the performance of Ether digital currency. The QR Asset Management announced the
                                                                    approval of this Ether ETF–QETH11–which shall be listed on the Brazilian Stock Exchange B3. This makes it the
                                                                    first exchange in Latin America to list a 100% Ethereum ETF.To track the performance of Ethereum, QETH11 will
                                                                    follow the CME C
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-07-14 04:21 # Brazil                                                                              # Latin America                            # Ethereum ETF




                                                                    S&P Dow Jones Launches Crypto Broad Digital Market Index
                                                                    The S&P Dow Jones has announced this week the addition of five new crypto indices, including an index that
                                                                    tracks over 240 coins. The indices join legacy financial indicators that have been paramount in the traditional
                                                                    markets, such as the S&P 500 and the Dow Jones Industrial Average.Fabulous FiveThe focal point of the five new
                                                                    indices is the S&P Cryptocurrency Broad Market Digital Index (BDM). This index will seek to provide a broad
                                                                    snapshot of
                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Taylor Scott-NewsBTC 2021-07-14 02:59 # S&P 500                                                                           # Index                     # Cryptocurrency




                                                                    Crypto Cycle Calendar: Will Bitcoin Bottom Or Top This
                                                                    December
                                                                    Markets are cyclical,2021?
                                                                                          and move in a variety of patterns that can often give insight into what phase of a market
                                                                    cycle an asset like Bitcoin might be in.But could time also play an important factor as to when market cycles come
                                                                    to the climax? Evidence suggests that the crypto market is especially sensitive to market timing, and in the past
                                                                    December has marked a distinct top or bottom. If this evidence is correct, and a pattern is potentially vali

                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-07-13 22:19 # Bitcoin                                                                             # Price              # Markets




                                                                    Breaking: Grayscale Selects BNY Mellon as ETF Service Provider
                                                                    for Upcoming
                                                                    Grayscale,                Bitcoin
                                                                               the world’s largest           ETFmanager today announced BNY Mellon, the oldest custody bank as
                                                                                                   digital asset                                                                                                                                                                                                                                                    its
                                                                    ETF service partner when it would convert its popular institutional Bitcoin product GBTC into a Bitcoin ETF. BNY
                                                                    Mellon would act as the asset servicing provider that would offer fund accounting and administration for GBTC
                                                                    until it gets converted to an ETF. The service period would start from October 1st, 2021. We have selected
                                                                    @BNYMell
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-07-13 10:13 # Grayscale                                                                                  # BNY Mellon                         # Bitcoin ETF




                                                                    $2 Trillion Asset Manager, Capital International Group Buys 12%
                                                                    With Microstrategy
                                                                    Of   105,084 BTC on books, MicroStrategy by far the largest business Bitcoin holder on the planet. More than
                                                                                                                            its                                                             is
                                                                    111,000 BTC are held by entities controlled by Michael Saylor.Capital International Group Acquires Part Of
                                                                    MicrostrategyAccording to SEC filings, Capital International Group, a $2.3 trillion asset management based in Los
                                                                    Angeles, declared a 12.2 percent interest in bitcoin-focused MicroStrategy.Capital Group now has a $560 million                                                                                                                                                                                        i




                                                                             BTC -4.68%
                                                                    Anifowoshe Ibrahim-Bitcoinist 2021-07-13 07:09 # Microstrategy                                                                                                # Bitcoin




                                                                    Bitcoin’s (BTC) Correlation With S&P 500 Turns Negative for the
                                                                    First (BTC)
                                                                    Bitcoin Timecontinues
                                                                                     In 2021
                                                                                          to show volatility while trading in a closed range between $30,000-$35,000. At press time,
                                                                    Bitcoin is down 3.88% trading at $33,142 with a market cap of $620 billion.As BTC continues to trade under
                                                                    pressure, it has now entered into a negative correlation with the S&P 500 (INDEXSP: .INX) index. As a result,
                                                                    there’s a sharp divergence between the world’s largest cryptocurrency and the largest equity index.Courtesy:
                                                                    KaikoThis
                                                                             BTC -4.68%
                                                                    Bhushan Akolkar-Coingape 2021-07-13 02:59 # Bitcoin                                                                                  # S&P 500                     # Correlation




                                                                    Why The Next 60 Days In Bitcoin (BTC) Could Be Wild
                                                                    Bitcoin could retest the lows of its current range as its price trends to the downside. At the time of writing, BTC’s
                                                                    trades at $32,277 with a 2.3% loss in the daily chart. Investors and traders wonder if these levels will hold as bulls
                                                                    seem to lack conviction in lower timeframes.BTC trends downwards in the daily chart. Source: BTCUSD
                                                                    TradingviewTrader Josh Rager highlighted that Bitcoin has been moving sideways lately. The cryptocurrency has
                                                                    exp
                                                                             BTC -4.68%
                                                                    Reynaldo Marquez-NewsBTC 2021-07-12 23:18 # Bitcoin                                                                                       # Price                # Markets




                                                                    Breaking: Grayscale’s $GDLC Fund is now an SEC Reporting
                                                                    Company
                                                                    Grayscale’s Digital Large Cap Fund ($GDLC) has become an SEC reporting company making more attractive for                                                                                                                                  it

                                                                    regulatory-focused institutional investors. Grayscale filed for the Registration Statement on Form 10 with the SEC
                                                                    to obtain the regulatory clearance. The digital asset management firm also revealed that they have filed three
                                                                    additional Registration Statements for its Bitcoin Cash (BCH) Trust, Litecoin (LTC) Trust, and Ethereum Classic (ET

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  LTC -7.52%
                                                                    Prashant Jha-Coingape 2021-07-12 10:02 # Grayscale                                                                                  # SEC              # GDLC




                                                                    TA: Bitcoin Prints Bullish Pattern, Why Close above $35K                                                                                                                                                                                                             Is
                                                                    Crucial
                                                                    Bitcoin price started a fresh increase from the $32,250 support zone against the US Dollar. BTC must   settle above
                                                                    the $35,000 resistance to move further into a bullish zone.Bitcoin started a fresh increase above the $33,500 and
                                                                    $34,000 resistance levels.The price is now trading above the $34,000 support and the 100 hourly simple moving
                                                                    average.There is a major bullish trend line forming with support near $34,000 on the hourly chart of the BTC/USD

                                                                             BTC -4.68%
                                                                    Aayush Jindal-NewsBTC 2021-07-12 04:31 # Bitcoin                                                                              # Price                 # Analysis




                                                                    Futures Weekly Wrap (July 5th-12th): Bitcoin Volatility Dampens
                                                                    as Prices
                                                                    Bitcoin continues Struggles
                                                                                       to tread water overUnder      $36,000
                                                                                                           the past couple of weeks as prices remain anchored under $36,000. Bitcoin                                                                                                                                                                                           is
                                                                    currently stagnant at $34,000, trading far below both long-term and short-term moving averages (50, and 200),
                                                                    indicating continued negative sentiment. The absence of any major catalysts makes every minor movement
                                                                    susceptible to a selloff, resulting in less volatility and a higher likelihood of staying within these present levels. The

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Binance Futures 2021-07-12 01:34 # Binance                                                                   # Bitcoin                   # Futures




                                                                    ETH Price Analysis: Ethereum (ETH) Bulls Need to Hold this Key
                                                                    Support
                                                                    ETH            to Avoid
                                                                        price has been respecting Further
                                                                                                  a descending Price
                                                                                                               channel forCrash
                                                                                                                           over a monthETH Price just rejected off 50 Day MAETH
                                                                    price is about to break major support of $2100ETH Price OverviewETH price had a strong uptrend in place the last
                                                                    2 weeks but it quickly came to a halt after getting rejected at two very important marks. After hitting its high of
                                                                    $4,500, ETH price has been in a strong downtrend along with the rest of the cryptocurrency market. Investors are

                                                                             ETH -7.64%
                                                                    Domenic-CoinGape 2021-07-11 09:26 # Ethereum                                                                             # Bulls                 # Price




                                                                    This Country Could Make Bitcoin a Legal Tender After El
                                                                    Salvador
                                                                    El Salvador, the small Latin American state created history in June after became the first country to pass Bitcoin                                                                             it

                                                                    as a legal tender. The Bitcoin Bill was passed by the country’s congress with a resounding majority and the
                                                                    President assured the decision was no gimmick. Now El Salvador could be joined by another Latin American
                                                                    nation in its quest to make Bitcoin a legal tender.Paraguay, another small central American nation is all set to
                                                                    introd
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-07-10 10:02 # Paraguay                                                                               # Legal Tender                            # Bitcoin




                                                                    Analyst Predicts Key Event                                                                                                      to              Spot End Of Bull run
                                                                    Bitcoin’s (BTC) price consolidation phase is getting longer as each weekend market crash is followed by another
                                                                    week of consolidation. The top cryptocurrency has been moving in the price range of $30K-$40K for almost two
                                                                    months now. As bearish sentiment continues to dominate the market, crypto analyst CrediBull Crypto suggested
                                                                    the bull run is not over yet. The analyst predicted Bitcoin will hit a new all-time low in market dominance before
                                                                    the b
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-07-09 10:32 # Analyst                                                                              # Bull            # Bitcoin




                                                                    Is  There More Pain Ahead for Ethereum (ETH) Holders? Key On-
                                                                    Chain
                                                                    The broaderMetrics      To Watch
                                                                                market correction on Thursday,Out
                                                                                                               July has resulted in a severe bloodbath in the altcoin space. The                        8,
                                                                    world’s second-largest crypto Ethereum (ETH) is down nearly 10% in the last 24-hours moving closer to its crucial
                                                                    support of $2000 levels.The ETH price bounced more than 20% from its $1750 lows in June end. Two days back
                                                                    before the recent correction, the ETH price made a momentary spike above $2400 levels. A bearish signal on the
                                                                    techni
                                                                             ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-07-09 00:04 # Ethereum                                                                                           # Holders                 # EIP-1559




                                                                    Bitcoin Exchange Netflows Are Negative, Could A Bull Run Be
                                                                    Coming?
                                                                    Bitcoin shows negative exchange netflows on CryptoQuant charts recently, an indicator that a bull run might be
                                                                    coming soon.Negative Exchange NetflowsBitcoin exchange netflow is an indicator that highlights whether more
                                                                    BTC is moving into exchanges than out.A more technical definition of the term is that it’s the difference of the
                                                                    exchange inflows and outflows.Exchange Netflow = Inflow – OutflowThe exchange inflow is just the amount of
                                                                    BTC transfe
                                                                             BTC -4.68%
                                                                    Hououin Kyouma-NewsBTC 2021-07-08 10:10 # Bitcoin                                                                                    # Netflows                     # Bull




                                                                    Argentine Lawmaker Proposes Bill for Businesses to Pay
                                                                    Employees
                                                                    Independent         JoseCrypto
                                                                                deputy in    Luis Ramon said his would promote greater autonomy and self-governance for                          bill
                                                                    Argentina's citizens.An Argentine lawmaker wants to let employees receive their salaries in
                                                                    cryptocurrencies.Congressman José Luis Ramón presented a bill to allow employees and service exporters to
                                                                    receive their full or partial salary in cryptocurrencies on Monday. According to Ramón, the idea behind his project
                                                                    is that “Argentines can strength

                                                                             BTC -4.68%
                                                                    Andrés Engler-Coindesk 2021-07-08 00:43 # Argentine                                                                                 # Bitcoin                    # Pay




                                                                    Ethereum (ETH) Price Hits 3-week High As ETH 2.0 Staking
                                                                    Crosses(ETH)$13
                                                                    Ethereum           Billion
                                                                                 price hit          Milestone
                                                                                           a new 3-week high of $2,409 earlier today as the second-largest cryptocurrency starts
                                                                    building bullish momentum in the run-up to the London Hardfork. The upcoming hardfork would implement key
                                                                    changes to the Ethereum network including EIP-1559 that promises to resolve the critical gas fee problem. The
                                                                    gas fee on the Ethereum network has started to grow again reaching near 100.The current gas fee rise is being
                                                                    attributed to
                                                                             ETH -7.64%
                                                                    Prashant Jha-Coingape 2021-07-07 20:05 # ETH 2.0                                                                              # Staking                 # Ethereum




                                                                    DeFi Market Sees Strong Bounce Back, COMP and AAVE woo
                                                                    Institutions
                                                                    While investors have been carefully observing the recent comeback of Ethereum (ETH), isn’t prudent to miss out                                                                                                                        it

                                                                    on the rally in the DeFi space. Over the last week, the DeFi market has resumed its northward trajectory once
                                                                    again.As we can see from the below chart, the DeFi market has added more than $15 billion in the last seven. The
                                                                    overall DeFi market cap has surged closer to $80 billion.Some of the top-performing DeFi coins contributing to th

                                                                             ETH -7.64%                                                           AAVE -7.71%                                                      COMP -4.58%
                                                                    Bhushan Akolkar-Coingape 2021-07-07 01:42 # DeFi                                                                               # Institutions                       # Markets




                                                                    Bitcoin Eyes $36K As Wyckoff Level As Altcoins Prepare To
                                                                    ASurge
                                                                      trader forecasts that conditions are converging to a new Wyckoff level, bringing new strength among altcoins,
                                                                    which suffered disproportionately as Bitcoin momentarily fell below $30,000.Wyckoff Level Is Critical For BullsOn
                                                                    July 6, Bitcoin (BTC) was heading towards a critical Wyckoff level, as BTC price movement piqued traders’ interest
                                                                    in an altcoin rally.BTC/USD was up 4.6% on Tuesday, according to data from TradingView, compared to the previ


                                                                             BTC -4.68%                                                           ETH -7.64%                                                  AAVE -7.71%
                                                                    Anifowoshe Ibrahim-NewsBTC 2021-07-06 09:03 # Bitcoin                                                                                          # Wyckoff Level                           # Matkets




                                                                    Breaking: $55 Billion London Hedge Fund                                                                                                                                                              to          Invest                    in     Crypto
                                                                    A London Hedge Fund with $55 billion in assets under management has become the latest institution to enter the
                                                                    crypto market, reported Financial Times. The hedge fund is looking to invest in blockchain technology and
                                                                    payment systems for cryptocurrencies as well as stablecoins.Marshall Wace, the London-based institutional
                                                                    investment firm is reportedly looking to launch a private portfolio that will invest in digital finance companies.
                                                                    Wace might b
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-07-06 08:45 # Crypto                                                                           # Hedge Fund                             # Marshall Wace




                                                                    Bitcoin Whales Accumulate 60,000 Bitcoins In A Day. What
                                                                    Happens
                                                                    Bitcoin          Now?
                                                                            whales have resumed accumulating coins in what has turned out to be the biggest Bitcoin accumulation
                                                                    event in 2021. A number of Bitcoin whales addresses that currently hold a number of 100 to 10,000 bitcoins in their
                                                                    wallet accumulated over 60,000 bitcoins in a single day.Lately, Bitcoin has been sluggish in the market due to a
                                                                    high number of sell-offs and not enough people buying back in the coin. But over the past six weeks, the whale w

                                                                             BTC -4.68%
                                                                    Best Owie-NewsBTC 2021-07-05 22:56 # Bitcoin Whales                                                                                       # Price                # Markets




                                                                    Bitcoin Exchange Supply Ratio At 6-month Low, What Does                                                                                                                                                                                                                             It
                                                                    Meanpriceforconsolidation
                                                                    Bitcoin         BitcoinunderPrice?
                                                                                                  $35k entered a new week after failing to hold onto gains above $35K                                                                                                                           its
                                                                    yesterday. The top cryptocurrency recorded a daily high of $35,939 before retracing to sub-$34k levels again. The
                                                                    price of the top cryptocurrency has moved in the range of $30k-$40k since the market mayhem in May that saw
                                                                    nearly half of the crypto market valuation get wiped off.Recent data from Santiment analytics shows the Bitcoin
                                                                    exchange f
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-07-05 09:47 # Bitcoin                                                                          # Supply Ratio                           # Price




                                                                    Futures Weekly Wrap (June 27th - July 5th): Bitcoin Eyes
                                                                    $40,000
                                                                    Bitcoin        Targetone of weakest first-half performances since 2018, gaining just over 20% in 2021. In
                                                                            (BTC) delivered                                                            its
                                                                    previous years, the bellwether cryptocurrency had surged 27% and 187% in the first halves of 2020 and 2019,
                                                                    respectively. June saw Bitcoin suffer its third straight month of losses. Although June's monthly candle was not as
                                                                    devastating as the one from May, which historically was one of its worst on record, most investors are still reel

                                                                             BTC -4.69%                                                           ETH -7.63%                                                  ADA +0.91%
                                                                    Binance Futures 2021-07-05 01:16 # Bitcoin                                                                 # Ethereum                          # Cardano




                                                                    BTC Price Analysis: Bitcoin Nears Breakout of 46 Day Channel,
                                                                    BTC priceBTCstuckPrice
                                                                    Will                        Break
                                                                                       in a range
                                                                                         is       for nearly$42,000
                                                                                                             6 weeksRSI Resistance?
                                                                                                                         currently breaking 177 day trend line50MA has been                                   is
                                                                    resistance for nearly 2 monthsBitcoin and the broader cryptocurrency market have been stuck within a range for
                                                                    nearly a month and a half. This has lead many investors and traders to boring times compared to the previous 6
                                                                    months of the market movement. This is completely normal and expected after such a bullish trend that was seen
                                                                    since March
                                                                             BTC -4.68%
                                                                    Domenic CoinGape-Coingape 2021-07-05 00:43 # Bitcoin                                                                                       # Analysis                    # Price




                                                                    Bitcoin Whale Accumulation Sees a Sharp Spike as Bitcoin
                                                                    Flashes
                                                                    Bitcoin         Rare Buy
                                                                            price continues       Signalunder $35K with strong support at $33K. However, whale addresses
                                                                                            consolidation                             its
                                                                    holding 1k-10k BTC have registered a sharp spike, indicating a significant spike.Source: GlassnodeThe top
                                                                    cryptocurrency also registered a 5% rise in price over the past 24-hours, rising from a daily low of $32,893 to a
                                                                    daily high of $34,748. BTC has moved in the price range of $30K-$40k for the majority of the past two months after
                                                                    seeing a
                                                                             BTC -4.68%
                                                                    Prashant Jha-Coingape 2021-07-04 08:18 # Bitcoin                                                                          # Whale                     # Wyckoff




                                                                    Ethereum Upgrades Could Jumpstart $40 Billion Staking
                                                                    Industry,
                                                                    Ethereum       JP could
                                                                             upgrades   Morgan
                                                                                            jumpstart a $40 billion staking industry, according to a JP Morgan report. JP Morgan
                                                                    estimates that the staking industry is currently worth $9 billion and that this number could balloon to $40 billion
                                                                    by 2025.The report speculates that the launch of ETH 2.0 would lead to more adoption of the coin and could
                                                                    increase staking payouts to $20 billion in the first years of the launch. While $40 billion is a number that could be

                                                                             ETH -7.64%
                                                                    Best Owie-NewsBTC 2021-07-03 10:23 # ETH 2.0                                                                           # JP Morgan                          # Staking




                                                                    Cardano(ADA) Price Jumps 7% Post-Grayscale Addition, 71%
                                                                    Circulationthe fifth-largest
                                                                    Cardano(ADA),   Supply cryptocurrency
                                                                                                 Staked by market cap has seen a 7% rise in price over the past 24-                                                                                                                            its
                                                                    hours especially after Grayscale added it to their popular Digital Large Cap Fund with the third-highest allocation.
                                                                    The price of ADA was trading at $1.40 at the time of writing, rising from a daily low of $1.29.Source:
                                                                    TradingViewCardano is currently in a very important transition phase moving towards smart contract integration,
                                                                    schedule
                                                                             ADA +0.87%
                                                                    Prashant Jha-Coingape 2021-07-03 05:13 # Cardano                                                                               # Grayscale                        # Alonzo




                                                                    Ethereum (ETH) Exchange Data & Whale Behaviour Suggest
                                                                    Further
                                                                    With           Rallyto $2200
                                                                         a brief recovery  Ahead.        Buy thistheweek,Dips?
                                                                                                 levels earlier           Ethereum facing a strong pullback amid broader market                                                                    is
                                                                    volatility. At press time, ETH is trading over 8% down at $2033 with a market cap of $239 billion. However, on-chain
                                                                    data suggests that this could be a good opportunity to stack up more ETH coins in the wallet.As per on-chain data
                                                                    provider Santiment, the ETH supply at exchanges has hit a near 3-year low. The ETH exchange supply has dr

                                                                             ETH -7.64%
                                                                    Bhushan Akolkar-Coingape 2021-07-02 08:10 # Ethereum                                                                                           # Whale              # Dips




                                                                    Bitcoin May Hit $250,000, This Analyst Predicts An Incredible
                                                                    Price ofSurge
                                                                    Because    volatility, the Bitcoin market a new market every day. The outcome always surprising, no matter
                                                                                              its                                                                                     is                                                                                                       is
                                                                    how well one predicts the future. This time, though, the situation appears to be a little different, since Bitcoin may
                                                                    have just verified top analysts’ notion. BTC’s price increased on the 4-hour chart, and it also performed well on
                                                                    other time frames.The Wolf of All Streets SpeaksThese were the thoughts of Scott Melker, called “The

                                                                             BTC -4.68%
                                                                    Anifowoshe Ibrahim-NewsBTC 2021-07-02 01:12 # Bitcoin                                                                                          # Markets                  # Analyst




                                                                    Bitcoin Price Forecast: What Next For BTC If Bulls Secure This
                                                                    Crucial
                                                                    Bitcoin        Support?
                                                                            price retests support at $34,000 after rejection at $36,000.The transaction history model reveals robust
                                                                    support roughly at $34,000.Bitcoin price deals with an influx of selling orders on Thursday and toward the end of
                                                                    the Asian session. The recent rejection from slightly above $36,000 saw overhead pressure hover continuously
                                                                    while BTC sort higher support.When writing, the pioneer cryptocurrency trades at $34,250 while dancing between
                                                                    two
                                                                             BTC -4.68%
                                                                    John Isige-Coingape 2021-07-01 08:43 # Bitcoin                                                                         # Bulls             # Markets




                                                                    Analyzing The Critical Bitcoin June 2021 Monthly Close
                                                                    Today, June 30 marks the last day of the month, and after around 8PM ET the Bitcoin monthly candle will come to
                                                                    a close. This monthly candle isn’t anywhere as damaging as this past May, which historically was one of the worst
                                                                    on record.However, there’s no denying that this month was also still fairly nasty and has left the market in a state
                                                                    of indecision. Here’s what past moments of indecision say about the current market cycle, and what could co


                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Tony Spilotro-NewsBTC 2021-06-30 23:00 # Bitcoin                                                                             # Markets




                                                                    On-Chain Metrics: DeFi Token Compound (COMP) Registers 45%
                                                                    Rallya severe
                                                                    With      In correction
                                                                                  Three overDays
                                                                                              the last month, the DeFi market showed some recovery along with the overall
                                                                    cryptocurrency market. DeFi token Compound (COMP) has registered a solid rally gaining nearly 45% just over the
                                                                    last three days.The COMP price surged all the way from $215 on Sunday, June 27, to $325 during the Tuesday
                                                                    market rally. The recent price rally in COMP comes along with some good improvements in its on-chain metrics.
                                                                    As per the repo
                                                                             COMP -4.58%
                                                                    Bhushan Akolkar-Coingape 2021-06-30 01:13 # Compound                                                                                            # DeFi             # Markets




                                                                    Which Blockchain Companies Will Spark Mainstream
                                                                    Conversations
                                                                    Bitcoin never leaves the news these days, with every new story or major mention having the ability to move the
                                                                    price, from crypto crackdowns to Elon Musk airing his thoughts on Twitter. Yet, one thing is for sure and that is that
                                                                    while Bitcoin bulls may call the crypto Bitcoin Gold, and see it as a major reserve currency, most investors know
                                                                    that in its current form it cannot be considered a means of exchange. You certainly wouldn’t want to buy s

                                                                             BTC -4.68%                                                           TRX -5.74%                                                  EGLD -6.67%
                                                                    NewsBTC              2021-06-29 16:15 # Blockchain                                                   # Tron             # Elrond




                                                                    ETH Price Shoots 6.5% As Ethereum Address Activity Surpasses
                                                                    Bitcoin’s
                                                                    After           For the
                                                                          moving sideways       FirstunderTime
                                                                                          and staying       pressure for the last week, the Ethereum (ETH) price has shown a strong
                                                                    recovery starting this week. At press time, the ETH price has surged 6.5% and moved past $2100 as of writing this
                                                                    story.Some of the on-chain indicators as pointed out by CoinGape were already hinting at this price recovery.
                                                                    However, another major reason is that the world’s second-largest cryptocurrency has hit another milestone. For
                                                                    the
                                                                             ETH -7.64%                                                           BTC -4.68%
                                                                    Bhushan Akolkar-Coingape. 2021-06-29 08:58 # Ethereum                                                                                          # Bitcoin                 # Address Activity




                                                                    Why Bitcoin Could                                                                         Still              Hit $100K This Year
                                                                    Bitcoin has had a miserable couple of months since hitting a new all-time high this year. The asset recently broke
                                                                    the $30K resistance level last week and fell down to $28K. Before promptly recovering back up over $30K and
                                                                    trending upwards towards $34K.This is a critical resistance point for bitcoin. Breaking this price could be the
                                                                    beginning of a bear market. Speculations are that Bitcoin could go as low as $10K if the price breaks $30K.But
                                                                    what
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Best Owie-NewsBTC 2021-06-28 23:11 # Bitcoin                                                                           # Price             # Markets




                                                                    Futures Weekly Wrap (June 21st-27th): Bitcoin’s Failed Break -
                                                                    is now
                                                                    The         the best
                                                                        crypto markets saw overtime     to inbuy?
                                                                                                $350 billion  market value vaporized as Bitcoin fell below $30,000 for the first time
                                                                    since January. On June 21st, Bitcoin registered its most significant one-day drop in over a month, tumbling 14% to
                                                                    a low of $28,800, almost wiping out its year-to-date gains.The latest Bitcoin sell-off has accelerated liquidations
                                                                    across the crypto market. According to Bybt, derivative liquidations have totaled approximately $1 bill

                                                                             BTC -4.69%                                                           ETH -7.63%
                                                                    Binance Futures 2021-06-28 01:15 # Bitcoin                                                                 # Ethereum




                                                                    Bitcoin Price Remains Unmoved Despite Short Term Holders
                                                                    Capitulating
                                                                    The number of Bitcoin (BTC) investors or traders selling off the digital currency on a short-term basis declining,                                                                                                                                                   is
                                                                    albeit, the trend is not impacting the price of the premier cryptocurrency. According to Glassnode’s on-chain data,
                                                                    the beginning of this year saw a lot of buying actions as prices soared from a base of about $29,000 to a peak of
                                                                    over $64,000 by April. This period coincided with the period of extreme Optimism and Anxiety amongst                                                                                                                                                                       i




                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Godfrey Benjamin-Coingape 2021-06-27 03:28 # BItcoin                                                                                      # Holders                 # Markets




                                                                    Comparing Past Crypto Cycles Suggests Bitcoin Nowhere Near
                                                                    Top past crypto cycles shows there a clear pattern, and Bitcoin seems to be nowhere near the top right
                                                                    Comparing                                                                                                         is
                                                                    now.Bitcoin researcher Dor Shaher has pointed out on Twitter that there is consistency in the way correction
                                                                    periods have played out in previous cycles.Bitcoin Price Growth Since Cycle LowHere is a chart from
                                                                    _checkonchain that will make it easier to understand how the pattern in the BTC cycles appears:BTC price growth
                                                                    since lowUpon clo
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Hououin Kyouma-NewsBTC 2021-06-26 04:00 # Bitcoin                                                                                    # Markets                     # Cycle




                                                                    El   Salvador President Announces Bitcoin Airdrop Program for
                                                                    Citizens
                                                                    El Salvador the first country to make Bitcoin a legal tender on June 9 set to airdrop bitcoin for citizens to                                                                            is all
                                                                    promote its use. President Nayib Bukele in a state address announced they would be airdropping $30 worth of
                                                                    Bitcoin for every registered user in association with a mobile wallet service provider Chivo. https://t.co/ljgzn8DFXg
                                                                    — Nayib Bukele (@nayibbukele) June 25, 2021 The president in his address informed that the government is wo

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Prashant Jha-Coingape 2021-06-25 01:31 # El Salvador                                                                                 # Bitcoin                    # Airdropping




                                                                    BREAKING: Paraguay Proposes a Bill to Make Bitcoin Legal
                                                                    Tender
                                                                    South American nation, Paraguay on track to make Bitcoin (BTC) a legal tender following the announcement
                                                                                                                                                              is                                                                                                                                                                                                     of
                                                                    the proposal of bill to support the move. The bill proposal was affirmed by a member of parliament Carlitos Rejala
                                                                    who shot into global fame in the past weeks.The bill, if passed will position Paraguay as the second country to
                                                                    embrace Bitcoin as legal tender after El Salvador.Carlitos said the bill will help position the country to trail

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Godfrey Benjamin-Coingape 2021-06-24 14:07 # Paraguay                                                                                          # Bitcoin             # Legal Tender




                                                                    Here’s The Level Bitcoin Bulls Must Reclaim For Setup To $49K
                                                                    Bitcoin recently had a crash below $30k this week. For the first time since January 2021. $30k had been the
                                                                    stronghold for the coin for a long time since bitcoin began its descent down for its $64k all-time high. A good
                                                                    holding point to make sure that bitcoin does not crash into a bear market.But when the coin finally broke it and
                                                                    went below $30k, all bets were off. Or so it seemed. Within a couple of hours, the coin had bounced back. Trading
                                                                    at
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Best Owie-NewsBTC 2021-06-24 00:30 # Bitcoin                                                                           # Markets




                                                                    Bitcoin Price Forecast: BTC embarks on the journey to $40,000
                                                                    after makes
                                                                    Bitcoin the a dip   to $28,000
                                                                                  sharp upturn above $30,000 after a gruesome session on Tuesday.Technical levels flip bullish as
                                                                    investors return with a bang.Bitcoin traded monthly lows toward $28,000 on Tuesday, leaving most investors
                                                                    disappointed. However, the flash drop under $30,000 may have allowed new investors to take advantage of the
                                                                    lower entry prices.At the time of writing, the bellwether cryptocurrency has recoiled above $30,000 and is seeking
                                                                    support
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    John Isige-Coingape 2021-06-23 02:13 # Bitcoin                                                                         # Price             # MACD




                                                                    Factors Stack In Favor Of Bullish Bitcoin Fractal, Despite Latest
                                                                    Plunge
                                                                    Bitcoin price action back in the low $30,000 range, after another failed attempt to reach $40,000 over the
                                                                                                                        is
                                                                    Father’s Day weekend. The effort from bulls is getting weaker and weaker, even now resulting in a “death cross”
                                                                    on daily timeframes. But could they be simply feigning weakness, ready to squeeze short traders and push prices
                                                                    back higher in a flash?The stage is set well, so much so, the price action and several key technical indicators are

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Tony Spilotro-NewsBTC 2021-06-22 01:04 # Bitcoin                                                                             # Markets




                                                                    MicroStrategy Buys Another $489 Million                                                                                                                                                             in          Bitcoin
                                                                    MicroStrategy purchased an additional 13,005 BTC for $489 million in cash, pushing its total Bitcoin reserve to
                                                                    105,085 BTC.This recent purchase was made at an average price of $37,617 per BTC. In total, MicroStrategy has
                                                                    purchased $2.741 billion worth of Bitcoin at an average purchase price of $26,080 per BTC. MicroStrategy is one                                                                                                                                                                                       of
                                                                    the biggest publicly listed companies with Bitcoin investments, alongside companies like WeWork, Square that
                                                                    have
                                                                             BTC -4.68%
                                                                    Binance 2021-06-21 08:36 # MicroStrategy                                                                  # Bitcoin             # Markets




                                                                    Bitcoin (BTC) Slips Another 8% With 75% Long Positions Getting
                                                                    Liquidated
                                                                    Bitcoin (BTC) downInanother
                                                                                           Last8% One    Hourprice slipping under $33,000 as the world’s largest cryptocurrency
                                                                                                  today with
                                                                                                    is                                                                                      its
                                                                    continues to lose strength. The latest price crash comes as long positions worth nearly 1000 BTC have been
                                                                    liquidated over the past hours. Citing data from on-chain data provider CryptoQuant, Chinese crypto-journalist
                                                                    Colin Wu reported:“CryptoQuant data shows that in the past hour, the number of orders with long positions
                                                                    liquidated
                                                                             BTC -4.68%
                                                                    Bhushan Akolkar 2021-06-21 05:05 # Bitcoin                                                                  # Long Positions                            # Miner




                                                                    Futures Weekly Wrap (June 14th-21st): Cryptocurrencies Slide
                                                                    as The
                                                                    Bitcoin (BTC) Dollar     Gainsfinancial
                                                                                   and the broader      Strength
                                                                                                            markets were hit with a fresh wave of selling as the U.S Federal Reserve
                                                                    signals a monetary policy tightening in late 2022. The hawkish comments from FED members, namely James
                                                                    Bullard, the president of the Federal Reserve Bank of St. Louis, and the Fed Chair Jerome Powell, triggered a sell-
                                                                    off across financial and crypto markets alike as the U.S. dollar gained strength. A continued dollar rally could
                                                                    potent
                                                                             BTC -4.69%                                                           ETH -7.63%
                                                                    Binance Futures 2021-06-21 02:42 # Bitcoin                                                                 # Ethereum




                                                                    Bitcoin Price Showing Bearish Downtrend Despite On-chain
                                                                    Metrics
                                                                    The            Indicating
                                                                        price of Bitcoin              Favorable
                                                                                         (BTC) has continued             Network
                                                                                                             to drop as the             Conditions
                                                                                                                            premier cryptocurrency stays afloat a price well below                                                                                                                                                                                  its
                                                                    7-day high of $41,295.27. At present, BTC is down 5.21% to $35,952.61 according to CoinMarketCap, a bearish
                                                                    positioning that negates the current favorable conditions of the Bitcoin blockchain. Since the price of Bitcoin
                                                                    began retracing from its All-Time High price above $64,000, the market trend has witnessed a more passive
                                                                    engagemen
                                                                             BTC -4.68%
                                                                    Godfrey Benjamin-CoinGape 2021-06-20 07:40 # Bitcoin                                                                                      # Markets                 # Investors




                                                                    The Missing Ingredient From A Full On Bitcoin Reversal
                                                                    Bitcoin price is back around $35,000 and has failed to retake $40,000 despite several low timeframe reversal
                                                                    signals building.When looking back at past breakdowns following significant rallies, there could be a missing
                                                                    ingredient needed for a full on reversal, and it could have to do with the Bollinger Bands.All About The Bollinger
                                                                    Bands And How To Use Them EffectivelyThe Bollinger Bands are named after the tool’s creator, John Bollinger.
                                                                    The too
                                                                             BTC -4.68%
                                                                    Tony Spilotro-NewsBTC 2021-06-19 07:44 # Bitcoin                                                                             # Bollinger Bands                             # Cryptocurrency




                                                                    Analysts Suggest Wait and Watch for Bitcoin (BTC) Traders
                                                                    Based
                                                                    After        onpullback
                                                                          a healthy  TheseaboveIndicators
                                                                                                $40,000 earlier this week on Tuesday, Bitcoin (BTC) has once again come          under
                                                                    pressure slipping under $38,000 today. At press time, Bitcoin is down nearly 4% trading at $37,780 as traders look
                                                                    to take profits with every price rise.But several on-chain indicators suggest caution at this point as analysts hint at
                                                                    a “wait-and-watch” approach at the current levels. The Bitcoin whale action is absolutely uncertain at thi


                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Bhushan Akolkar-Coingape 2021-06-18 05:36 # Analysts                                                                                      # Bitcoin                # Traders




                                                                    Cryptocurrency Holders Rises to 2.3 Million in UK; BTC, XRP,
                                                                    ETH Among
                                                                    Financial             Top (FCA)
                                                                              Conduct Authority Choices
                                                                                                    has confirmed an increase in the number of cryptocurrency holders in UK,
                                                                    arising from an increase in public interest and media coverage. Based on the findings from its recently conducted
                                                                    research, the FCA discovered a growing involvement of financial services players in the digital currency
                                                                    ecosystem, as well as increased interest from the government.FCA Releases Report Confirming Rise in Crypto
                                                                    AdoptionPer the f
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  XRP -6.51%
                                                                    Godfrey Benjamin-CoinGape 2021-06-17 08:17 # Cryptocurrency                                                                                                   # FCA             # Bitcoin




                                                                    Market Wrap: Bitcoin Declines as Fed Projects Interest Rate
                                                                    Rise in 2023were mostly lower on Wednesday despite a brief 3% jump in bitcoin after the U.S. Federal
                                                                    Cryptocurrencies
                                                                    Reserve maintained accommodative monetary policy. But the gains were short-lived as risk assets pulled back,
                                                                    with traders focusing on Fed officials' revised projection for interest rate increases by the end of 2023 – sooner
                                                                    than what was anticipated in March. Latest Prices Bitcoin (BTC) $38577.3, -2.71% Ether (ETH) $2415.5, -4.05% S&P
                                                                    50
                                                                             BTC -4.68%                                                           ETH -7.64%                                                  NU -9.73%
                                                                    Damanick Dantes, Frances Yue-Coindesk 2021-06-16 16:29 # Bitcoin                                                                                                     # Fed               # Markets




                                                                    Open Positions                                                                in     Bitcoin Futures Rise                                                                                to         1-Month High
                                                                    Outstanding bitcoin futures contracts have climbed to a one-month high, suggesting a rebound of speculative
                                                                    activity surrounding the cryptocurrency after a string of positive news headlines that appear to have stabilized the
                                                                    market. The aggregated dollar value of open interest – bitcoin futures contracts traded but not settled – has
                                                                    climbed to $13.1 billion, the highest since May 19, data from Skew shows. For the past month, open interest
                                                                    mostly
                                                                             BTC -4.68%
                                                                    Frances Yue-Coindesk 2021-06-16 04:53 # Bitcoin                                                                          # Open Positions                            # Futures




                                                                    Hedge Funds See 7.2%                                                                                         of          Assets                               in         Crypto by 2026: Report
                                                                    Hedge funds expect to hold 7.2% of their                                                                    assets in crypto in five years' time, according to a survey conducted by
                                                                    fund administrator Intertrust. That asset                                                                   allocation equates to around $312 billion across the sector, according to
                                                                    Intertrust estimates, the Financial Times                                                                   reported Tuesday. As many as 17% of the survey's 100 respondents
                                                                    expect more than 10% of their portfolios                                                                    to be allocated to crypto in 2026. The funds surveyed manage an averag

                                                                             BTC -4.68%                                                           ETH -7.64%                                                  BNB -7.27%
                                                                    Jamie Crawley-Coindesk 2021-06-15 05:18 # Hedge Funds                                                                                           # Cryptocurrency                            # Assets




                                                                    Bitcoin Eyes $40K as Musk Says Tesla May Use Crypto                                                                                                                                                                                                    in            Future
                                                                    Bitcoin looks north as Tesla CEO Elon Musk says the electric-car maker will accept the cryptocurrency as an
                                                                    alternative payment subject to miners meeting environmental standards. The cryptocurrency is trading near
                                                                    $39,200 at press time, representing an about 11% gain on a 24-hour basis. Prices hit a 2 1/2-week high of $39,794
                                                                    earlier Monday, according to CoinDesk 20 data. Buyers stepped in on Sunday after Musk tweeted that Tesla will
                                                                    allow bitc
                                                                             BTC -4.68%
                                                                    Omkar Godbole-Coindesk 2021-06-14 04:27 # Bitcoin                                                                               # Elon Musk                         # Cryptocurrency




                                                                    Futures Weekly Wrap (June 7th-14th): BTC Dominance at 2-
                                                                    week(BTC)high
                                                                    Bitcoin            Willrecovery
                                                                               made -a solid  BTC surging
                                                                                                    breakas high$40,000       this week?
                                                                                                                  as $38,500 following news that El Salvador had officially
                                                                    adopted Bitcoin as legal tender. The bellwether cryptocurrency remained elevated throughout the week as rumors
                                                                    of other Latin American nations could follow suit to legalize the use of Bitcoin as currency. This was a historic win
                                                                    for the flagship cryptocurrency, which has come a long way.Adding to the positive momentum, billionaire Elon Mu


                                                                             BTC -4.69%                                                           ETH -7.63%
                                                                    Binance Futures 2021-06-14 02:39 # Bitcoin                                                                 # Ethereum




                                                                    Market Wrap: Bullish Basel News Causes BTC Jump to Week-
                                                                    High has$38K
                                                                    Bitcoin  returnedLevel;      ETH on Slips
                                                                                      to the spotlight   positive cryptocurrency banking news out of Europe. Ether’s shine                                                                                                                                                                               is
                                                                    diminishing a bit Thursday based on some volume, volatility and options data.Bitcoin (BTC) trading around $36,732
                                                                    as of 21:00 UTC (4 p.m. ET). Up 1% over the previous 24 hours.Bitcoin’s 24-hour range: $36,250-$38,200 (CoinDesk
                                                                    20)Ether (ETH) trading around $2,465 as of 21:00 UTC (4 p.m. ET). In the red 3.8% over the previous 24 hours.Ethe

                                                                             BTC -4.68%                                                           ETH -7.64%
                                                                    Daniel Cawrey-Coindesk 2021-06-10 16:28 # Bitcoin                                                                             # Markets                      # Europe




                                                                    It’s   Official: El Salvador’s Legislature Votes to Adopt Bitcoin as
                                                                    ALegal     Tender
                                                                      supermajority of the El Salvadoran legislature voted to adopt bitcoin as legal tender early Wednesday morning.El
                                                                    Salvador officially recognizes bitcoin as legal tender.In an early Wednesday vote, a supermajority of the nation’s
                                                                    legislature voted in favor of President Nayib Bukele’s proposal for the Latin American nation to adopt bitcoin. The
                                                                    president intends to sign later tonight or early in the morning.Sixty-two members of the legislature vot

                                                                             BTC -4.68%
                                                                    Nikhilesh De-Coindesk 2021-06-09 02:26 # El Salvador                                                                                # Bitcoin                    # Legal Tender




                                                                    MicroStrategy                                                           to         Offer $400M                                                 in           Notes                        to         Buy More Bitcoin
                                                                    Publicly traded business intelligence firm MicroStrategy (NASDAQ: MSTR) said it intends to offer $400 million
                                                                    senior secured notes to raise funds to purchase more bitcoin.The company said it has formed a subsidiary,
                                                                    MacroStrategy LLC, which will hold its purchase of 92,079 BTC.The story is developing and will be updated.



                                                                             BTC -4.68%
                                                                    Tanzeel Akhtar-Coindesk 2021-06-07 09:36 # MicroStrategy                                                                                         # Bitcoin




                                                                    Futures Weekly Wrap (May 30th-June 7th): Elon Musk’s tweet
                                                                    sends weeks
                                                                    Following BTC of into   a tailspin
                                                                                     heightened                 - Will it settled
                                                                                                volatility, cryptocurrencies recover?
                                                                                                                                  in a quiet range in the past week as trading
                                                                    volumes declined to a 4-week low. Most cryptocurrencies have yet to produce a significant recovery from the
                                                                    crash of May 19. While there were faint attempts from the bulls to push prices higher, any hopes of a continued
                                                                    rally were promptly crushed as yet another Elon Musk tweet sent the crypto markets into a tailspin.Bitcoin (BTC)
                                                                    start
                                                                             BTC -4.69%                                                           ETH -7.63%                                                  SOL -6.63%
                                                                    Binance Futures 2021-06-07 03:44 # Bitcoin                                                                 # Ethereum                          # Solana




                                                                    President                                   of El                           Salvador Says He’s Submitting                                                                                                              Bill to                  Make
                                                                    Bitcoin Legal Tender
                                                         Case 1:23-cv-01599-ABJ Document 14-2 Filed 06/06/23 Page 11 of 20




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$2.21                                  $135.08                                          $0.075162                                      $29.39                                           $69.90




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Market trend
Name                                                                                  Last Price                            24h Change                                                                                 Markets


          BNB BNB                                                                   $344.33                                      -7.24%

          BTC Bitcoin                                                             $41,510.28                                     -4.68%

          ETH Ethereum                                                             $2,839.16                                     -7.64%

          CHZ Chiliz                                                              $0.264468                                      -7.55%

          FIL Filecoin                                                                $62.93                                   -13.07%

          ADA Cardano                                                                   $2.21                                    0.87%

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                                                                                                                                              Beginner




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                                                                                             to Binance Smart Chain ...

          Beginner        Sep 21, 2021                      8m                                     Beginner          Sep 10, 2021               5m                                     Intermediate            Sep     9,    2021          8m



      NFT          Binance            +4                                                         Glossary                                                                             Economics           Trading



                                                                                             BEP-721
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                                                                                             Binance Smart Chain ecosys...

    What Are NFT Games and How                                                                                                                                                   9 Altcoins To Diversify Your
    Do They Work?                                                                                                                                                                Portfolio

          Beginner        Sep    2,   2021                9m                                      Full definition                                                                      Beginner          Aug 30, 2021                    10m




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    Volume-Weighted Average Price                                                            What           Is   an OCO Order?                                                   What           Is a     Bear Market?
    (VWAP) Explained

          Intermediate          May 13, 2020                     6m                                Beginner          Aug 21, 2019               3m                                     Beginner          Aug     4,    2020          7m




Topics:          Binance                    Bitcoin               Blockchain                 Consensus                  Cryptography                      DeFi             Economics                 Essentials                   Ethereum

                 History                   Mining                NFT              Privacy                 Security              Tech            Technical Analysis                    Trading               Tutorials                    Use Cases

                 Wallet

Difficulty:           Beginner                           Intermediate                 Advanced




                                                                                        What Is KYC (Know Your
                                                                                        Customer)?
                                                                                        Aug 19, 2021                            5m                                                                    What Is Anti-Money
                                                                                                                                                                                                      Laundering (AML)?
                                                                                             Beginner

                                                                                                                                                                                                      Aug 18, 2021                  7m
                                                                                                                                                                                                         Beginner




                                                                                                  How to Trade Crypto
                                                                                                          Responsibly
  What Is QuickSwap and                                                                                                         Aug     6,    2021               9m
  How Does It Work?
                                                                                                                                                           Beginner

  Aug 11, 2021               8m
     Intermediate



                                             An Overview                    of   Bitcoin's Price                                                                              The Best Crypto Wallets for Binance
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                                                                                             Cryptocurrency Trading for
                                                                                             Begin...
          Beginner        Nov 27, 2018                      9m                                                                                                                         Beginner          Feb 23, 2020                    28m
                                                                                                   Beginner          Jun 21, 2020               63m




Blockchain                                                                                                                                                                                                  See All Blockchain Content




      Blockchain                                                                                 Blockchain                                                                           Blockchain




    The Evolution of the Internet                                      -                     What Are Smart Contracts?                                                           Crypto Market Capitalization
    Web 3.0 Explained                                                                                                                                                            Explained

          Beginner        Jan    7,   2020                5m                                       Intermediate         Sep 15, 2019                 7m                                Beginner          Dec 10, 2020                    6m




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                                                                                                                                                                                Finality
glossary. How many do you know?
                                                                                             Capitalization                                                                     The assurance or guarantee that
                                                                                                                                                                                completed (cryptocurrency) transactions
                                                                                             The total trading value of a given coin -                                          cannot be altered, reversed or canc...
                                                                                             calculated by the product of the supply of
                                                                                             the coin by the curren...


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                                                         Participants:                      193,942                    Participants:                     132,918               Participants:                  262,703
                                                         Total Staked: 13,677,368.0513 MBOX                            Total Staked: 738,939,780.6307 BUSD                     Total Staked:      3,852,256.7580 BNB
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BTC   /   USDT                                             BNB   /   USDT                                                ETH   /   USDT                                            EOS   /   USDT

41,613           $41,613                                   345       $345                                                2,848       $2,848                                        3.96       $3.96
-4.42%     Volume: 3,411,545,854 USDT                      -7.13%     Volume: 582,617,446 USDT                           -7.26%     Volume: 2,343,869,109 USDT                     -6.18%     Volume: 130,547,502 USDT




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                                                                                 Yield Guild Games (YGG)
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                    A global survey report on crypto                  An exploration into the state of                    An in-depth look at crypto                         A data-driven dive into the TRON
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                                                                      NFT Game on Immutable X.                            Ethereum and BSC.                                  Exchange.




                  Price Info


                       Name                                                                         Last Price                            24h Change                         Read more



                                BNB      BNB                                                        $345                                  -7.13%                               Read report




                                BTC     Bitcoin                                                     $41,613                               -4.42%                               Read report




                                ETH     Ethereum                                                    $2,848                                -7.26%                               Read report




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                                                                             Privacy Policy
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